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                                                                              N.D. OF ALABAMA




                   EXHIBIT D
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       MEMORANDUM OF UNDERSTANDING
 BETWEEN THE U.S. ENVIRONMENTAL PROTECTION
 AGENCY AND 3M COMPANY AND DYNEON LLC FOR
A PERFLUOROOCTANOIC ACID (PFOA) SITE-RELATED
    ENVIRONMENTAL ASSESSMENT PROGRAM
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I.    SIGNATORIES, SCOPE AND PURPOSE

        A.     The United States Environmental Protection Agency (EPA or the Agency),
3M Company (3M) and Dyneon, LLC (Dyneon) are the signatories to this Memorandum
of Understanding (MOU). Hereinafter, the term “the Companies” will be used when
referring collectively to 3M and Dyneon.

       B.    Under this MOU, the Companies commit to provide EPA with certain data
and information on perfluorooctanoic acid and its salts (PFOA) through a PFOA Site-
Related Environmental Assessment Program. To memorialize such commitment, this
MOU utilizes the following structure:

             1.     Section II establishes the Effective Date for this MOU.

             2.     Section III addresses the legal effect of this MOU.

              3.       Section IV describes the pertinent background that has culminated
in the signing of this MOU by EPA and the Companies.

            4.   Section V sets forth the Companies’ specific obligations under this
MOU for the PFOA Site-Related Environmental Assessment Program, which include the
following:

                       a.    The gathering of data and information by the Companies
through phased activities referred to as “Phases I and II”. These Phases I and II
activities consist of environmental monitoring and other data and information collection
activities pursuant to a Letter of Intent (LOI) developed on a voluntary basis by the
Companies and to a Work Plan developed subsequent to the LOI by the Companies in
consultation with EPA and contained in Appendix B to the MOU. This Work Plan will be
implemented in accordance with one or more Quality Assurance Project Plans
developed by the Companies to address data quality assurance and quality control for
the data and information collection and analysis activities specified in such Work Plan;

                     b.    The use of the Phases I and II data and information, along
with other relevant data and information, by the Companies to prepare a Data
Assessment, a Screening Level Exposure Assessment and a Future Data Needs
Assessment;

                     c.     The funding and participation by the Companies in a Peer
Consultation Process administered by an Independent Third Party. This process will
entail input by a group of experts, the public and EPA on the adequacy and sufficiency
of the Assessments;

                     d.      The gathering of further data and information by the
Companies through a Phase III of environmental monitoring and other data and
information collection activities pursuant to a Work Plan and one or more Quality
Assurance Project Plans that will be developed based on the input received through the
Peer Consultation Process and in consultation with EPA; and


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                   e.      The preparation by the Companies of a revised Screening
Level Exposure Assessment which incorporates the additional data and information
obtained through Phase III.

              5.      Section VI contains other miscellaneous obligations under the
Program, which include the establishment of a publicly-accessible record of all data,
reports, assessments and other documents prepared in connection with this MOU and
the obligation for the Companies to inform EPA of any modifications, adjustments and
schedule changes in the Work Plan for environmental monitoring under the Program
and to engage in technical consultations with EPA prior to any major such modifications,
adjustments and schedule changes.

              6.     Appendix A identifies the specific Site covered by the Program,
along with certain parameters and limitations.

             7.    Appendix B contains the Work Plan for environmental monitoring
under the Program.

        C.     As specified in Section V.A.1. of this MOU, the goal of the PFOA Site-
Related Environmental Assessment Program is to gather data and other information
that will address fully the question referred to as “the Charge” regarding PFOA
environmental releases and sources of those environmental releases from the Site.
EPA and the Companies have agreed to additional language set forth in Section V.A.2.
of this MOU that both governs interpretation of the Charge and establishes the scope of
the Program.

II.     EFFECTIVE DATE

      A.      This MOU becomes effective on the date signed by both the Companies
and EPA.

      B.    It should be recognized, as described in Sections IV. and V.B. of this
MOU, that certain PFOA Site-Related Environmental Assessment Program activities
have been completed and others have been initiated prior to this Effective Date.

III.    LEGAL EFFECT

       A.     This MOU does not supersede any current law, establish any additional
legal requirements or contain any admissions by the Companies.

       B.    This MOU is a voluntary agreement between the parties and is not an
enforceable consent agreement or order under 40 C.F.R. Part 790. This MOU is not
enforceable under 15 U.S.C. § 2603 (TSCA § 4), 15 U.S.C. § 2614 (TSCA § 15), 15
U.S.C. § 2615 (TSCA § 16), or any other provision of TSCA or other federal or state
statute.




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       C.     All commitments made by EPA in this MOU are subject to the availability
of appropriated funds. Nothing in this MOU, in and of itself, obligates EPA to expend
appropriations or to enter into any contract, assistance agreement, interagency
agreement, or to incur other financial obligations. The Companies agree not to submit a
claim for compensation for services rendered to EPA or to any other Federal agency
based on activities the Companies have undertaken in furtherance of this MOU.

       D.    The Companies understand that EPA may not endorse the purchase or
sale of products and services provided by the Companies.

        E.     This MOU does not create any right of benefit, substantive or procedural,
enforceable by law or equity against the Companies or EPA, their officers or employees,
or any other person. This MOU does not direct or apply to any person outside the
Companies and EPA, except that as addressed in Section V.E. of this MOU, the
Independent Third Party shall be required, through contractual arrangements with the
Companies for the funding of the Peer Consultation Process, to administer such
Process consistent with this MOU. The contractual arrangements between the
Companies and the Independent Third Party will expressly provide that the Companies
are responsible for financing and administering the contract and that the Independent
Third Party will have no recourse to EPA or any agency of the Federal government
relating to the contract with the Companies.

        F.     The Companies and EPA recognize in connection with any activities
and/or commitments under the MOU, the Companies shall not be responsible for any
failure to perform that is caused by circumstances beyond their control which the
Companies could not have prevented through the exercise of due diligence.

IV.    PERTINENT BACKGROUND

        A.     On April 16, 2003, EPA issued a Federal Register Notice “concerning
PFOA and fluorinated telomers which may metabolize or degrade to PFOA”.1 The
Federal Register Notice requested public comment and solicited interested party
participation in an enforceable consent agreement (ECA) development process under
Section 4 of the Toxic Substances Control Act (TSCA), 15 U.S.C § 2105, for the
purpose of obtaining “additional information [that] could be very helpful in allowing the
Agency to develop a more accurate assessment of the potential risks posed by PFOA
and other compounds addressed in this Notice, and to identify what voluntary or
regulatory mitigation or other actions, if any, would be appropriate”. 68 Fed. Reg.
18,628.




1
       Perfluorooctanoic Acid (PFOA), Fluorinated Telomers; Request for Comment, Solicitation of
       Interested Parties for Enforceable Consent Agreement Development, and Notice of Public
       Meeting, 68 Fed. Reg. 18626 (Apr. 16, 2003) [hereinafter “Federal Register Notice”].


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       B.      The Federal Register Notice recognized that apart from the public
comment and ECA process, EPA already had industry commitments that would produce
“substantial additional information” through voluntary continuing research and product
stewardship activities. 68 Fed. Reg. 18,631. These commitments, which are
memorialized in various Letters of Intent (LOIs) for the industry, include for the
Companies an environmental monitoring commitment pertaining to certain current and
former manufacturing sites.2 As the Federal Register Notice stated, “EPA expects that
industry will meet the voluntary testing commitments made in their letters of intent . . . .
Therefore, EPA anticipates that the ECA process will focus generally on testing issues
beyond or supplemental to those contained in the industry letters of intent.” 68 Fed.
Reg. 18,632.

        C.     Subsequent to issuance of the Federal Register Notice, EPA has
convened a number of meetings among interested parties through the ECA process.
Meeting summaries, presentations and other documentation of these meetings are
available at EPA Docket ID number OPPT-2003-0012 , online at
http://www.epa.gov/edocket. As this documentation indicates, the Companies have
presented data and information and made submissions to EPA pursuant to their own
LOI commitments pertaining to environmental monitoring. Additional environmental
monitoring-related data, information, reports, presentations and submissions by the
Companies reflect their activities prior to and separate from the LOI undertaken on a
voluntary basis or pursuant to other programs, such as programs developed in
cooperation with state agencies. All such data, information, reports, presentations and
submissions by the Companies in existence prior to the Effective Date specified in
Section II of this MOU were available at EPA Docket ID number OPPT-2003-0012,
online at http://www.epa.gov/edocket, or at EPA Docket ID number Administrative
Record (AR)-226. Pursuant to Section VI.A. of this MOU, EPA has established a
separate EPA Docket for all reports, submissions and other documents relating to this
MOU at Docket Control Number OPPT 2004-0112, and has included in such separate
EPA Docket these data, information, reports, presentations and submissions by the
Companies in existence prior to the Effective Date specified in Section II of this MOU.

        D.      In the course of the meetings through the ECA process, EPA expressed
its desire for the Companies to undertake additional environmental monitoring and other
data and information collection activities, particularly in the areas of soil, biota and off-
site monitoring, not covered by past efforts or contemplated by current LOI
commitments. The Companies expressed a willingness to do so through a phased
approach. In the Companies’ view, a phased approach would be more efficient, given
that earlier phases can inform later phases from a scientific standpoint and that data
collection can occur in context. The Companies also expressed a willingness to have
this phased approach occur on a transparent basis, with data and information made
available to the public and with a peer consultation process.


2
       Letter from Dr. L. Wendling of 3M to EPA Asst. Adm. S. Johnson (Mar. 13, 2003) [hereinafter “3M
       LOI”]; letter from D. Duncan of the Society of the Plastics (SPI) for the Fluoropolymer
       Manufacturers Group (FMG) to Asst. Adm. S. Johnson (Mar. 14, 2003) [hereinafter “FMG LOI”].


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       E.     The Companies suggested, and EPA agreed, to memorialize the
additional environmental monitoring and other data and information collection activities
in an MOU rather than an ECA due to the complexities of using the ECA legal
instrument for phased environmental monitoring activities that may depend, in part,
upon the consent of third parties, such as, for example, where the environmental
monitoring involves the property or rights of third parties.

      F.      After further meetings through the ECA process, which included the
opportunity for public comment, EPA and the Companies agreed to sign this MOU.

V.     PFOA SITE-RELATED ENVIRONMENTAL ASSESSMENT PROGRAM

       A.     Program Scope

               1.      EPA and the Companies agree that the goal of the PFOA Site-
Related Environmental Assessment Program is to gather data and other information
that will address fully the following question, hereinafter referred to as “the Charge”:

              Are current PFOA environmental releases and sources of
              those environmental releases from the Site and the presence
              of PFOA in environmental media on and around the Site
              sufficiently understood so that pathways of migration and
              exposure to PFOA associated with that Site are adequately
              characterized and assessed on a screening level basis?

               2.     EPA and the Companies further agree to the language in Sections
V.A.2.a.,b.,c. & d. below with the intention that such language both establishes the
general scope of the PFOA Site-Related Environmental Assessment Program and
governs interpretation of the Charge set forth in Section V.A.1. of this MOU.

                       a.    “Associated With The Site,” as used in the Charge, includes
any current environmental release or presence in Environmental Media of PFOA on and
off the site resulting from Current or Past Manufacturing Activities at the site. “Current
or Past Manufacturing Activities” at the site refers to all activities that may have resulted
in the current presence of PFOA in environmental media both on and off the site without
regard to distance from the site, including but not limited to waste disposal activities that
occurred off-site, such as landfills that received materials from the site; land application
materials originating from the site; off-site treatment facilities receiving waste material
from the site; and air emissions that may have deposited off the site, except that
“Current or Past Manufacturing Activities” does not encompass commercial products
manufactured at the site and distributed in commerce.

                    b.    “Environmental media,” as used in the Charge, refers to air,
surface water, groundwater, soil, sediment, biota, wastewater, waste streams, landfills,
landfarms, water discharges and offsite disposal of all types.




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                    c.     “Pathways of Migration,” as used in the Charge, refers to the
routes by which PFOA moves from any Current or Past Manufacturing Activity through
Environmental Media, and includes but is not limited to, leaching to surface water or
groundwater from land-applied materials; discharge from areas with contaminated
groundwater to surface waters or wells; releases from landfills to air, groundwater and
surface water; and air deposition to soils and migration to groundwater.

                        d.    “Exposure to PFOA Associated With The Site,” as used in
the Charge, refers to current exposures and the potential for future exposures from the
presence of PFOA in Environmental Media as a result of Current or Past Manufacturing
Activities at the site, but does not include an assessment of exposures that may have
occurred in the past. The Screening Level Exposure Assessment of current human
Exposure to PFOA Associated With The Site shall include a quantitative assessment for
any exposure pathway for which the data allow quantitative assessment, and a
qualitative or semi-quantitative description of exposure where the data do not allow
quantitative assessment. The Screening Level Exposure Assessment will be based on
data necessary to understand sources of release associated with the site and Pathways
of Migration of those releases. Although the Screening Level Exposure Assessment will
focus primarily on human exposure, it will characterize the presence of PFOA in
Environmental Media, including biota, on and off the site as a result of Current or Past
Manufacturing Activities.

               3.     With reference to the provisions in Sections V.A.1. and V.A.2. of
this MOU regarding Program scope, Appendix A to this document identifies the specific
Site which the Companies have agreed to include under this MOU; Appendix A also
sets forth certain parameters as well as certain limitations particular to such Site that will
apply under this MOU.

       B.     Program Work Plan Commitments

              1.     Phases I and II Commitments

                      a.     As indicated in Section IV. of this MOU, the Companies
memorialized certain environmental monitoring commitments in the various LOIs. The
Companies also have agreed to build upon and augment their current efforts under
these LOIs and other related efforts with additional commitments, particularly in the
areas of soil, biota and off-site monitoring, through a phased approach. Appendix B to
this MOU contains the Work Plan by which the Companies will implement these LOI
and additional commitments as Phases I and II of the PFOA Site-Related Environmental
Assessment Program. As described further in Section V.B.2. of this MOU, the
Companies also have committed to performing a Phase III of the PFOA Site-Related
Environmental Assessment Program following a Peer Consultation Process, which
includes public comment and input by and discussion with EPA.




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                     b.       As indicated in Section IV.C. of this MOU, the LOIs, along
with related presentations and submissions to EPA, as well as other data, information,
reports, presentations and submissions separate from the LOI commitments regarding
the presence of PFOA in environmental media in existence prior to the Effective Date
specified in Section II of this MOU, are available in a separate EPA Docket established
pursuant to Section VI.A. of this MOU. The Phases I and II commitments set forth in the
Work Plan in Appendix B to this MOU build upon these prior data, information, reports,
presentations and submissions. To the extent relevant, such data, information, reports,
presentations and submissions also will be considered as part of the Data Assessment
described in Section V.D. of this MOU.

                    c.     The Companies developed the Work Plan in Appendix B to
this MOU in consultation with EPA, but such consultation does not signify that EPA has
developed an Agency position or decision regarding the sufficiency of the Work Plan to
address fully the Charge set forth in Section V.A. of this MOU.

                     d.     The Companies will implement the Work Plan in Appendix B
to this MOU in accordance with one or more Quality Assurance Project Plans developed
by the Companies consistent with EPA’s Guidance for Quality Assurance Project Plans
(EPA AQ/G-5) to address data quality assurance and quality control for the data and
information collection and analysis activities specified in such Work Plan.

              2.     Phase III Commitment

                     a.     The Companies commit to undertake a Phase III and to
include within a Phase III work that is necessary to address fully the Charge set forth in
Section V.A. of this MOU.

                     b.    The Phase III commitment of the Companies pursuant to
Section V.B.2.a. of this MOU will be informed by the following:

                            (1)    The Assessments required under Section V.D. of this
MOU.

                            (2)    The Peer Consultation Process set forth in Section
V.E. of this MOU, including the input from EPA provided under such Process pursuant
to Section V.E.2.m. of this MOU.

                           (3)  Discussions between EPA and the Companies
following submission by the Companies of a full Future Work Plan pursuant to V.F.1. of
this MOU.

                      c.    Examples of work that could be necessary to address fully
the Charge set forth in Section V.A. of this MOU include, but are not limited to, the
following: additional on-site and off-site soil and groundwater sampling; additional
monitoring of off-site waste disposal facilities; and additional surface water and biota
monitoring.



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              3.     Status Reports. The Companies will provide EPA with a Status
Report on a quarterly basis. The first such Status Report is due three (3) months after
the Effective Date specified in Section II.A. of this MOU. Each such Status Report shall
contain the following:

                    a.     A brief description of the implementation status of the Work
Plan in Appendix B to this MOU.

                      b.     A copy of all analytical reports, survey reports and other
reports that have been completed and received by the Companies pursuant to the Work
Plan in Appendix B to this MOU thirty (30) days prior to the deadline for that Status
Report. For purposes of this Status Report requirement, any raw data and information,
including all laboratory analyses, generated pursuant to the Work Plan in Appendix B to
this MOU that have undergone quality assurance and quality control as specified in
such Work Plan and/or the Quality Assurance Project Plan developed to implement
such Work Plan shall be considered a “report”.

      C.     Data Quality

                1.    The Companies recognize the importance of EPA’s recently-issued
guidelines pursuant to the Data Quality Act. See Guidelines for Ensuring and
Maximizing the Quality, Objectivity, Utility, and Integrity of Information Disseminated by
the Environmental Protection Agency (2002); Public Law 106-554; H.R. 5658, § 515(a)
(2001); Guidelines for Ensuring and Maximizing the Quality, Objectivity, Utility, and
Integrity of Information Disseminated by Federal Agencies, OMB, 67 Fed. Reg. 8452
(2002); see also EPA Order 5360.1A2 “Policy And Program Requirements For Agency-
Wide Quality System” (May 5, 2000); EPA Quality Manual For Environmental Programs,
5360A1 (May 5, 2000). The Companies also recognize the applicability of EPA’s
existing guidelines for quality assurance project plans. See EPA’s “Guidance For
Quality Assurance Project Plans EPA QA/G-5”, EPA/240/R-02/009 (Dec. 2002).

               2.    The Companies commit in gathering all data and information under
the PFOA Site-Related Environmental Assessment Program to employ scientific
practices, protocols and procedures designed to ensure data quality, objectivity, utility
and integrity.

             3.     Consistent with the foregoing commitments, the Work Plan for the
PFOA Site-Related Environmental Assessment Program contained in Appendix B to
this MOU includes references to the various protocols, analytical methods and quality
assurance measures to be employed under the Program. These protocols, methods
and measures should be contained in a quality assurance project plan consistent with
the EPA guidelines document “Guidance For Quality Assurance Project Plans EPA
QA/G-5, EPA/240/R-02 (Dec. 2002). The Companies will submit copies of all such
protocols, methods and measures as part of the Data Assessment for the Program
described in Section V.D.2. of this MOU.




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       D.     Assessments

              1.    Assessment Commitment. Not later than one hundred and eighty
(180) days following completion of the Work Plan Commitments set forth in the Work
Plan contained in Appendix B to this MOU, the Companies will submit the following
three assessments to EPA described more fully in Sections V.D.2., V.D.3. and V.D.4. of
this MOU: a Data Assessment; a Screening Level Exposure Assessment; and a Future
Data Needs Assessment. As described in Section V.E. of this MOU, a Peer
Consultation Group also will receive and review such Assessments.

              2.     Data Assessment. The Data Assessment shall consist of the
following:

                       a.      A robust summary of all data and information generated
under the Work Plan in Appendix B to this MOU and of any other data and information
that meet all of the following: (1) is relevant to the Screening Level Exposure
Assessment being prepared pursuant to Section IV.D.3. of this MOU; (2) either has
been developed by the Companies under the LOI on a voluntary basis or under other
programs as described in Section IV.C. of this MOU or is contained in the public record
established by EPA as described in Section VI.A. of this MOU; and (3) is data with
sufficient quality, objectivity, utility and integrity.

                      b.     All of the Company-developed raw data and information,
including all laboratory analyses, forming the basis for the robust summary prepared
pursuant to Section V.D.2.a. of this MOU; and

                   c.    Any other information pertinent to the Companies'
commitment in Section V.C. of this MOU to data quality, objectivity, utility and integrity.

              3.     Screening Level Exposure Assessment

                    a.    The Screening Level Exposure Assessment shall
characterize exposure and releases associated with the Site in accordance with EPA’s
“Guidelines for Exposure Assessment”, EPA/600/Z-92/001 (May 1992) and using the
scenario evaluation approach set forth in these EPA Guidelines at § 2.2.2.

                    b.     As indicated in Section V.A.2.d. of this MOU, the Screening
Level Exposure Assessment for current human exposure will include a quantitative,
conservative assessment for any exposure pathway for which the data allow
quantitative assessment. Where the data do not allow such quantitative assessment of
an exposure pathway, the Screening Level Exposure Assessment for current human
exposure will present a qualitative or semi-quantitative description of exposure.

                     c.      As further indicated in Section V.A.2.d. of this MOU,
although the Screening Level Exposure Assessment will focus primarily on current
human exposure, it will characterize the presence of PFOA in environmental media,
including biota, on and off the site as a result of current and past manufacturing
activities.


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            4.     Future Data Needs Assessment. The Future Data Needs
Assessment shall consist of the following:

                      a.      A scientifically-based analysis of the Data Assessment and
the Screening Level Exposure Assessment prepared pursuant to Sections V.D.2. and
V.D.3. of this MOU. Such scientifically-based analysis shall both (1) assess the
sufficiency of the Data Assessment and the Screening Level Exposure Assessment with
reference to the Charge set forth in Section V.A. of this MOU and (2) identify additional
data and/or other appropriate information necessary to address fully the Charge set
forth in Section V.A. of this MOU.

                    b.      An outline of a Future Work Plan for the gathering of
additional data and/or other appropriate information through a Phase III that are
necessary to address fully the Charge set forth in Section V.A. of this MOU.

      E.     Peer Consultation

              1.     Peer Consultation Commitment. The Companies commit to fund
and participate in and EPA agrees to participate in a Peer Consultation Process that will
review the Assessments prepared pursuant to Section V.D. of this MOU. EPA
acknowledges that the Companies will utilize an Independent Third Party to implement
and administer the Peer Consultation Process. The details and timing of the Peer
Consultation Process are set forth in Section V.E.2. of this MOU. In general, such
Process will have the following attributes:

                      a.    The purpose of the Peer Consultation Process is to provide
a forum for scientists and relevant experts from various stakeholder groups to exchange
views on the Companies’ Assessments and in particular on the recommended data
needs and to provide these views to a third party contractor. The Peer Consultation
Group will be asked to discuss whether the potential exposures have been adequately
evaluated and to provide scientific input on the screening level exposure assessment
data needs. It is not intended to be a consensus-based process, but should identify
areas of agreement, disagreement, and the supporting scientific rationale. The results
and comments from the Peer Consultation will be compiled and submitted in a report to
the Companies and the EPA.

                      b.      Because the goal of the Peer Consultation Process is to
contribute to the review of a scientific work product – i.e., the Assessments prepared
pursuant to Section V.D. of this MOU – the Process should not be conducted as a
mechanical evaluation step. The Process will center around a Peer Consultation Group
comprised of scientific experts from various stakeholder groups with extensive and
broad experience relevant to the Assessments and the Charge set forth in Section V.A.
of this MOU, such that Group members will have sufficient technical expertise to make
meaningful contributions to science-based evaluations. Examples of the types of
expertise that likely will be needed for the Group include, but are not limited to,
expertise in human exposure assessment, hydrogeology and environmental monitoring.




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                     c.     The Peer Consultation Process will operate under conflict of
interest guidelines and with public transparency. To this end, the Independent Third
Party, who will implement and administer the Peer Consultation Process, will be
responsible for arranging the Peer Consultation Process meetings, inviting experts from
various stakeholder groups to be members of a Peer Consultation Group and facilitating
the meetings. The Companies, EPA and members of the public will be given an
opportunity to suggest appropriate experts, but selection of Peer Consultation Group
members will be made by the Independent Third Party.

                       d.    The Peer Consultation Process will provide scientific input
on an advisory basis. To this end, the results of the Peer Consultation Process will be
the individual opinions of the members of the Peer Consultation Group regarding the
Charge set forth in Section V.A. of this MOU, and in particular, the Future Data Needs
Assessment, including the outline of a Future Work Plan. The Peer Consultation Group
will evaluate the Assessments for technical accuracy, proper documentation and
satisfaction of established specifications. The Peer Consultation Group also should
determine if the Assessments adequately present assumptions, calculations, supporting
documentation, extrapolations, alternative interpretations, methodology, acceptance
criteria, as well as other conclusions.

                     e.      Peer Consultation Group meetings and deliberations will be
open to the public. Interested parties, including those who are not part of the Peer
Consultation Group, will have the opportunity to provide written and/or oral comments
and information at the appropriate time during the Peer Consultation Group meeting.
The results of the Peer Consultation Process will be compiled by the Independent Third
Party in a report and distributed to the Peer Consultation Group to check for accuracy.
This report, which will include a summary of the significant written and verbal comments
from outside parties and any third party comments, will be submitted to the Companies
and to EPA. EPA will place the report in the public record.

             2.      Peer Consultation Process. The Companies and EPA agree to
execute the Peer Consultation Commitment in Section V.E.1. of this MOU through the
measures set forth below. These measures establish a schedule for the Peer
Consultation Process, which is designed to ensure that by the time of Work Plan
completion and submission of the Assessments pursuant to Section V.D. of this MOU,
the Peer Consultation Group will have been selected and other aspects of the Peer
Consultation Process will have been implemented such that the Process will be ready to
begin without delay.

                      a.    No later than one (1) year and thirty (30) days from the
Effective Date of this MOU, EPA and interested members of the public may provide the
Companies with recommendations for the qualifications of an Independent Third Party
to implement and administer the Peer Consultation Process. EPA will not endorse
specific firms, organizations or individuals.




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                      b.     No later than one (1) year and sixty (60) days from the
Effective Date of this MOU, the Companies shall notify EPA, in writing, of the identity
and qualifications of the Independent Third Party that the Companies intend to contract
with to design and administer the Peer Consultation Process.

                      c.    No later than one (1) year and ninety (90) days from the
Effective Date of this MOU, the Companies shall notify EPA, in writing, as to the status
of the Companies’ efforts to contract with the Independent Third Party identified by the
Companies pursuant to Section V.E.2.b. of this MOU to implement and administer the
Peer Consultation Process and, if the Companies have executed a contract with such
Independent Third Party, shall include a copy of the contract with this notification. The
Companies shall take reasonable measures to ensure and demonstrate to EPA that the
Independent Third Party maintains independence from the Companies in all substantive
and non-financial respects.

                     d.      No later than one (1) year and one-hundred and fifty (150)
days from the Effective Date of this MOU, the Companies shall take reasonable
measures to ensure that EPA receives, in writing, a description of the Peer Consultation
Process to be administered by the Independent Third Party and a copy of any
procedures that will apply to the Process, including procedures to assure both
avoidance of a conflict of interest for Peer Consultation Group members and public
access to documents and information pertaining to the Peer Consultation Process. In
developing conflict of interest procedures, the procedures used by Toxicology
Excellence for Risk Assessment (TERA) under the Voluntary Children’s Chemical
Evaluation Program available at http://www.tera.org/peer/VCCEP/VCCEPCOI.html
should be consulted.

                        e.    No later than one (1) year and two hundred and ten (210)
days from the Effective Date of this MOU, the Companies and EPA will submit
separately, in writing, to the Independent Third Party proposed nominees for the Peer
Consultation Group. Interested members of the public also will have the opportunity to
propose nominees for the Peer Consultation Group to the Independent Third Party. In
proposing any nominee, the Companies and EPA will take into account the range of
different scientific, technical and other expertise required for the Group both to review
the Assessments prepared pursuant to Section V.D. of this MOU and to address the
Charge set forth in Section V.A.1. of this MOU.

                      f.    No later than the date targeted for completion of the Work
Plan in Appendix B to this MOU, the Companies shall take reasonable measures to
ensure that Peer Consultation Group membership and other aspects of the Peer
Consultation Process have been established. Ultimately, the decision whether to select
for Group membership a nominee offered pursuant to Section V.E.2.e. of this MOU or a
different individual not nominated will rest with the Independent Third Party. The
selection of the Peer Consultation Group members will:

                          (1)    provide appropriate stakeholder balance in terms of
both necessary expertise and technical perspective and


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                         (2)    adhere to the conflict of interest procedures
developed pursuant to Section V.E.2.d. of this MOU that govern Peer Consultation
Group membership.

                    g.    No later than one hundred and eighty (180) days following
completion of the Work Plan in Appendix B to this MOU, the Companies will submit the
Assessments prepared pursuant to Section V.D. of this MOU, along with a copy of the
Work Plan in Appendix B to this MOU and associated Quality Assurance Project Plans,
to EPA and to the Independent Third Party.

                   h.    No later than fifteen (15) days from submission of the
Assessments pursuant to Section V.E.2.g. of this MOU, the Independent Third Party will
review the Assessments for administrative completeness, which will entail an evaluation
of whether the Assessments contain the elements specified in Section V.D. of this
MOU.

                           (1)   If after fifteen (15) days the Independent Third Party
does not identify any elements needed for administrative completeness, then the
Assessments submitted pursuant to Section V.E.2.g. of this MOU shall become
administratively complete.

                           (2)   If the Independent Third Party identifies elements
needed for administrative completeness, then the Independent Third Party will inform
the Companies and will consult with the Companies to establish a schedule for the
Companies to address such elements and re-submit administratively complete
Assessments as soon as practicable.

                     i.     For the purpose of facilitating and focusing the Peer
Consultation Group’s discussion, the Independent Third Party may, but shall not be
required to, provide technical and scientific questions to the Group that clarify and relate
directly to addressing the Charge set forth in Section V.A. of this MOU; provided,
however, that such questions must be consistent with the Program scope set forth in
Section V.A. of this MOU. The process set forth below will apply with respect to any
such technical and scientific questions.

                              (1)   To ensure that any such technical and scientific
questions are consistent with the Program scope set forth in Section V.A. of this MOU,
any such questions shall be made available in draft form to the Companies and EPA no
later than thirty (30) days from submission of administratively complete Assessments
pursuant to Section V.E.2.h. of this MOU.

                              (2)    If the Independent Third Party does not issue any
questions in draft form as of thirty (30) days from submission of the administratively
complete Assessments pursuant to Section V.E.2.h. of this MOU, then within fifteen (15)
days thereafter, the steps to provide documents to the Peer Consultation Group set
forth in Section V.E.2.j. of this MOU shall be initiated.




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                            (3)   If the Independent Third Party does issue questions in
draft form pursuant to Section V.E.2.i.(1) of this MOU, then no later than fifteen (15)
days after such issuance, the Companies and EPA must submit any objections to the
Independent Third Party.

                             (4)   If neither EPA nor the Companies submit any
objections to the Independent Third Party pursuant to Section V.E.2.i.(3) of this MOU,
then within fifteen (15) days thereafter the steps shall be initiated to provide documents
to the Peer Consultation Group as set forth in Section V.E.2.j. of this MOU.

                             (5)    If EPA or the Companies submit any objections to the
Independent Third Party pursuant to Section V.E.2.i.(3) of this MOU, then no later than
fifteen (15) days thereafter, the questions, if any, shall be issued in final form. The
Independent Third Party will exercise its own judgment as to the validity of such
objections and revise the questions, or not, depending upon its own judgment. The final
questions, if any, shall be accompanied by a written explanation of the basis for the
questions.

                      j.      No later than fifteen (15) days following issuance of
questions in final form pursuant to Section V.E.2.i.(5) of this MOU, or at an earlier time,
if applicable, as specified in Sections V.E.2.i.(2) or V.E.2.i.(4) of this MOU, the following
documents shall be provided to the Peer Consultation Group:

                          (1)   A copy of the three (3) Assessments specified in
Section V.D. and associated Quality Assurance Project Plans;

                          (2)    A copy of this MOU and all appendices, which will
ensure that the Group then receives both the Charge as well as the provisions on
Program scope in Sections V.A. of this MOU that clarify the Charge;

                          (3)   Any additional clarifying questions developed by the
Independent Third Party pursuant to Section V.E.2.i. of this MOU;

                          (4)    A copy of any documents deemed relevant and
informative by the Independent Third Party; and

                        (5)  A copy of the following EPA guidance documents
(and any subsequent amendments thereto) that EPA has requested be sent to the Peer
Consultation Group:

                                    (a)    EPA’s “Guidelines for Exposure Assessment”,
EPA/600/Z-92/001 (May 1992);

                               (b)    Selected sections of EPA’s “Science Policy
Council Handbook Risk Characterization”, EPA 100-B-00-002 (Dec. 2000) relating to
exposure assessment; and




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                               (c)   EPA’s “Guidance For Quality Assurance
Project Plans EPA QA/G-5”, EPA/240/R-02/009 (Dec. 2002).

                    k.     The Companies shall take reasonable measures to ensure
that a mechanism is developed to make all documents provided to the Peer
Consultation Group pursuant to Section V.E.2.j. of this MOU and all other documents
generated as part of the Peer Consultation Process available to the Companies, EPA
and the public through electronic means, including via websites.

                      l.      No later than fifteen (15) days after the completing the steps
set forth in Section V.E.2.j. of this MOU to provide documents to the Peer Consultation
Group, the Independent Third Party shall prepare a written schedule for the Peer
Consultation Group’s review of the Assessments that will be submitted to EPA and
made available to the public. Such schedule shall include the following components:

                            (1)    A meeting at which the Companies will present the
Assessments to the Peer Consultation Group and answer any questions from the
Group. Such meeting shall be open to any interested member of the public as an
observer, with requirements and limitations similar to other voluntary EPA peer
consultation processes (e.g., brief written comments from observers addressing
scientific and technical matters submitted two (2) weeks prior to the meeting; oral
statements from observers scheduled in advance and limited to 3-5 minutes).

                             (2)   The release of a Meeting Report prepared by the
Independent Third Party that, similar to other voluntary EPA peer consultation
processes, summarizes the range of opinions and recommendations expressed by the
Group, the areas of agreement and disagreement among the Group’s members, the
presentations by the Companies, and the comments by any observer. Written
comments from any observer also will be appended to the Meeting Report. Prior to
finalization of the Meeting Report, each Group member will receive a draft of the
Meeting Report for comments and concurrence that their position has been accurately
represented therein. The Companies also will review the portions of the draft of the
Meeting Report that summarize the Companies’ presentations to ensure accuracy. The
final Meeting Report will be made available to the public.

                     m.     No later than thirty (30) days after the release of the final
Meeting Report, unless EPA notifies the Companies and the public of the need for an
extension, EPA will make available to the Companies and the public the Agency’s input
on what additional data and information the Agency believes the Companies should
obtain to address fully the Charge set forth in Section V.A. of this MOU. Such input
shall include a supporting rationale indicating the basis for EPA’s recommendations to
obtain additional data and information.




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                     n.     No later than ninety (90) days after receiving input from EPA
pursuant to Section V.E.2.m. of this MOU, the Companies will respond, in writing, to the
input from the Peer Consultation Group as summarized in the Meeting Report prepared
by the Independent Third Party pursuant to Section V.E.2.l.(2) of this MOU and the input
from EPA received by the Companies pursuant to Section V.E.2.m. of this MOU. Such
response by the Companies shall include both a revised version of the outline for a
Future Work Plan originally prepared pursuant to Section V.D.4.b. of this MOU and a
supporting rationale indicating the basis for the Companies’ approach on obtaining
additional data and information. No later than thirty (30) days following such response
by the Companies, unless EPA notifies the Companies and the public of the need for an
extension, EPA shall provide comments for the record on the revised version of the
outline for a Future Work Plan included with such response.

        F.    Post-Peer Consultation Commitments

              1.     Future Work Plan: No later than ninety (90) days from completion
of the Peer Consultation Process pursuant to Section V.E.2.n. of this MOU, the
Companies shall submit a full Future Work Plan to EPA. Before the Companies
commence such Future Work Plan, the Companies and EPA will convene for
discussions, after which the Companies shall implement the Future Work Plan.

             2.     Status Reports. The Companies will provide EPA with a Status
Report on a quarterly basis. The first such Status Report is due three (3) months after
the Companies submit the Future Work Plan pursuant to Section V.F.1. of this MOU.
Each such Status Report shall contain the following:

                   a.    A brief description of the implementation status of the Future
Work Plan submitted pursuant to Section V.F.1. of this MOU.

                      b.   A copy of all analytical reports, survey reports and other
reports that have been completed and received by the Companies pursuant to the
Future Work Plan thirty (30) days prior to the deadline for that Status Report. For
purposes of this Status Report requirement, any raw data and information, including all
laboratory analyses, generated pursuant to the Future Work Plan submitted pursuant to
Section V.F.1. of this MOU that have undergone quality assurance and quality control
as specified in such Future Work Plan and/or the Quality Assurance Project Plan
developed to implement such Work Plan shall be considered a “report”.

             3.      Revised Final Amended Screening Level Exposure
Assessment: No later than one hundred and eighty (180) days after completion of the
Future Work Plan submitted pursuant to Section V.F.1. of this MOU, the Companies
shall complete their obligations under this MOU by submitting to EPA a revised version
of the Screening Level Exposure Assessment prepared pursuant to Section V.D.3. of
this MOU that incorporates the additional data and information obtained under the
Future Work Plan submitted pursuant to Section V.F.1. of this MOU.

VI.     MISCELLANEOUS PROVISIONS



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       A.     Public Record

            1.    EPA has established a public record at Docket Control Number
OPPT 2004-0112 for this MOU. EPA has made available an electronic version of the
OPPT 2004-0112 public docket at http://www.epa.gov/edocket. The public also can
access the OPPT 2004-0112 docket through the EPA Docket Center, Room B102-
Reading Room, EPA West, 1301 Constitution Avenue, N. W., Washington, D. C.

              2.      The public record will contain this MOU; all submissions made by
the Companies to EPA in fulfilling their commitments under this MOU; and any other
reports contemplated by this MOU, subject to the confidentiality provisions of Section
14(b) of TSCA and 40 C.F.R. Part 2 and to the disclosure protection provisions in
Section VI.F. of this MOU.

       B.     Modifications, Work Plan Adjustments And Schedule Changes

              1.      Modifications To MOU. Modifications to this MOU, if any, must
occur by mutual agreement of all signatories and will result in an amended MOU, which
will be placed in the OPPT 2004-0112 public docket for this MOU. Work Plan
Adjustments and Schedule Changes do not constitute modifications to this MOU
provided that the Companies comply with Section VI.B.2. of this MOU.

              2.     Adjustments To The Work Plan And Schedule Changes

                     a.     Definitions

                            (1)    Routine Versus Non-Routine Work Plan
Adjustments

                                      (a)    For purposes of this MOU, a Routine Work
Plan Adjustment shall be defined as an adjustment to the Work Plan in Appendix B to
this MOU made in the normal course of implementing the Work Plan that would not
result in a significant, material alteration of the monitoring or other activities conducted
under the Work Plan. Examples of a Routine Work Plan Adjustment would include, but
would not be limited to, the following: Relocation of a sampling point for technical
reasons (e.g., field obstructions) to another point within the immediate vicinity (e.g.,
within 25 feet); or an increase or decrease in the number of samples collected for
technical reasons that does not change the total number of samples collected by
greater than 10 percent.




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                                    (b)    For purposes of this MOU, a Non-Routine
Work Plan Adjustment shall be defined as an adjustment from the Work Plan in
Appendix B that would result in a significant, material alteration of the monitoring or
other activities conducted under the Work Plan. Examples of a Non-Routine Work Plan
Adjustment would include, but would not be limited to, the following: Elimination of a
species from or substitution of a species in the biota monitoring; Modification to the
analytical method identified for use in the Work Plan when such modification would
reduce method sensitivity by greater than 10 percent; Significant additions to the Work
Plan based on sampling data obtained during the earlier part of Phase II, such as, for
example, the addition of off-site soil and groundwater monitoring based on results of on-
site monitoring obtained during the earlier part of Phase II.

                           (2)    Minor Versus Major Schedule Changes

                                    (a)    For purposes of this MOU, a Minor Schedule
Change under this MOU shall include any delay in time schedule that (i) would extend
the time schedule specified in the Work Plan in Appendix B by less than sixty (60) days
or (ii) would not alter a time schedule expressed as a “no later than” deadline in this
MOU by more than thirty (30) days.

                                  (b)     For purposes of this MOU, any change to a
time schedule that extends beyond the limits of a Minor Schedule Change as defined in
Section VI.B.2.a.(2)(a) of this MOU shall constitute a Major Schedule Change.

                    b.     Requirements

                           (1)    Notice

                                  (a)    The Companies shall provide EPA with
advance written notice of, along with an explanation of the reasons for any Non-Routine
Work Plan Adjustments and Major Schedule Changes as these terms are defined in
Section VI.B.2.a. of this MOU.

                                   (b)    To the extent practicable, the Companies shall
provide EPA with advance written notice of, along with an explanation of the reasons
for, any Routine Work Plan Adjustments and Minor Schedule Changes as these terms
are defined in Section VI.B.2.a. of this MOU. Where advance notice is not practicable,
the Companies shall provide written notice at the earliest opportunity, but no later than
fifteen (15) days after any such Routine Work Plan Adjustments or Minor Schedule
Changes.




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                            (2)    Implementation of Work Plan Adjustments And
Schedule Changes

                                     (a)    Non-Routine Work Plan Adjustments And
Major Schedule Changes. The Companies may not undertake a Non-Routine Work
Plan Adjustment or a Major Schedule Change absent a Technical Consultation pursuant
to Section VI.C. of this MOU. Where the Companies believe that an action constitutes a
Non-Routine Work Plan Adjustment or a Major Schedule Change, the Companies must
identify the action as such in their notice submitted pursuant to Section VI.B.2.b.(1)(a) of
this MOU and must propose the matters to be addressed by the Technical Consultation,
including, in the case of a Major Schedule Change, a new time schedule that is
reasonable.

                                   (b)    Routine Work Plan Adjustments or Minor
Schedule Changes. Where the Companies believe that an action constitutes a
Routine Work Plan Adjustment or a Minor Schedule Change, the Companies may
undertake such action within seven (7) days after submission of the notice pursuant to
Section VI.B.2.(b)(1)(b) of this MOU or sooner where necessary to respond to special
circumstances or to preserve the validity of on-going research, unless EPA has
informed the Companies in writing that the Agency regards the action as a Non-Routine
Work Plan Adjustment or a Major Schedule Change and initiates a technical
consultation pursuant to Section VI.C. of this MOU.

       C.     Technical Consultation

            1.     A Technical Consultation will occur between the Companies and
EPA under any of the following circumstances:

                     a.     The Companies have been unable to obtain a contract with
the Independent Third Party identified pursuant to Section V.E.2.b. of this MOU within
the period specified in Section V.E.2.c. of this MOU.

                   b.     The Companies propose to undertake a Non-Routine Work
Plan Adjustment as defined in Section VI.B.2.a.(1)(b).

                   c.     The Companies propose to undertake a Major Schedule
Change as defined in Section VI.B.2.a.(2)(b).

                     d.      EPA has informed the Companies in writing pursuant to
Section VI.B.2.b.(2)(b) that the Agency regards an action as a Non-Routine Work Plan
Adjustment or a Major Schedule Change.

              2.    The Technical Consultation shall consist of discussions by
telephone or in person between responsible technical representatives of the Companies
and EPA for the purpose of reaching agreement between the Companies and EPA on
mutually acceptable Non-Routine Work Plan Adjustments or Major Schedule Changes.




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            3.    EPA shall place in the public record at Docket Control Number
OPPT 2004-0112 a summary of any Technical Consultation that describes any
agreement reached and the resulting Non-Routine Work Plan Adjustments or Major
Schedule Changes and the supporting rationale therefor.

      D.     Principal Contacts

               1.   All inquiries by the Companies to EPA under this MOU and all
concurrent submissions by the Companies as specified in Sections VI.E.2.c. and
V.E.3.b. of this MOU shall be made to:

Director, Chemical Control Division (7405M)
Room 4146 EPA EAST
U.S. Environmental Protection Agency
1201 Constitution Avenue, NW
Washington, DC 20004
202-564-4760

              2.      All notices and inquiries by EPA to the Companies under this MOU
shall be directed to:

Michael A. Santoro
Director, Specialty Materials EHS&R
3M Company
3M Center Building, 236-1B-10
St. Paul, MN 55144-1000
651-733-6374

      E.     Submissions To EPA

            1.      All notices, reports, assessments and other documents required by
this MOU shall be submitted by the Companies to EPA by the dates specified in this
MOU.

             2.     Reports And Assessments

                    a.      When submitting any reports that have been completed and
received by the Companies pursuant to the Work Plan in Appendix B of this MOU and
any of the Assessments required pursuant to Section V.D. of this MOU, the Companies
shall utilize commercial courier service or hand delivery in accordance with the
procedures set forth in Section VI.E.4. of this MOU.




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                       b.     The Companies shall submit four (4) paper copies and two
(2) digital copies (in text-searchable PDF format on magnetic media or CD ROM), for
each version (public or CBI, and labeled as CBI where appropriate) of all reports that
have been completed and received by the Companies pursuant to the Work Plan in
Appendix B of this MOU and any of the Assessments required pursuant to Section V.D.
of this MOU, except that the Companies may submit two (2) paper copies and two (2)
digital copies of reports which consist largely of raw data.

                      c.     To ensure timely processing for the reports and
Assessments being submitted pursuant to Section VI.E.2.b. of this MOU, the
Companies shall transmit one (1) paper copy and one (1) digital copy of all such reports
and Assessments to the EPA Docket in accordance with the procedures specified in
Section VI.E.4. of this MOU. The remaining copies specified in Section VI.E.2.b. of this
MOU shall be transmitted directly by commercial courier or hand delivery to the EPA
Principal Contact identified in Section VI.D of this MOU.

             3.     Other Submissions

                     a.     When making any submissions in connection with this MOU
other than the reports and Assessments specified in Section VI.E.2.b. of this MOU, the
Companies may utilize U.S. mail, commercial courier service, hand delivery or
electronic means at their election, provided that the Companies adhere to the
procedures for each method of submission set forth in Section VI.E.4. below.

                      b.     For all such other submissions specified in Section VI.E.3.a.
of this MOU, the Companies shall transmit one (1) paper copy and one (1) digital copy
to the EPA Docket if utilizing U.S. mail, commercial courier service or hand delivery. If
utilizing electronic means, then the Companies shall transmit one PDF format version
as specified Section VI.E.4.d. of this MOU. To ensure timely processing, the
Companies also shall transmit three (3) copies of all such other submissions specified in
Section VI.E.3.a. simultaneously to the EPA Principal Contact identified in Section VI.D.
of this MOU.

             4.     Submission Procedures

                     a.   Docket Identification. All notices, reports, assessments
and other documents submitted to the EPA Docket pursuant to this MOU shall be
identified by the EPA Docket ID Number OPPT 2004-0112 and the name: PFOA Site-
Related Environmental Assessment Program.

                     b.     U.S. Mail. Submissions to the EPA Docket made by U.S.
mail should be sent to: Document Control Office (7407M), Office of Pollution Prevention
and Toxics (OPPT), Environmental Protection Agency, 1200 Pennsylvania Avenue,
NW, Washington, DC 20460-0001. For submissions by U.S. mail containing
Confidential Business Information (CBI), the Companies shall follow the procedures
specified in Section VI.E.4.f. of this MOU.




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                      c.    Hand Delivery or Commercial Courier. Submissions to
the EPA Docket made by hand delivery or commercial courier should be delivered to:
OPPT Document Control Office (DCO) in the EPA East Building, Room 6428, 1201
Constitution Avenue, NW, Washington, DC and marked Attention: EPA Docket ID
Number OPPT 2004-0112. The DCO is open from 8 a.m. to 4 p.m., Monday through
Friday, excluding legal holidays. The telephone number for the DCO is (202) 564-8930.
For submissions by hand delivery or commercial courier containing Confidential
Business Information (CBI), the Companies shall follow the procedures specified in
Section VI.E.4.f. of this MOU.

                      d.     Electronic Means. Submissions made electronically to the
EPA Docket (via e-mail) should be sent to: OPPT Document Control Office at
oppt.ncic@epa.gov. The subject field of the e-mail should read: Attention: EPA Docket
OPPT 2004-0112. Digital submissions for all reporting required by this MOU that are
transmitted electronically must be submitted as attachments to the e-mail and must be
in text-searchable, PDF format. The e-mail transmitting any report required by this
MOU and all digital attachments will be included as part of the submission. E-mail
addresses are automatically captured by the EPA e-mail system and become part of the
submission that is placed in the official public docket, and will be made available in the
EPA electronic public docket. Upon receipt of the electronic submission, a "receipt
date" will be entered into the metadata for that submission to signify the date the
document(s) submitted by the Company(ies) was received by EPA. EPA is not
responsible for failure to meet a date of submission obligation if the EPA fire wall rejects
an electronic submission containing a virus or other adverse electronic coding. It is the
obligation of the submitter to confirm that: 1) electronic submissions are received by
EPA on the date of transmission, 2) the electronic submission and all attachments are
legible, and 3) the electronic submission and all attachments meet the electronic format
requirements of the EPA Document Control Office. Electronic submission shall not be
used for any document containing Confidential Business Information (CBI).

                      e.    Proof of Submission. Materials (paper or digital media)
shall be deemed submitted when they are either postmarked or placed in the hands of a
commercial courier service for overnight delivery to EPA at the appropriate address
specified in Section VI.E.4.b. (for U.S. mail) or Section VI.E.4.c. (for commercial courier)
of this MOU. Hand-delivered materials are deemed submitted upon receipt at the
appropriate address specified in Part VI.E.4.c. of this MOU. Electronically-transmitted
documents are deemed delivered upon transmission and must follow the procedures for
electronic submissions specified in Part VI.E.4.d. of this MOU. Under any of the above
circumstances, it is the responsibility of the Companies to maintain appropriate
documentation for proof of transmittal for all submissions made pursuant to this MOU.




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                     f.     Confidential Business Information (CBI)

                            (1)    Any document submitted to EPA that contains data or
information for which a Signatory Company makes a claim of CBI must be submitted as
two separate versions. One version must be complete, with the information being
claimed as confidential marked in the manner described under 40 CFR 790.7. The other
public version must be identical in all respects except that all of the information claimed
as confidential shall be redacted. EPA will place the public version in the Agency’s
docket. The complete version will be treated in accordance with EPA confidentiality
regulations in 40 CFR part 2 and 40 CFR 790.7.

                              (2)    Data or other information that are considered to be
CBI must not be submitted to EPA by e-mail. Any part or all of data or other information
claimed as CBI must be so marked clearly. If the CBI submission is on diskette or CD
ROM, label the outside of the diskette or CD ROM to indicate that it contains CBI,
identify by appropriate file naming those files that contain CBI and within each such file
clearly identify the specific information that is CBI. Information marked as CBI will not
be disclosed except in accordance with procedures set forth in 40 CFR part 2 ).

                             (3)    Any claims of confidentiality for information submitted
under this MOU will be made under the terms of 40 CFR 790.7. If no claim of
confidentiality is made by the submitter of the information at the time of submission, the
information will be deemed by EPA, in accordance with 40 CFR 790.7, to be public, and
may be made available to the public without further notice to the submitter. Information
claimed as confidential will be treated in accordance with the procedures in 40 CFR part
2 and to section 14 of TSCA, 15 U.S.C. 2613.

       F.     Reservation of Rights: By signing this MOU, the Companies are not
admitting that TSCA Section 4 gives EPA the authority to promulgate a test rule
requiring generation of the data and information that the Companies will gather through
the PFOA Site-Related Environmental Assessment Program; nor are the Companies
admitting that the TSCA Section 4 requirements for promulgating such a test rule have
been satisfied by the Agency. The Companies believe that documents generated under
the PFOA Site-Related Environmental Assessment Program do not constitute studies
subject to disclosure under 15 U.S.C. § 2613(a); therefore, such documents may be
protected from disclosure under various laws, including under 5 U.S.C. § 552(b)(4) and
15 U.S.C. § 2613(b), except to the extent such documents fall within the public
disclosure provisions in Section VI.A.2. of this MOU.

VII.     SIGNATURES

               This MOU is agreed to by 3M, Dyneon and EPA as follows:




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For 3M Company



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Dr. Larry A. Wendling U
                                          2004

Staff Vice President
Corporate Research Laboratory
3M Company
3M Center, Building 220-?E-06
St. Paul, Minnesota 55144-1000




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For Dyneon, LLC




President
Dyneon, LLC
67 44 33rd Street
Oakdale, MN 55128




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For the U.S. Environmental Protection Agency



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Charles M. Auer, Director
Office of Pollution Prevention and Toxics
United States Environmental Protection Agency
1200 Pennsylvania Avenue, N. W.
Washington, D.C. 20460




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                      APPENDIX A –
    SITE COVERED BY THIS MOU AND PARAMETERS AND
          LIMITATIONS PARTICULAR TO SUCH SITE

            1.      The “Site” subject to the PFOA Site-Related Environmental
Assessment Program is the 3M Property located in Decatur, Alabama shown on the
map attached to this Appendix A [hereinafter “3M Decatur Site Property” or “the
Property”].

              2.     As specified in Section V.A.1. of this MOU, the Companies commit
to address fully the Charge question as such question applies to the 3M Decatur Site
Property and subject to the language governing interpretation of the Charge set forth in
Section V.A.2. of this MOU, except, as recognized in Section V.A.3 of this MOU, this
Appendix A establishes the following parameters and limitations on such commitment:

                     a.     Daikin America owns and operates a manufacturing site in
Decatur, Alabama. Due to the close proximity of Daikin’s fluoropolymer manufacturing
and telomer manufacturing operations at its Decatur, Alabama site to the 3M Decatur
Site Property, PFOA emissions and releases from the Daikin operations have and will
contribute to PFOA presence in environmental media on and around the 3M Decatur
Site Property. The commitment by the Companies to address fully the Charge question
as to the 3M Decatur Site Property does not require the Companies to assess, predict
or apportion the original source of PFOA on and around the 3M Decatur Site Property
as between Daikin America and the Companies.

                   b.     3M formerly owned the land on which Daikin now has its
Decatur, Alabama site with fluoropolymer manufacturing and telomer manufacturing
operations. The commitment by the Companies to address fully the Charge question as
to the 3M Decatur Site Property:

                          (1)     Does not require the Companies to perform
environmental monitoring or other on-site data and information collection activities on
the Daikin Decatur, Alabama site;

                           (2)    Does not require the Companies to characterize or
assess the PFOA currently present in environmental media on the Daikin Decatur,
Alabama site or to characterize or assess the pathways of migration of such PFOA
present in environmental media on the Daikin Decatur, Alabama site; and

                            (3)   Does not require the Companies to investigate,
evaluate, analyze or assess exposures to PFOA that may have occurred in the past,
that are now occurring or that may occur in the future as a result of activities by Daikin.




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                                                                           es
                                                                             se
                                 3M Decatur                                      e
                                                                                     Ri
                                  Alabama                                              ve
                                  Facility          MDA, Inc.                             r




                                                Daikin




           Alabama




                          0              1                 2
                                                                  N
                                   Scale in Miles




04P-1172


                                3M DECATUR SITE PROPERTY
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                APPENDIX B – WORK PLAN




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                       3M Company                                                          3M Company
                    St. Paul, Minnesota                                                    St. Paul, Minnesota
Spine -1 1/2 x 11




                      Decatur, Alabama Plant
                                               3M Company
                                                            Sampling Environmental Media
                                                            Phase 2 Work Plan for
Cover - 10 x 11




                                                                                                                 Phase 2 Work Plan for
                                                                                                                 Sampling Environmental Media

                                                                                                                 3M Company
                                                                                                                 Decatur, Alabama Plant




                                                                                                                 October 2004




                     October 2004
                                                                                                       ®




                                                                                           04P-1398
                                                                                ®
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                PHASE 2 WORK PLAN FOR
     SAMPLING ENVIRONMENTAL MEDIA FOR PFOA AT THE
                 3M DECATUR, AL PLANT


                             VOLUME 1 OF 3




                              OCTOBER 2004




                                Prepared for


                              3M COMPANY
                           ST. PAUL, MN 55133



                                Prepared by

                    WESTON SOLUTIONS, INC.
                  West Chester, Pennsylvania 19380


                         W.O. NO. 02181.129.081.0001
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EXECUTIVE SUMMARY

The 3M Company (3M) and the United States Environmental Protection Agency (EPA)
have developed of a Memorandum of Understanding (MOU) that memoralizes the
commitment of 3M and its subsidiary, Dyneon LLC (Dyneon), to provide EPA with
information on perfluorooctanoic acid (PFOA) through a PFOA Site-Related
Environmental Monitoring and Assessment Program. Additional background information
on the development of the MOU is contained in Section IV of the MOU. The objectives
of the Program are to address EPA and 3M data needs including: 1) characterizing
sources and concentrations of PFOA in various environmental media and migration and
extent of PFOA contamination associated with the Decatur facility, 2) identifying actual
or potential receptors and exposure pathways, and 3) collecting data necessary to perform
a screening level exposure assessment. The Program will be evaluated according to the
Charge and clarifying statements as described in the MOU.

3M developed a phased approach to obtain data on the presence of PFOA in various
environmental media at the Decatur site. The phased approach has been developed to
retain a systematic approach for obtaining data to satisfy EPA’s data needs related to
release, occurrence, and transport pathways contained in the Preliminary Framework for
Enforceable Consent Agreement Data Development for PFOA and Telomers (EPA,
2003a), Item 10: Monitoring-Fluoropolymers. EPA Data Needs (EPA, 2003b), and the
December 9, 2003 “Road Map” (EPA, 2003c), and to provide sufficient data to allow
development of a screening level exposure assessment.

The screening level exposure assessment for current human exposure to PFOA will
involve the development of quantitative assessments, to the extent possible, for those
pathways and receptors applicable to the Decatur site. For those pathways/receptors
where a quantitative exposure assessment can not be performed, a semi-quantitative or
qualitative exposure assessment will be performed. Although the exposure assessment
will focus primarily on human exposure, it will characterize the presence of PFOA in



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environmental media, including biota, on and off the site as a result of current and past
manufacturing activities.

The field sampling program was revised and enhanced by 3M to meet the objective of
obtaining data for performing a quantitative screening level exposure assessment for
human receptors. To that end, a preliminary assessment of potential routes of exposure
for the PFOA that may be present at the Decatur facility and to the adjacent surroundings
and human populations was performed. The preliminary assessment of potential routes of
human exposure was based primarily on the knowledge gained from the Resource
Conservation and Recovery Act (RCRA) Facility Investigation (RFI) program conducted
for nonfluorochemicals at the site which was used to identify potential exposure
pathways for general classes of receptors such as on-site grounds maintenance workers
and the general public. The potential exposure pathways and receptors knowledge will be
updated through tools such as the demographic survey. The resulting preliminary site
conceptual exposure model (SCEM) for PFOA (see Section 4) was used in conjunction
with the expressed EPA data needs (EPA 2003a, EPA 2003b, and EPA 2003c) to develop
the technical approach for the Phase 2 monitoring program. Complete and potentially
significant exposure pathways that were identified in the pathways assessment were
selected for further evaluation and, where indicated, data collection.

DESCRIPTION OF THE PHASED APPROACH

The phased approach presented in this revised Work Plan, as developed by 3M, consists
of the following elements:

     •      PHASE 1

            This phase of the PFOA environmental sampling activities consists of those
            activities that have been completed or are being conducted at the facility under the
            letter of intent (LOI) submitted by 3M to EPA on March 13, 2003 and further
            described in a subsequent letter, dated May, 2003. In the LOI, a commitment to
            monitor both on-site and off-site environmental media was established. On August
            1, 2003, the first report of the results of the initial on-site monitoring effort was


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            submitted to EPA and has been entered into the Docket OPPT- 2003-0012. The
            information included data on the semi-annual groundwater monitoring, results of
            the semi-annual wastewater effluent monitoring from the manufacturing plant and
            environmental monitoring data from sampling in the Tennessee River. The off-site
            monitoring includes surface water, sediment and biota monitoring in the Tennessee
            River, a program that had been initiated in the Year 2000. The next sampling event
            for these media is scheduled for 2004. In January, 2004 the results of the air
            dispersion modeling were also submitted to the EPA as part of the LOI
            commitment.

     •      PHASE 2

            Former Sludge Incorporation Area
            In the former sludge incorporation areas, sludge from the facility’s wastewater
            treatment plant was historically land applied. The sampling activities planned for
            this area of the site include selected soil and groundwater sampling and
            inventorying of the selected vegetation and small mammal species in the area
            followed by vegetation and small mammal sampling. The objective of this phase
            of the sampling program is to provide screening level data to initially assess the
            nature and extent of PFOA present in the former sludge incorporation area, the
            occurrence of PFOA in plants/animals and the availability of PFOA for off-site
            migration from this area. It is anticipated that approximately 140 soil, 24
            groundwater, 32 vegetation and 10 mammalian samples (serum and liver tissue)
            will be collected and analyzed for PFOA. To assess groundwater flow directions, a
            hydrogeological assessment in the sludge incorporation area is included as part of
            this phase.

            Other On-site and Off-site Monitoring
            On March 23, 2004, 3M submitted an overview of the pending revisions to the
            original Work Plan (dated February 16, 2004) in which certain enhancements were
            described. These enhancements included 1) soil monitoring in the vicinity of the
            groundwater wells sampled under the LOI, 2) surface water monitoring of on-site


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            drainage ways and Tennessee River locations, 3) sediment monitoring in on-site
            drainage ways and in additional locations in the Tennessee River at the northern
            plant boundary and in a downstream location, and 4) additional aquatic biota
            sampling.

            Further Enhancements to the Phase 2 Work Plan
            For purposes of developing the quantitative exposure assessment, there are
            additional areas of interest that will be addressed as part of Phase 2. These include
            1) collection of off-site groundwater and soils samples based on the findings of the
            initial Phase 2 sampling and the conceptual hydrogeological model; 2) an
            inventory of off-site well locations to validate a previous understanding that
            groundwater is not used in this general Decatur area for potable or irrigation
            purposes; 3) periodic monitoring of the Decatur municipal water supply to
            determine presence of PFOA in that potable water source, 4) collection of
            demographic data for the Decatur area, and 5) an evaluation of the locations,
            description, and use history of two off-site waste disposal facilities and the
            collection of a leachate sample from one of these facilities, the Morgan County
            landfill.

            In addition, as an enhancement of the LOI activities, sampling of clams or mussels
            and fish in additional locations of the Tennessee River will also be performed. As
            mentioned previously, the next scheduled sampling in the Tennessee River,
            defined in the LOI, will be incorporated into the Phase 2 sampling program and
            will include sampling of sediment and surface water, and the clams or mussels,
            and fish in the Tennessee River.

Table ES-1 shows an overview of the sampling program that will be undertaken under
Phases 1 and 2 of the PFOA monitoring program at the Decatur site. 3M anticipates that
the scope of the PFOA characterization program described in the Phase 2 Work Plan will
fulfill most of the data needs identified by EPA (EPA, 2003a, 2003b, and 2003c). Table
ES-2 contains the detailed list of the elements of the Phase 2 Work Plan, the rationale for
data collection, and the intended use of the data relative to EPA’s expressed Data Needs

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                                                                             TABLE ES-1 OVERVIEW OF PHASE 1 AND 2 PFOA MONITORING

                                                                          On-Site                                                                                Off-Site
                                                                                                  # of
                                                  Media                                         Samples    Frequency                 Tennessee River                      # of Samples           Frequency
    Phase 1
                        Effluent                                                                      1    Quarterly        Surface water                                        5               Biennially1
                        Groundwater (8 wells)                                                         8     Ongoing         Sediment                                             5               Biennially
                        Air Modeling                                                                 N/A   Completed        Fish (2 species)                                 3 locations         Biennially
                                                                                                                                                                           Locations/
                                                                                                             Once
                        Soils in vicinity of LOI wells                                               40                             Tennessee River                       # of Samples           Frequency
                        Soils in former sludge incorporation                                                                Surface water                                        18                 Once
                                                                                                     140     Once
                        area and at the NW control location                                                                 Pore water                                           12                 Once
                        Vegetation in vicinity of soils                                              27      Once           Sediments                                            30                 Once
                        Small mammals (serum and liver)                                          10 each     Once           Fish (2 species) whole fish and fillets   120 total; 6 locations 2     Once
    Phase 2                                                                                                                 Lower Order Species                        6 composites total;
                        Surface Water                                                                 2      Once
                                                                                                                            (clams/mussels)                                6 locations 2           Once
                        Sediments                                                                     6      Once           Well survey                                     5 mile radius          Once
                        Groundwater - (8 sets of 3 wells in                                                                 Decatur Water Supply                                  6              Bimonthy
                                                                                                     24      Once
                        sludge incorporation area)                                                                          Waste Disposal Survey - Landfill
                        Hydrogeologic assessment in vicinity                                                                leachate and WWTP, and effluent              1 sample each             Once
                        of wildlife habitat/sludge                                                           Once           sludge
                        incorporation area                                                           N/A                    Additional soils and groundwater
                                                                                                                                                                        To be determined
                                                                                                                            samples                                                                Once



1
    Every 2 years - next scheduled sampling is in 2004 and will be incorporated into the Phase 2 program.
2
    This represents sampling in 3 additional locations form the LOI commitment.




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                                    Table ES-2 - Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring

                                                                      No. of Samples/Locations/
                Activity                                               Descriptions of Activity                       Rationale for Collection

  1. Soil Sampling                               a. 5 Samples at varying depths in the vicinity of the 8 LOI          1) To determine the levels of PFOA in the
                                                    groundwater monitoring wells. Total of 40 samples                    soil associated with previous activity
                                                                                                                         on-site.
                                                 b. 18 Soil samples collected from soil borings at various depths
                                                    from each of 3 sludge incorporation fields and one control        2) to assess potential human exposure
                                                    field (72 samples). An additional 40 samples will be collected       through incidental ingestion of soil,
                                                    among the sludge incorporation and control fields (10 from           inhalation of dust and dermal contact.
                                                    each field) from the surface (0-3” depth) and shallow depths
                                                    (3”-6” depth). Composite soil samples of 5 ft intervals from      3) to evaluate the soil to groundwater
                                                    borings in each of the 3 sludge incorporation fields and the         transport processes.
                                                    control field to bedrock. Total of approximately 140samples.
                                                 c. 6samples from 6-inch intervals and approximately 7
                                                    composite samples from 5-ft intervals at a control location in
                                                    the northwest corner of the facility.
                                                 d. Off-site soils. Number and depth of soil samples will be based
                                                    on analyses of initial Phase 2 results from the former sludge
                                                    incorporation area investigation.

                                                 a. Continue sampling of 8 LOI wells on a biennial frequency          1) To determine the levels of PFOA in
  2. Groundwater                                                                                                         groundwater associated with current or
     Sampling/Evaluation                         b. Install 8 sets of 3 nested wells in the above 3 sludge               past manufacturing activities.
                                                    incorporation fields and one control field in the former sludge
                                                    incorporation area to monitor residuum, epikarst and shallow      2) to assess potential human exposure to
                                                    bedrock zones. Total of 24 groundwater samples (8 wells x 3          PFOA through consumption of
                                                    samples per well nest).                                              groundwater or other groundwater uses
                                                                                                                         (e.g. irrigation).
                                                 c. Collect water level data and perform hydrogeological
                                                    evaluation of the former sludge incorporation area. Based on
                                                    this evaluation and soils data, decide on an approach for         3) to evaluate the groundwater migration




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                                    Table ES-2 - Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring

                                                    collecting off-site soils and groundwater data (as part of           potential from onsite to offsite uses or
                                                    Phase 2) from areas south and west of the site in concert with       discharges to surface water.
                                                    EPA.
                                                 d. Install three sets of 3 nested wells off-site. Locations will be
                                                    based on analyses of initial Phase 2 results from the former
                                                    sludge incorporation area investigation. Total of 9 samples.
  3. Surface Water                               a. Expand number of sampling locations in the Tennessee River,        1) to determine PFOA levels in the
     Sampling                                       Bakers Creek, and the on-site Avenue “A” drainage to 8                Tennessee River and in on-site surface
                                                    locations.                                                            waters.
                                                 b. Add 12-node grid for surface water sampling (water column)         2) to compare PFOA levels with the
                                                    at groundwater/surface water interface adjacent to facility           results from previous surface water
                                                    shoreline. Total of 20 surface water samples.                         sampling.
                                                 c. Install peepers (dialysis-type sampling devices) into sediment
                                                    at 12-node grid for pore water sampling at                         3) to evaluate the potential sources of
                                                    groundwater/surface water interface adjacent to facility              PFOA to surface waters.
                                                    shoreline. Total of 12 pore water samples.                         4) to assess potential human exposure to
                                                                                                                          PFOA through direct contact with and
                                                                                                                          incidental ingestion of surface water.
                                                                                                                       5) to provide information on factors
                                                                                                                          associated with uptake of PFOA by
                                                                                                                          aquatic biota and subsequent
                                                                                                                          consumption by humans.


  4. Sediment Sampling                           a. Expand number of sampling locations in the Tennessee               1) to determine PFOA levels in the
                                                    River, Bakers Creek and A Avenue drainage to 8 locations.             Tennessee River and in on-site
                                                                                                                          sediments.
                                                 b. Add 12-node grid for sampling at groundwater/surface water



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                                    Table ES-2 - Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring

                                                        interface adjacent to facility shoreline. Total of 36 samples.   2) to compare PFOA levels with the
                                                                                                                            results from previous sediment
                                                                                                                            sampling.
                                                                                                                         3) to evaluate the potential sources of
                                                                                                                            PFOA to sediments.
                                                                                                                         4) to assess potential human exposure to
                                                                                                                             PFOA through direct contact with and
                                                                                                                             incidental ingestion of sediments.
                                                                                                                         5) to provide information on factors
                                                                                                                             associated with uptake of PFOA by
                                                                                                                             aquatic biota and subsequent
                                                                                                                             consumption by humans.
  5. Terrestrial Biota                                                                                                   1) to determine the levels of PFOA in 3
                                                 a. Conduct a vegetation survey in the former sludge
     Sampling                                                                                                               species of vegetation on the sludge
                                                    incorporation area. Obtain vegetation samples in the vicinity
                                                    of soil sample locations in the former sludge incorporation             application area.
                                                    area and the northwestern control location. Total of 27              2) to determine the levels of PFOA in
                                                    vegetation samples.                                                     one small mammal species in the
                                                 b. Conduct a small mammal survey in the former sludge                      sludge application area.
                                                    incorporation area. Obtain small mammal samples in the
                                                    vicinity of soil sample locations in the former sludge
                                                    incorporation area and the northwestern control location.
                                                    Total of 10 small mammal specimens with analyses of serum
                                                    and liver samples.




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                                    Table ES-2 - Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring
  6. Fish/Invertebrate                           a. Expand fish sampling in the Tennessee River to 6 locations      1) to determine PFOA levels in fish and
     Sampling                                       for two species. Collect whole fish and fillet samples. Total      clams/mussels in the Tennessee River
                                                    of 120 samples.                                                    and Bakers Creek.
                                                 b. Sample lower order species (clams and mussels) at 6             2) to compare PFOA levels with the
                                                    locations in the Tennessee River. Total of 6 composite             results from previous fish and
                                                    samples.                                                           clam/mussel sampling.
                                                                                                                    3) to assess potential human exposure to
                                                                                                                       PFOA through ingestion of fish.
                                                                                                                    4) to provide information on factors
                                                                                                                       associated with uptake of PFOA by
                                                                                                                       aquatic biota and subsequent
                                                                                                                       consumption by humans.


 7. Additional                                   a. Perform an off-site well survey.                                1) to confirm early 1990’s findings that
    Assessment of                                                                                                      Decatur municipal water system, not
    Possible Routes of                           b. Collect samples from Decatur municipal water supply on a           wells, is the potable water source for
    PFOA Exposure                                   bimonthly basis. Total of 6 samples.                               the site and its environs.
                                                 c. Collect information on off-site disposal of facility wastes.    2) to determine PFOA levels in the
                                                                                                                       Decatur Municipal Water supply
                                                 d. Collect samples of effluent and Morgan County landfill
                                                                                                                    3) to assess potential human exposure to
                                                    leachate and Decatur WWTP effluent and sludge. Total of 3
                                                                                                                       PFOA through ingestion of public
                                                    samples.
                                                                                                                       water.
                                                                                                                    4) to assess potential transport and
                                                                                                                       exposure pathways associated with off-
                                                                                                                       site waste disposal. Based on review of
                                                                                                                       data additional sampling around
                                                                                                                       disposal facilities could be performed
                                                                                                                       in Phase 3.




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and the objective of fully addressing the Charge stated in the MOU. The rationale for
each of the sampling activities is discussed in more detail in Section 5. Based on the
results of the Phase 2 data collection, interpretation, and screening level exposure
assessment, additional data will be collected during Phase 3 of the PFOA characterization
program to address data needs identified by 3M, EPA, and the Peer Consultation Panel.

Data Assessment Report, Screening Level Exposure Assessment, and Future Data
Needs Assessment Report

The results from the Phase 1 information and the Phase 2 investigation program will be
incorporated into a Data Assessment Report summarizing the methodology and findings
of the Phase 1 and Phase 2 investigation including robust summaries (and the analytical
data packages) of the results of all soil, groundwater, vegetation, sediment, surface water
and biota sampling. The Phase 1 and Phase 2 data contained in the Data Assessment
Report will be used to prepare a Screening Level Exposure Assessment performed in
accordance with the procedures contained in Guidelines for Exposure Assessment (EPA,
1992) and to inform the scope and magnitude of Phase 3 monitoring. A Future Data
Needs Assessment also will be prepared by 3M. The Future Data Needs Assessment shall
consist of the following:

(1) A scientifically-based analysis of the Data Assessment and the Screening Level
Exposure Assessment prepared pursuant to Sections V.D.2. and V.D.3. of the MOU.

Such scientifically-based analysis shall both assess the sufficiency of the Data
Assessment and the Screening Level Exposure Assessment with reference to and identify
additional data and/or other appropriate information necessary to address fully the
Charge.

(2) An outline of a Future Work Plan for the gathering of additional data and/or other
appropriate information that are necessary to address fully the Charge.




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Phase 3

EPA and 3M agree that additional sampling to further quantify pathways and human
exposure, to characterize the presence of PFOA in environmental media and meet EPA
data needs which may not have been fully met in Phase 1 and 2 is required in Phase 3.
Additional monitoring will be conducted to provide a more complete understanding of
the sources and magnitude and extent of PFOA on and off-site as a result of
manufacturing activities at the facility. Phase 3 work will be informed by the results of
the Phase 1 and Phase 2 data collection and evaluation.

Examples of work that could be considered as a Phase 3 include, but are not limited to,
the following: additional on-site and off-site soil and groundwater sampling; additional
monitoring of off-site waste disposal facilities; and additional surface water and sediment
monitoring, air measurements and additional biota sampling.




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1. INTRODUCTION


1.1           BACKGROUND

The 3M Company (3M) is entering into a Memorandum of Understanding (MOU) with
the United States Environmental Protection Agency (EPA) that formalizes an
environmental monitoring program at its Decatur, Alabama facility. Additional
background information on the development of the MOU is contained in Section IV of
the MOU.

The objectives of the program are to address EPA and 3M data needs including
characterizing sources, concentrations in various environmental media, migration and
extent of PFOA associated with the Decatur facility, identifying actual or potential
receptors and exposure pathways, and collecting data necessary to perform a screening
level exposure assessment. The Program will be evaluated according to the Charge and
clarifying comments as described in the MOU.

3M developed a phased approach to obtain data on the presence of PFOA in various
environmental media at the Decatur site. The phased approach has been developed to
incorporate a systematic approach for obtaining data to satisfy EPA’s data needs related
to release, occurrence and transport pathways contained in the Preliminary Framework
for Enforceable Consent Agreement Data Development for PFOA and Telomers (EPA,
2003a), Item 10: Monitoring – Fluoropolymers, EPA Data Needs (EPA, 2003b), and the
December 9, 2003 “Road Map” (EPA, 2003c) and to provide sufficient data to allow
development of a screening level exposure assessment.


1.2            APPROACH TO PROGRAM DEVELOPMENT

As described above, a phased approach will be utilized for collecting PFOA data. The
media to be sampled in each phase is summarized below:




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PHASE 1

This phase of the PFOA environmental sampling activities consisted of those activities
that have been or are being completed at the facility under the letter of intent (LOI)
submitted by 3M to EPA on March 13, 2003 and further described in a subsequent letter,
dated May, 2003. In the LOI, a commitment to monitor both on-site and off-site
environmental media was established. On August 1, 2003, the first report of the results of
the initial on-site monitoring effort was submitted to EPA and has been entered into the
Docket OPPT-2003-0012. The information included data on the semi-annual
groundwater monitoring results of the semi-annual wastewater effluent monitoring from
the manufacturing plant and environmental monitoring data from sampling in the
Tennessee River. The off-site monitoring includes surface water, sediment and biota
monitoring in the Tennessee River, a program that had been initiated in the Year 2000.
The next sampling event for these media is scheduled for 2004 and will be performed in
conjunction with the Phase 2 field activities. In January, 2004 the results of the air
dispersion modeling were also submitted to the EPA as part of the LOI commitment.

PHASE 2

The experimental design of the proposed Phase 2 sampling effort has been developed by
considering the expected use of the data for understanding the presence of PFOA on and
around the site, the potential exposure to PFOA in a variety of environmental media, and
the transport (migration) pathways by which PFOA may have reached these media. To
these ends, the types, number, and locations of samples to be collected have been selected
to obtain data that will provide estimates of PFOA concentrations and allow for
comparisons between locations.

This phase of sampling activities has been designed to develop the data necessary to
perform a screening level exposure assessment and to initially characterize fate and
transport issues. The data collection efforts planned for this phase include an evaluation
of the former sludge incorporation areas where sludge from the facility’s wastewater
treatment plant was historically land applied. The sampling activities planned for this


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phase include soil, groundwater, and three species of vegetation and one small mammal
species sampling to initially assess the nature and extent of PFOA present in the sludge
incorporation area, the presence of PFOA in the sampled plants and small mammals and
the availability for off-site migration from this area. A series of nested wells will be
installed within the former sludge incorporation area to allow for groundwater sampling
in the residuum unit, the epikarst (weathered bedrock between the residuum and
limestone bedrock units) and the shallow limestone bedrock. To assess groundwater flow
directions, a hydrogeological assessment in the former sludge incorporation area is
included as part of this phase. Other on-site data that will be collected during Phase 2
includes the sampling of soils in the vicinity of the 8 LOI wells that are currently being
monitored for PFOA on a semi-annual basis.

The next scheduled sampling in the Tennessee River, defined in the LOI, will be
incorporated into the Phase 2 sampling program and will include sampling of sediment
and surface water, and the clams or mussels, and fish in the Tennessee River. As an
enhancement of the LOI activities, additional sampling locations in the Tennessee River
and Bakers Creek will be added to the three LOI locations to better characterize the
distribution of PFOA in surface water, sediments and aquatic biota.

Phase 2 activities will also include the performance of an off-site well inventory,
sampling of the Decatur municipal water supply, an evaluation of waste disposal
facility(ies), a sample of the Morgan County landfill leachate, and the collection of
demographic data for the Decatur area.

Following the completion of Phase 2 field activities, the results of the multi-media
sampling conducted in both Phases 1 and 2 will be compiled and summarized in a final
Data Assessment Report. These data will be used to prepare a Screening Level Exposure
Assessment. In addition, a Future Data Needs Assessment Report will be produced that
will identify additional data necessary for refining the screening level exposure
assessment and would contain an outline of a Work Plan for a Phase 3 monitoring
program.



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SCREENING LEVEL EXPOSURE ASSESSMENT

The screening level exposure assessment for current human exposure to PFOA will
involve the development of quantitative assessments, to the extent possible, for those
pathways and receptors applicable to the Decatur site. For those pathways/receptors
where a quantitative exposure assessment cannot be performed, a semi-quantitative or
qualitative exposure assessment will be performed. Although the screening level
exposure assessment will focus primarily on human exposure, it will characterize the
presence of PFOA in environmental media, including biota, on and off the site as a result
of current and past manufacturing activities.

The field sampling program was developed by 3M to meet the objective of obtaining data
for performing a quantitative screening level exposure assessment for human receptors.
To that end, a preliminary assessment of potential routes of exposure for PFOA that may
be present at the Decatur facility to the adjacent surroundings and human populations was
performed.

The preliminary assessment of potential routes of human exposure was based primarily
on the knowledge gained from the Resource Conservation Recovery Act (RCRA) Facility
Investigation (RFI) program conducted for nonfluorochemicals at the site which was used
to identify potential exposure pathways for general classes of receptors such as on-site
grounds maintenance workers and the general public. The potential exposure pathways
and receptors knowledge will be updated through tools such as the demographic survey.
The resulting preliminary site conceptual exposure model (SCEM) for PFOA (see
Section 4) was used in conjunction with the expressed EPA data needs (EPA 2003a, EPA
2003b, and EPA 2003c) to develop the technical approach for the Phase 2 monitoring
program. Complete and potentially significant exposure pathways that were identified in
the pathways assessment were selected by 3M for further evaluation and, where
indicated, data collection.




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PHASE 3

The Phase 1 and Phase 2 work which will be performed by 3M will address EPA data
needs. EPA and 3M agree that additional sampling to further quantify pathways and
human exposure and to characterize the presence of PFOA in environmental media is
required in Phase 3. Additional monitoring will be conducted to provide a more complete
understanding of the sources and magnitude and extent of PFOA on and off-site as a
result of manufacturing activities at the facility. Phase 3 work will be informed by the
results of the Phase 1 and Phase 2 data collection and evaluation along with new research
results or newly discovered historic information about the site.

This phase of the investigation will consist of the preparation of a Work Plan for Phase 3
monitoring activities and implementation of the field sampling activities. This phase is
intended to address any data needs identified in the Data Needs Assessment Report as
they relate to the Screening Level Exposure Assessment by 3M and/or identified by the
Peer Consultation Panel after its review of the Data Assessment Report, Screening Level
Exposure Assessment, and Future Data Needs Assessment Report that would be prepared
at the end of Phase 2. The specific nature and extent of Phase 3 field investigations that
will be required to address the data needs will be identified in a separate Work Plan that
would be submitted to EPA for review and discussion.

Based on the current state of knowledge, examples of work that could be considered as a
Phase 3 include, but are not limited to, the following: additional on-site and off-site soil
and groundwater sampling; additional monitoring of off-site waste disposal facilities;
additional surface water, sediment, and seepage zone monitoring; air measurements and
additional biota sampling. Additional biota sampling that could be considered for Phase 3
include additional samples of the same species sampled during Phase 2 and additional
species of biota that are different from those sampled during Phase 2.




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1.3           ORGANIZATION OF THIS DOCUMENT

This Work Plan is organized into the following sections:

Section 1 – Contains a discussion of the background and objectives of the PFOA
                        characterization program and an overview of the phased approach to data
                        collection.

Section 2 – Contains information provided by 3M on the environmental setting for the
                        Decatur area.

Section 3 – Contains a description provided by 3M of past activities at the former sludge
                        incorporation area.

Section 4 - Contains a description of the preliminary site conceptual exposure model.

Section 5 – Contains an extensive discussion of the Phase 2 sampling activities.

Section 6 – Contains a description of the field documentation procedures, the Data
                        Assessment Report, Screening Level Exposure Assessment, and Future Data
                        Needs Assessment Report that will be prepared after completion of the
                        Phase 2 sampling program.

Section 7 – Contains the references used in the preparation of the Work Plan.




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2. ENVIRONMENTAL SETTING


2.1           LAND USE

3M began operations at the Decatur, Alabama, facility in 1961 with the construction of
the chemical manufacturing plant (Chemical Plant). In 1962, the facility was expanded to
include a film manufacturing plant (Film Plant). Prior to construction, the area consisted
mostly of agricultural and residential properties. Currently, the land surrounding the
facility is predominantly industrial and commercial. Bordering industries include BP
(formerly Amoco Chemical) to the west; Daikin America, Inc. and MDA, Inc. to the
south; the Alabama state docks to the east; and Cargill, Inc. (formerly Cerestar) to the
southeast. (Solutia [formerly Monsanto Chemicals] is also located east of the Decatur
facility on the east side of Baker’s Creek). Figure 2-1 is a site location map.


2.2           TOPOGRAPHY AND DRAINAGE

The 3M Decatur site is located in the Highland River section of the Interior Low
Plateau’s physiographic province. This province is characterized by gently rolling hills,
broad low drainage divides, and gentle stream gradients. Topographic elevations range
from approximately 550 feet above mean sea level (ft msl) near the Tennessee River to
635 ft msl in the west-central portion of the site.

Surface water discharges from the property via several manmade ditches. Surface-water
from non-process areas in the northern half of the site is directed to several outlets that
drain to the Tennessee River. Surface-water in the plant production areas is collected in
storm drains or ditches and diverted to the on-site WWTP for treatment prior to discharge
through the site’s NPDES-permitted outfall. Surface water from the central and southern
portions of the property drains to the east, south, and west, and ultimately discharges to
the Tennessee River or Baker’s Creek. The facility currently has 11 stormwater outfalls
that are included in the NPDES permit.




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                                                                    nn
                                                                       es
                                                                         se
                                  3M Decatur                                 e
                                                                                 Ri
                                   Alabama                                         ve
                                   Facility                                           r




             Alabama




                           0              1            2
                                                              N
                                    Scale in Miles




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                               FIGURE 2-1 SITE LOCATION MAP
                                           3M DECATUR, AL
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The Tennessee River (Wheeler Reservoir) flows to the west and has a summer pool
elevation of 556 ft msl and a 100-year flood plain elevation of 568 ft msl. During winter
months, the pool level is lowered approximately 5 to 10 feet to help manage the increased
rainfall during this period. Although eastern portions of the site could lie within the 100-
year flood plain, the industrialized portions of the facility are entirely above the 100-year
flood area.


2.3           GEOLOGY


2.3.1 Regional Geology

The 3M Decatur site is located in the Highland Rim section of the Interior Low Plateau’s
physiographic province. The geology of Morgan County typically consists of
unconsolidated soil underlain by consolidated bedrock consisting of limestone, chert, and
shale. A generalized stratigraphic column for the Decatur site is shown as Figure 2-2.
Descriptions of each of the major geologic units are provided in the following
paragraphs.

The unconsolidated soil is comprised of silty to clayey sand, collectively referred to as
the residuum. The residuum includes transported sediments originating from previous
transgressions of the Tennessee River system, and soil derived by the in situ physical and
chemical weathering of the bedrock (saprolite). Typically, the residuum at the site ranges
in thickness from approximately 10 feet to up to 95 feet.

The alluvial soil at the site consists of red silty and clayey sand to sandy clay with
occasional lenses of rounded chert gravel. Soil outcrops along with current margin of the
Tennessee River indicate that gravel near the base of this soil sequence may include large
angular boulders of chert, suggesting an intermixing of well-worked river deposits with
eroded chert clasts from the underlying bedrock. Outcrops of fresh bedrock in these areas
also indicate, at least locally, that the alluvial soils were deposited at the soil/bedrock
interface. As a result, it can be concluded that the highly erratic bedrock surface was
likely formed by a combination of physical and chemical weathering processes.


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                                                                                         GRAPHIC
  ft above mean AGE FORMATION                                     LITHOLOGY              COLUMN
        sea level
                                           ALLUVIAL TERRACE     silty to clayey sand
                                               DEPOSITS
         RECENT                                                residuum
                                                                saprolitic limestone
                                                                      (sandy silt)

                                                                                                    Epikarst
                                                              coarse-grained limestone

                                             TUSCUMBIA
                 500                         LIMESTONE
                                                               fine-grained limestone



                                                              coarse-grained limestone
                                                                                                           Asphalt
                           MISSISSIPPIAN




                                                                asphaltic limestone



                 400                                                                                        Chert
                                                FORT                                                       Nodules
                                               PAYNE
                                               CHERT
                                                                 chert




                 300                        MAURY SHALE          shale
                           DEVONIAN




                                           CHATTANOOGA           shale
                                              SHALE




  Legend
       Asphalt Filled Vugs

       Chert Nodules
  Stratigraphic column based
  on boring/core log data
                                                                                                      04P-0016-2


                   FIGURE 2-2 GENERALIZED STRATIGRAPHIC COLUMN
                              3M DECATUR FACILITY, DECATUR, AL
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The saprolite (weathered bedrock) soil can be described as brown to yellowish brown
clayey silty sand to sandy silt. Lenses of sand and chert replacement nodules occur
locally; the chert typically increases in abundance with depth. Boring data indicate soil at
the bedrock interface is often saturated beyond its liquid limit, resulting in localized
“muck” zones. These zones are often interlayered with competent limestone, indicating a
transitional contact with the bedrock.

Mississippian Age Tuscumbia limestone underlies the residuum. This unit consists of
gray to light gray coarse-grained fossiliferous limestone and fine-grained limestone
(micrite) with chert replacement nodules and lenses. The Tuscumbia limestone gently
dips to the south-southeast and has an approximate thickness of 200 feet. Fractures
observed within the Tuscumbia limestone are bedding controlled or oblique, originating
from stress relief (joint) fractures. Fracture occurrences decrease with depth.


2.3.2 Site Geology

The geology beneath the 3M Decatur site consists of residuum underlain by the
Tuscumbia limestone, which, in turn, is underlain by the Fort Payne chert. The residuum
is a low permeability soil material consisting of silty sand and clayey sand with varying
percentages of gravel, underlain by sandy silt to clayey silt with weathered
limestone/chert clasts.

The contact between the residuum and bedrock is transitional, expressed by interlayering
of saturated soil and competent limestone. This transition zone, or epikarst, varies in
thickness at the site from approximately 5 feet to up to 30 feet. The more developed
epikarst zones are typically associated with linear depressions in the current bedrock
surface, suggesting potential physical weathering mechanisms associated with the
Tennessee River system.

The Tuscumbia limestone underlies the residuum to an approximate depth of 150 feet
below ground surface (ft bgs). Fractures within this unit occur primarily along bedding
planes, and typically do not exceed 10 millimeters (mm) in thickness. Water-bearing


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fractures observed in this unit are not continuous, and do not appear to yield significant
quantities of water. The occurrence of fractures decreases with depth.

An asphaltic limestone approximately 10 feet thick occurs below the Tuscumbia
limestone, and has been interpreted as the top of the Fort Payne chert. Water-bearing
fractures were not observed within the Fort Payne chert, suggesting that the asphaltic
limestone likely acts as a lower confining unit for the Tuscumbia limestone.


2.4           HYDROGEOLOGY


2.4.1 Regional Hydrogeology

Based upon information generated during the RCRA Facility Investigation (RFI)
conducted at the site it was found that regional groundwater within Morgan County is
primarily within the Tuscumbia-Fort Payne aquifer, which is comprised of the Tuscumbia
limestone and Fort Payne Chert. Primary porosity in the unweathered Tuscumbia
limestone and Fort Payne chert is low, averaging less than a few percent of the total
volume of rock. Groundwater within the bedrock occurs in secondary openings enlarged
along fractures and bedding planes, and within solution features near the bedrock surface.
Groundwater flow associated with this system is controlled by the number, extent,
orientation, and interconnection of these water-bearing fractures. Groundwater flow in
the Decatur, Alabama, area is generally to the north toward the Tennessee River.

The Tuscumbia-Fort Payne aquifer is considered a primary aquifer for public drinking
water supplies in northern Alabama (but not in the vicinity of the Decatur Site). Based on
information obtained during the RFI, it was reported that supply wells completed in this
aquifer yield from approximately 40 gallons per minute (gpm) to greater than 2,000 gpm.
Locally, however, this aquifer is not a porous medium and may not yield significant
quantities of groundwater. In the Decatur, Alabama, area, or more specifically, in the area
of the 3M Plant property, average yields from wells completed in this aquifer system are
less than 0.5 gpm. Therefore, the Tuscumbia-Fort Payne aquifer is not used at the 3M
facility or by the City of Decatur as a water supply source. Potable water used at the site,


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and the Decatur area in general, is provided by the Decatur municipal water system
whose source is from surface water (i.e. the Tennessee River).

Wells completed within the residuum generally yield very little water, less than 1 gpm.
As a result, this residuum unit is generally not considered as an economical water source.
Regionally, the residuum acts as a recharge zone for the underlying Tuscumbia-Fort
Payne aquifer.


2.4.2 Site Hydrogeology

Data collected from the extensive investigations conducted at the site under other
regulatory programs and site monitoring wells indicate that the local hydrogeology
consists of perched water zones (which are localized and not continuous), an unconfined
residuum/epikarst water-bearing unit, a semiconfined fractured limestone water-bearing
unit, and an underlying sequence of massive bedded chert and limestone that constitutes a
basal confining unit. These units appear to be connected only on a very localized scale
and cannot be considered laterally uniform or continuous.

Potentiometric data for the site indicate that groundwater occurs both as unconfined and
semiconfined systems. Unconfined groundwater occurs within the residuum, epikarst,
and to some extent, shallow fractures within the Tuscumbia limestone. Groundwater
elevations for this system range from approximately 615 ft msl south of the inactive
landfill to approximately 555 ft msl near the Tennessee River with depths to groundwater
ranging from near ground surface to approximately 32 ft bgs. In the plant production area
groundwater flow in the shallow system (residuum, epikarst) is generally to the north
with discharge the Tennessee River or east toward Baker’s Creek with an average
gradient of 1.4 x 10 -2 feet per foot. This groundwater gradient contour map is depicted in
Figure 2-3. Shallow groundwater flow in the former sludge incorporation area is to the
west-southwest based on groundwater levels collected during the sludge incorporation
program.




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                                                                                    FORII.ER CABIN
                                                                                            AREA

                                                                                                                                                                                                                  TENNESSEE
                                                                                                                                                                                                                   RIVER·
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                                                                                                                                                                                                                                                        Monitoring Well Location
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                                                                                                                                  e..,f   ,,
                                                                                                                                                                                                                                             SlUt 0     and Groundwater Elevation
                                                                                                                                                                                                                                                        (fmsl)


                                                                                                                                                                                                                                          /"... ..,./' Potentiometric Surface Contour
                                                                                                                                                                                                                                      /       • ,_.,   i n Feet Above Mean Sea Level )fmsl)

                                                                                                                                                                                                                                                        Indicates Bedrock Surface at
                                                                                                                                                                                                                                                        Higher Elevation Than Potentiometric
                                                                                                                                                                                                                                                        Surface


                                                                                                                                                                                                                                             Note: Groundwater Levels Recorded
                                                                                                                                                                                                                                             in September 2002
                                       211R

                                  '. 578.33
                                           0      .,....
                                                                                                                                                                                      227R
                                                                                                                                                                                                ..                                                      Generalized Groundwater Flow Direction
                                                                                                                                                                                        0
                                                                                                                                                                                      '668.84
                                                                                                                                                                                                                 0 ·~


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                                                                                                                    o-                                                                                     ~·      ·~
            STORMWATER
               POND
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                                                                        n ....
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                            "7"             , ,                               SWMU 4                                       , ,    !589.51',         •,
                                  ,~~"*                                      INACTIVE                                            ',            ',     ',
                           ~                                                 LANDFILL                                                 '•,,          '•, •     ~
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                                                                                                                                                                                                                                          600                0
                                                                                                                                                                                                                                                                 Scale in Feet
                                                                                                                                                                                                                                                                              600       1200



                                                                                                                                                                                                                                                                3M Decatur Site
                                                                                                                                                                                                                                                            Morgan County, Alabama
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                                                                                                                                                                      I
                                                                                                                                                                                                                                                                 Figure 2-3
                                                                                                                                                                  I
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                                                                                                                                                              I
                                                                                                                                                                                                                                                      Residuum Groundwater
                                                                                                                                                                                                                                                     Potentiometric Surface Map
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Some locations where residuum and bedrock monitoring wells are adjacent to each other,
indicate differing potentiometric surfaces suggesting confined or semiconfined bedrock
conditions. Groundwater elevations within these bedrock fracture systems approximate
those of the unconfined system, indicating a northerly to northeasterly flow direction as
shown in Figure 2-4. The groundwater gradient for bedrock groundwater is
approximately 0.2 foot per foot. Bedrock groundwater discharge is into the Tennessee
River. A flow net analysis conducted for the bedrock groundwater, as part of the RFI,
indicates that the zone of discharge into the river is within 200 ft of the shoreline.


2.5           ECOLOGICAL SETTING

The following subsections focus on the terrestrial habitat in the former sludge
incorporation area and are based on observations made during site walk-throughs and on
literature describing habitats typical of northern Alabama, the 3M Decatur facility, and its
surroundings in support of the RFI conducted at the site.


2.5.1              Habitat Identification & Ecological Resources in the Sludge
                   Incorporation Area

2.5.1.1            Terrestrial Habitat

The area in the immediate vicinity of the manufacturing portions of the site is highly
disturbed (paved, gravel-covered, etc.) and provides little habitat for ecological resources.
The former sludge incorporation area consists of a series of former agricultural fields
currently designated as a natural wildlife habitat area that is undergoing registration under
the Wildlife Habitat Council Program.




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             AVENUE A




                                                                                                   Figure 2-4



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2.5.1.2              Ecological Resources

A literature review was conducted to identify the potential wildlife communities and the
species present in each habitat type, in the vicinity of the 3M Decatur facility. A list of
potential species was created based on the known habitat requirements of each species
and available habitats on the site.

The former sludge incorporation area, although now in the early stages of succession, is
expected to eventually provide foraging and nesting habitat for a wide variety of birds,
invertebrates, reptiles, and mammals. Furthermore, planned resource management of this
area is likely to enhance wildlife utilization of this habitat. The Tennessee River/Baker’s
Creek riparian complex supports wildlife that use more than one habitat within the study
area (e.g., nesting versus foraging habitat). A wide variety of birds, reptiles, amphibians,
fish, mammals, and invertebrates are expected to occur in the immediate riparian area and
adjacent areas with suitable habitat.

The areas used for sludge incorporation are former agricultural fields many of which are
currently in the early stages of old-field succession. Consequently, it is expected that
vegetation in much of the area will be dominated by herbaceous plants with some woody
species entering the succession. The old-fields include a mixture of native and introduced
grasses and common herbaceous species likely to be present include composite species of
Aster, Ambrosia, and Solidago. Early stage shrubby species beginning to colonize the
area are expected to include sumacs (Rhus spp.), catbrier (Smilax spp.), and blackberries
(Rubus spp.). Woody species entering or likely to enter the succession include hackberry
(Celtis spp.), winged elm (Ulmus alata), black locust (Robinia pseudoacacia), honey
locust (Gleditsia triacanthus) and sweet gum (Liquidambar styraciflua).

Based on the results of the literature review, the following members of the avian and
mammalian community are likely to inhabit or utilize the former sludge incorporation
area. The most common songbirds may include the redwinged blackbird (Agelaius
phoeniceus), eastern meadowlark (Sturnella magna), eastern kingbird (Tyrannus
tyrannus), American goldfinch (Carduelis tristis), mourning dove (Zenaida macroura),


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and various sparrow species (Passer spp.) Common mammals may include the meadow
vole (Microtus pennsylvanicus), white-footed mouse (Peromyscus leucopus), least shrew
(Cryptotus parva), short-tailed shrew (Blarina brevicauda), eastern cottontail rabbit
(Sylvilagus floridanus), woodchuck (Marmota monax), and white-tailed deer (Odocoileus
virginianus). The small mammal community is expected to provide prey for apex
predator species such as redtailed hawk (Buteo jamaicensis) and foxes (Vulpes spp.).

As stated previously, this area has been designated a natural wildlife habitat area.
Consequently, natural successional processes, and potentially, active natural resources
management practices are expected to result in additional enhancement of the wildlife
habitat in this area.




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3. FORMER SLUDGE INCORPORATION AREAS


3.1           BACKGROUND

From 1978 to 1998, 3M incorporated sludge from the on-site wastewater treatment plant
via subsurface injection in an on-site area designated as the Sludge Incorporation Area.
This activity was conducted under a National Pollutant Discharge Elimination System
(NPDES) permit (No. AL0000205) which was issued by the Alabama Department of
Environmental Management (ADEM) to 3M. The sludge generated at the wastewater
treatment plant was from the treatment of manufacturing facility wastewater and was
approximately 1 to 3% solids. Sludge was hauled via a tank truck from the wastewater
treatment plant to the incorporation zone. The tank truck was equipped with a series of
tines and injection nozzles which injected the sludge approximately 1 foot below ground
surface. Subsurface sludge incorporation was a requirement of the NPDES permit and no
direct surface application of sludge was permitted or believed to have occurred. The
former sludge incorporation area is located on the southern portion of the 3M plant
property as shown in the Figure 3-1.

The former sludge incorporation area consisted of 575 acres of land located south of the
facility production areas. The area used for sludge incorporation was comprised of 13
application “fields or zones” and two control fields. A diagram of these “fields” is shown
in Figure 3-2.

Table 3-1 provides a history of sludge incorporation activities based on our discussions
with 3M personnel familiar with the sludge disposal operations Field 7 was the original
control area until 1991. In 1991, 3M sold 95.7 acres of the land encompassing fields 1
through 4 to Daikin and 13 acres to MDA, Inc (a joint venture between 3M and Daikin).
In 1992, a new control area was established north of Fields 12 and 13. No sludge was
applied to Field 14 or the new control area. In addition, Table 3-2 includes a summary of
the amounts of sludge applied into the various fields.




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                                                           3M Decatur
                                                            Alabama
                                                            Facility              Te
                                                                                    nn
                                                                                       ess
                                                                                          ee
                                 Finley                                                        Ri
                                 Island                                                          ve
                                                                                                    r
                                  Road
                             Daikin and
                             MDA, Inc.                            State
                                                                  Docks
                             Sludge                               Road
                          Incorporation
                              Area


                                          HWY 20/72




             Alabama




                                   0                  1            2
                                                                          N
                                              Scale in Miles




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                       FIGURE 3-1      LOCATION OF THE SLUDGE INCORPORATION AREA
                                       3M DECATUR, AL
                                                                                                                                      Case 5:16-cv-01029-LCB        Document 37-4       Filed 07/29/16       Page 71 of 244


                                                                                  Finley Island Road



                      Well 110C                                                                                                                                      Well 117C
                                          Well 120C



                                                                                                           103C          9                                        13
                           14                                                10                                   Well
                                                                                                                  121C

                                  Well 119C                                                                                                                                                                 Well 114C*
                                                                                                                                                            Well 116C‡




                                                                                                                                                                    Well 115C ‡



                                                                                                                                                                  12
HWY 20/72




                                                                                                       7
                                                                                                                                        6
                                                      8          Well *
                                                          106C   122C


                                                                                                                                                Well 106C
                                                                                                                                                            Well 113C*

                                                                                                                                                                                                 Inactive
                                                                                                                                                                                                 Landfill




                                                                                                                                        MDA, Inc.
            Well
            123C                                                                                                  Daikin                                                               LEGEND
                                                                                                                                                                                             Control Area/Zone
                                                                                                                                                                                             Sludge Applied to This Zone
                                                                           10
                                                                          110C                                                                                                               Sludge Not Applied to This Area
                           5                                                                                                                                                                 Monitoring Wells
                                                                                                                                                                                             NPDES Permit Wells
                                                                                                                                                                                             Replaced Monitoring Wells
                                                                 11                                                                                                                          Railroad
                                                                                                                                                                                         ‡   Closed and Abandoned



                                                                                                                             State Docks Road
                                                                                                                                                                                                                          N

                                                                                                                                                                                                               0         250       500

                                                                                                                                                                                                                   Scale in Feet
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                                                                                                                                                                                  FIGURE 3-2 SLUDGE INCORPORATION AREA
                                                                                                                                                                                             3M DECATUR, AL
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                                Table 3-1 History of Sludge Incorporation Area
                                                3M Decatur, AL



                                Period of Application                                 Zone

                                          1978-1981                             1 through 4 and 6
                                          1982-1986                                 6 and 9
                                          1987-1988                               8, 10, and 11
                                                1989                             6, 8, 10 and 11
                                                1990                              8, 10, and 11
                                                1991                                   8
                                                1992                                8 and 13
                                       1993 and 1994                              8, 12, and 13
                                                1995                             5, 8, 9, and 12
                                                1996                                8 and 9
                                                1997                             5, 8, 9, and 12
                                                1998                                9 and 12



                       (1) Fields 1-4 are on the property which was sold to Daikin and MDA, Inc.
                       (2) Field 14 is control (no sludge application).




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         Table 3-2 Summaries of Quantities of Sludge Applied in the Sludge
                               Incorporation Area


                                                                       Metric Tons/Year         Total Metric
              Field Number                              Years of        (Average; Dry           Tons Applied
                 or Zone                               Operation           Weight)              (Dry Weight)

                           1                              1978-81            317.94                1,272
                           2                              1978-81            163.57                 654
                           3                              1978-81            371.60                1,486
                           4                              1980-81            360.10                 720
                           5                              1995-97            371.24                1,114
                           6                              1981-89            588.42                5,296
                           8                              1987-91            1,405.43              7,027
                         8A                                  1992            392.94                 393
                         8B                               1992-97            702.76                4,216
                           9                              1982-98            236.36                4,018
                         10                               1987-90            1,039.52              4,158
                      11 NE                               1987-90            661.16                2,645
               11 NE & SW                                    1991            1,185.04              1,185
                         12                               1993-98            278.52                1,671
                         13                               1993-94            3,647.12              7,294




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In accordance with the NPDES permit, incorporation of sludge was limited to fields that
were cropped during the next appropriate growing season. Currently, the former sludge
incorporation area is not cropped and has naturally revegetated. These areas have been
designated as a natural wildlife habitat area with restricted access. It must be noted that
since the inception of the program by 3M to incorporate sludges, ADEM applied specific
limits on the amounts and quality of the sludge incorporation on the land. Under the
permit as described in Section 3.2 below, samples were analyzed for inorganic fluorides;
the permit did not require analysis for organic fluorine or for specific fluorochemicals
such as PFOA. The concentration of inorganic fluoride in the sludge is unlikely to
correlate with PFOA concentrations in sludge. It should be noted that the analytical
method for inorganic fluoride determination does not measure PFOA concentrations.
While samples were analyzed for inorganic fluorides, no analyses were performed for
PFOA or other fluorocarbons. 3M ceased land application of sludges in 1998.

EPA has requested further information about crops grown in the sludge area. Based on
our discussions with 3M personnel familiar with sludge disposal operations, it appears
that cotton was the primary crop formerly grown in the sludge incorporation area and that
it was not tested for PFOA. Typical practice was to plant winter wheat after harvesting
the cotton crop. Winter wheat was subsequently harvested with the wheat seed retained
for future plantings and the wheat straw left in place or tilled back into the soil. To a
lesser extent, soybeans and perennial rye were also grown in the former sludge
incorporation area. Soybeans and rye hay were harvested for use as animal feed. Upon
cessation of land application of sludges, agricultural usage was also discontinued in the
former sludge incorporation area.


3.2           NPDES PERMIT MONITORING REQUIREMENTS

The 3M Decatur Facility NPDES Permit No. AL0000205 contained specific monitoring
requirements for the former sludge incorporation area in Part IV, Section B of the permit.
The facility’s NPDES permit stipulated that only sludge from the wastewater treatment
plant should be land applied.



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The NPDES permit required that the sludge should be analyzed for parameters listed in
Table 3-3 and the results reported to ADEM on a quarterly basis. Total accumulation of
zinc, nickel, and cadmium had to be reported to ADEM on a quarterly basis for each field
(zone) on which land application had occurred for that quarter. Sludge application was
limited to fields (zones) that would be cropped during the next appropriate growing
season.

 Stormwater runoff from areas (fields) where land application activities were being
conducted was sampled, analyzed, and reported to ADEM on a quarterly basis for the
parameters listed in Table 3-4. Stormwater runoff sampling, analysis, and reporting had
to be conducted once per six months where land application has occurred in the past and
once per year where sludge had never been applied.

The permit also required that on a quarterly basis, groundwater in all monitor wells
located within the area (zone) of sludge incorporation, the upgradient well (113C), the
well within the control area (114C), and well 122C be sampled and analyzed for the
parameters listed in Table 3-3 and reported to ADEM. Even though 3M ceased land
application of sludges in 1998, 3M continued through 1999 to obtain water level
measurements and groundwater samples from the monitor wells in the former sludge
incorporation area. As an example, water levels were collected from residuum monitor
wells 110C through 124C in July 1998. Water table elevations ranged from
approximately 555 feet mean sea level (msl) to 603 feet msl, as shown on Table 3-5.
Based on the water levels, a water table elevation map for the former sludge
incorporation area was developed as shown on Figure 3-3.

As shown in Figure 3-3, the direction of groundwater flow beneath the sludge
incorporation areas is generally to the west-southwest. In the sludge incorporation fields
6, 7, 9 and 10, groundwater flow is to the west. In fields 5, 8 and 11, groundwater flow is
to the southwest toward Highway 20/72. In the areas north of field 6 and in the 3M plant
production areas, the direction of groundwater flow is to the north-northeast, toward the
Tennessee River. As shown in Table 3-5, depth to groundwater is highly variable (due to



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                                                                      Table 3-3
              Sludge and Groundwater NPDES Permit Monitoring Parameters


                                     Parameter                                 Groundwater         Sludge

            pH                                                                     X                 X
            Aluminum                                                               X                 X
            Calcium                                                                X                 X
            Chromium                                                               X                 X
            Copper                                                                 X                 X
            Iron                                                                   X                 X
            Magnesium                                                              X                 X
            Mercury                                                                X                 X
            Nickel                                                                 X                 X
            Potassium                                                              X                 X
            Sodium                                                                 X                 X
            Zinc                                                                   X                 X
            Sulfates                                                               X                 X
            Fluoride, inorganic                                                    X                 X
            Lead                                                                   X                 X
            Nitrates                                                               X
            Total Phosphorus/Phosphorus                                            X                 X
            Total Dissolved Solids                                                 X
            Specific Conductance/Conductivity                                      X                 X
            Ammonia as Nitrogen                                                                      X
            Chlorides                                                                                X
            Solids                                                                                   X
            Organic Nitrogen                                                                         X




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Table 3-4 Stormwater Runoff NPDES Permit Monitoring Parameters


                                                                      Parameter
                                          Flow
                                          pH
                                          Chemical Oxygen Demand
                                          Oil and Grease
                                          Fluoride, inorganic
                                          Total Recoverable Aluminum
                                          Total Recoverable Nickel
                                          Total Recoverable Zinc
                                          Total Kjeldahl Nitrogen
                                          Total Organic Carbon
                                          Total Suspended Solids
                                          Total Recoverable Chromium
                                          Chlorides




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                                                                       Table 3-5 Water Level Monitoring Report
                                                                                      July 1998
   Well No.                Time             Total Depth (ft)          TOC Elevation   Depth to Water (ft)    Groundwater Elevation                   Comments
    110C                   12:35                 37.36                   607.53              8.92                   598.61         In low area near tree line
    113C                   11:40                 70.53                   644.45             40.79                   603.66         On hill south of landfill
    114C                   11:15                 60.65                   603.96             27.44                   576.52         South of Goose Pond
   115C (1)                11:25                 54.98                   614.06              21.5                   592.56         In field southwest of landfill
   116C (1)                11:55                 55.56                   606.71              46.9                   559.81         In field southwest of landfill near railroad
    117C                   11:05                  70.7                   611.64             56.25                   555.39         Along access road in field
    118C                   14:35                  51.2                   588.77             33.42                   555.35         In corn field at SW corner of property
    119C                   14:15                 35.53                   589.86             34.53                   555.33         In corn field at SW corner of property
    120C                   14:55                 40.56                   588.68             31.92                   556.76         In corn field at SW corner of property
    121C                   15:20                 43.08                   606.57             42.77                    563.8         Near large pine tree at edge of corn field
    122C                   13:05                 68.25                   614.48             48.24                   566.24         At tree line in south center of property
    123C                   13:30                 35.25                   579.76             22.58                   557.18         In corn field at SE corner of property
    124C                   15:55                 39.28                   572.72               17                    555.72         Elevation is estimated due to damage

   Notes:
   All measurements are from top of casing (TOC)
   Elevations are feet mean sea level
   (1) Wells have been recently closed due to location of soil stockpiles




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                                                 212R

                                              ~2D~




                                                                                      cwac•




                                          •
                                       111C




                                                                                _),




   LEGEND
                    •   MONITOR WELL                                                                      FIGURE 3-3
                                                 0          375         750                      WATER TABLE ELEVATION
              ~555 POTENTIOMETRIC SURFACE
                                                                                N




                   INFEETMSL                            Scale in Feet
                                                                                                SLUDGE APPLICATION FIELDS
        .,..4
          ...- - GROUNDWATER FLOW                                                                      JULY 1, 1998
         "''Il(         DIRECTION                                                                    3M DECATUR, AL


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topography) and varies from approximately 9 ft bgs to greater than 50 ft bgs. It must be
noted that these findings, based on water level measurements taken in 1998, will be
verified by obtaining new water level data during Phase 2 of the PFOA investigation
program.

As noted earlier, the residuum is a low permeability unit primarily comprised of silty
sand, clay, and weathered limestone. Chert fragments increase with depth. The depth to
bedrock varies from approximately 35 to 70 feet (bgs) beneath the sludge application
areas. Monitor wells installed in the residuum unit typically yielded less than a one-half
gallon per minute. Many of the wells were bailed dry and often would take days or
months to fully recharge. Groundwater flow in the residuum is expected to be limited due
to the presence of low permeability clays with extremely low effective porosities.




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4. SITE CONCEPTUAL EXPOSURE MODEL

A preliminary site conceptual exposure model (SCEM) was developed to evaluate
potential human exposure to PFOA associated with previous and current activities at the
3M Decatur facility. This SCEM identifies the primary current and historical sources of
PFOA at the site, the potential release mechanisms from those sources, the potential
migration pathways of PFOA, and the primary potentially exposed human populations
and the routes by which these populations may be exposed to PFOA. The preliminary
SCEM incorporates information from past PFOA investigations, the results of the RFI
program conducted at the site, and preliminary demographic information. As additional
information is obtained on concentrations of PFOA in environmental media from Phase 2
sampling and on potential receptors from Phase 2 demographic data collection, the
SCEM will be revised accordingly.

Figure 4-1 is a schematic depiction of PFOA sources and potential transport pathways to
environmental media on and in the vicinity of the 3M Decatur facility. This figure and the
following narrative on potential release mechanisms and migration and exposure routes
focuses on various environmental compartments that may have been affected by releases
of PFOA from the facility. The Phase 2 sampling program described in Section 5 was
developed on the basis of 3M’s present understanding of potential migration and
exposure routes, the Data Needs expressed by EPA (EPA 2003a, EPA 2003b, and EPA
2003c) and the objectives of performing a screening level exposure assessment and
characterizing the presence of PFOA in environmental media, including biota on and
around the site, as a result of current and past manufacturing activities.

Current and Historical Sources and Release Mechanisms

The principal sources of PFOA associated with the facility include:

              •      Air emissions from manufacturing operations
              •      Sludge application fields and other affected areas
              •      Wastewater treatment plant


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                                                                                                                                                     LEG END

                                                                                                                                                                      Groundwater Elevation


                                                                                                                                                                      Groundwater Flow


                                                                                                                                                                      Soil


                                                                                                                                                                      Sludge in Corporation Layer


                                                                                                                                                                      Residuum


                                                                                                                                                                      Epikarst
                                                                                                  Air Emissions
                                                                                                                                                                      Tuscumbia Limestone
                                                                       Deposition                                      Deposition

               Deposition                                                                                                                                               Not to Scale



                                                 Dust Generation
                            rge
            Effluent Discha
                   an d
                           noff
Baker' s    Stormwater Ru                                            Groundwater
 Creek                                                              Monitoring Wells               Manufacturing
                                                                                       Affected
                                                                                        Soils        Facilities
                                                                                                                   Sto
                                                                                                                       r   m
                     Sludge Incorporation Area                                                                              wa




                                                                                                                             te
                                                                                                                               rR
                                                                                                                                 un
                                                                                                                                    o
                                                         Leaching                                                                   f




                                                                                                                                   f
                                                                                                                                                       Wheeler Reser voir
                                                                                                                                                        Tennessee River




                                                                                                                                                                  t
                                                                                                                                                          Sedimen




 04P-0783
                                                                                                                                                             FIGURE 4-1 POTENTIAL TRANSPORT
                                                                                                                                                                        PATHWAYS SCHEMATIC
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These primary and secondary sources, their associated transport routes and exposure
pathways, and their importance in the development of the Phase 2 sampling program are
discussed in the following subsections. It is recognized that soils, groundwater, and other
media containing PFOA can act as secondary sources and pathways for exposure on and
off-site.

Air Emissions

While not manufactured at the Decatur facility, PFOA used in the manufacturing process
is emitted from the process stack located in the Chemical Manufacturing Area of the
facility. In addition to air emissions of approximately 11 pounds per year from the 3M
Dyneon facility, the adjacent Daikin facility has air emissions of approximately 450
pounds per year. The PFOA emissions are subjected to atmospheric dispersion and
dilution in association with prevailing wind pattern. Depending on a variety of process
emission and meteorological factors, PFOA will be distributed in ambient air at varying
concentrations. Plume dispersion modeling of air emissions conducted at the 3M facility
predict the highest ambient air concentrations of PFOA near the process facility declining
exponentially with distance from the stack with some potential to migrate beyond the
facility boundaries. As a result, there exists the potential for human receptors to be
exposed through inhalation to some levels of PFOA both on-site and off-site. The
inhalation of PFOA resulting from air emissions from the Daikin facility and, to a lesser
extent, from the 3M Dyneon facility represents a complete exposure pathway to human
receptors both on- and off-site.

In addition to ambient air concentrations, the air emissions of PFOA may also deposit on
the surrounding soils, waterbodies and vegetative growth. Modeling of the deposition of
PFOA from the facility was not available for the development of this conceptual model.
Nevertheless based on the atmospheric dispersion modeling, it is anticipated that PFOA
would deposit at some level on soils and surface water both on and off-site.

Upon deposition of PFOA on soil, the chemical may be subject to a variety of physical
(e.g., leaching, erosion), chemical (e.g., photodegradation) and biological processes (e.g.,


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microbial degradation, biotic uptake). The resulting concentration in soil will be a
function of the PFOA concentration in air, the rate of deposition, the duration of the
facility emissions, as well as the natural processes described above. Human receptors
may be exposed to PFOA in soil through a number of direct and indirect routes of
exposure. Direct routes of exposure include incidental ingestion of soils, dermal contact
and absorption of PFOA, and inhalation of PFOA-laden dust. The direct exposure to
PFOA in soils represents a complete exposure pathway for both on-site and off-site
human receptors. Indirect routes of exposure to PFOA in soils may include the uptake of
PFOA in fruits and vegetables grown in soils containing PFOA as could be the case for
individuals with home gardens or commercial crop production. It is currently not known
to what extent PFOA accumulates in vegetation. Note that this pathway is not relevant to
on-site soils because there are no vegetable products grown on-site.

In addition, there is a potential for the leaching of PFOA deposited in soil to migrate to
groundwater or runoff into surrounding surface waters where potential human exposure
may occur. As exposures through these pathways are thought to be more significant in
association with the sludge application area, they will be discussed in the next subsection.

In summary, complete exposure pathways associated with potential human exposure to
air emissions from PFOA include:

                     •      Inhalation of PFOA in on-site ambient air by facility grounds maintenance
                            worker.

                     •      Inhalation of PFOA in off-site ambient air by offsite residents.

                     •      Incidental ingestion, dermal contact and dust inhalation of PFOA in on-
                            site soils by facility grounds maintenance worker.

                     •      Incidental ingestion, dermal contact and dust inhalation of PFOA in off-
                            site soils by offsite residents.

                     •      Ingestion of fruit and vegetables grown in off-site soils containing PFOA.



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Sludge Application and Other Affected Areas

From 1978 to 1998, 3M incorporated sludge from the on-site wastewater treatment plant
via subsurface injection in an on-site area designated as the Sludge Incorporation Area.
Due to the injection of PFOA in the soils of sludge application fields, the greatest
concentrations of PFOA in soils are expected to occur in this area. Although the vertical
distribution of PFOA is not known, it is expected that the discing of the fields during
planting, as well as other physical disturbances has resulted in detectable levels of PFOA
in the surface soil horizon of these fields. As a result, site grounds maintenance workers
may be exposed to PFOA in soil through incidental ingestion of soils, dermal contact
with soil, and inhalation of PFOA-laden dust.

In addition, based on existing data in the Chemical Plant area, PFOA has the potential to
leach from the sludge incorporation area and other areas with affected soils to the
underlying groundwater. There are no current uses of groundwater on-site and as such,
human exposure to groundwater on-site is not a complete exposure pathway. However,
based on hydrogeological information, the groundwater beneath the sludge application
fields has a flow gradient off-site. The extent to which PFOA has the potential to migrate
offsite currently is not known. Moreover, none of the properties surrounding the site have
been shown to use groundwater as a potable water supply based on a well inventory
performed as part of the RFI characterization in the 1990’s. Nevertheless, because there
is a potential for off-site migration of PFOA in groundwater and it has not been recently
validated that off-site groundwater is not being used for drinking water or irrigation, it is
premature to eliminate this pathway as a potential human exposure pathway.

In addition to potential migration to groundwater, the former sludge incorporation area
soils may serve as a source of PFOA to other migration pathways on site as well as
offsite. PFOA in soils may migrate to surface waters by means of erosional sediment
transport during storm events or snowmelt and can be carried by resuspension of soil in
air and redeposition on or off-site. As a result, human exposure mediated through surface
water, groundwater, or other pathways may be affected by previous application of
wastewater sludge in these fields. Human exposure pathways associated with the surface

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water medium will be addressed in the discussion of the discharge from the wastewater
treatment plant as the wastewater discharge may be a source of contributions of PFOA to
the Tennessee River.

The potential exists for windblown soils or volatilized PFOA to migrate to other locations
on-site or to adjacent properties off-site. PFOA in these dusts would be subsequently
deposited on and incorporated in the soils in these areas. As indicated for the deposition
for air emissions, offsite human exposure to PFOA would potentially occur through the
incidental ingestion of soils, dermal contact and absorption, inhalation of dust and
ingestion of fruits and vegetables grown in these soils. PFOA which volatilizes from
former sludge incorporation area fields would disperse and distribute in association with
prevailing wind patterns where inhalation exposure may occur on- or off-site.

In summary, potentially complete exposure pathways associated with potential human
exposure to PFOA in the sludge application fields include:

              •      Incidental ingestion, dermal contact and dust inhalation of PFOA in on-site
                     soils by a facility grounds maintenance worker.

              •      Inhalation of volatilized PFOA from on-site soils by a facility grounds
                     maintenance worker.

              •      Ingestion of and contact with groundwater by offsite residents or indirectly
                     through the consumption of livestock or produce irrigated with groundwater
                     containing PFOA.

              •      Incidental ingestion, dermal contact and dust inhalation of PFOA in off-site
                     soils by offsite residents due to windblown transport of PFOA-bearing soil.

              •      Ingestion of vegetables grown in soils containing PFOA by off-site residents
                     due to windblown transport of PFOA-bearing soil.

              •      Inhalation of volatilized PFOA from PFOA-bearing soils by offsite residents
                     and other potentially exposed individuals.


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Wastewater Discharge

Available data indicate that treated process wastewater containing PFOA was discharged
from the facility’s NPDES-permitted WWTP outfall to Baker’s Creek near its confluence
with the Tennessee River. PFOA released to Baker’s Creek and the Tennessee River may
partition in any of several surface water compartments including the water column and
associated dissolved and particulate fractions, sediment, and biological tissue.                        It is
expected that PFOA levels in surface water and sediment, and consequently in fish tissue
will be highest in the vicinity of the wastewater discharge or other significant sources
(e.g., groundwater discharge). Away from the discharge points, the distribution and
concentrations of PFOA in the river will be a function of the hydrography of the river, as
well as dilution potential. Existing data indicate that PFOA in surface water and sediment
of the Tennessee River extends downstream of the 3M discharge. Data from previous fish
sampling events in Bakers Creek and the Tennessee River demonstrate the accumulation
of PFOA in fish tissue. The mechanism by which this occurs is not fully understood at
this time. It is not clear the extent to which the PFOA levels in fish result from direct
uptake of PFOA from the water across the gill membranes or from trophic transfer and
dietary exposure. As stated above with respect to air emissions, current WWTP
discharges containing small concentrations of PFOA are expected to be significantly
lower than historical levels.

ADEM has identified designated uses to be protected for these surface waters to include
primary contact recreation and recreational fishing. As a result, the recreational angler
who catches and consumes fish from Bakers Creek and the Tennessee River is potentially
exposed to PFOA. Moreover, the recreational boater, water skier or similar may be
exposed to PFOA in surface water and sediment through incidental ingestion and dermal
contact.

In summary, potentially complete exposure pathways associated with human exposure to
PFOA in the surface water include:




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              •      Incidental ingestion of and dermal contact with PFOA in surface waters by the
                     recreational boater/angler.

              •      Incidental ingestion of and dermal contact with PFOA in sediments by the
                     recreational boater/angler.

              •      Ingestion of fish containing PFOA by recreational anglers.

              •      Ingestion of drinking water derived from the river downstream.


Discussion of PFOA and Environmental Media

The primary sources and the mechanisms by which PFOA is released from the source
areas and distributed within the habitats in and around the Decatur facility has been
described in the preceding narrative on the SCEM. Although under the MOU, the PFOA
Site-Related Environmental Assessment Program entails performing a screening level
assessment of human exposure and not an ecological exposure assessment, these sources
and mechanisms would apply in general to both human and ecological receptors.

Under the MOU 3M will perform a characterization of the presence of PFOA in
environmental media, including biota. Through this Phase 2 Work Plan, 3M will gather
data and other information on the presence of PFOA in selected biota in and around the
Decatur site. 3M intends to utilize these data and information to develop a
characterization of PFOA concentrations in the specific species of biota sampled and,
based on this characterization, to develop a Phase 3 Work Plan for collecting additional
biota monitoring.

Both the characterization based on the data and information from the Phase 2 Work Plan
as well as the Phase 3 Work Plan for additional biota monitoring will need to take into
account the pathways and classes of ecological receptors potentially exposed to PFOA in
and around the Decatur facility. These pathways and classes are discussed below in the
form of a general overview of habitat, migration pathways, and potential exposure to
selected classes of receptors. In this context, it should be emphasized that not all of the



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exposure pathways identified in this overview discussion necessarily have ecological
significance at the Decatur, AL site.

Potential Pathways

PFOA exposure to fish and other aquatic biota can potentially occur along surface water
pathways through ingestion, direct contact, and absorption. Other mammals and birds
may be exposed to PFOA in surface waters through the consumption of water from
streams, creeks and rivers. Sediments containing PFOA can potentially lead to exposure
to PFOA through direct contact by invertebrate and vertebrate receptors with sediments
as well as uptake of PFOA in sediments by plants. PFOA in soils can potentially lead to
direct contact with PFOA by invertebrate and vertebrate receptors as well as uptake of
PFOA in soils by plants. Trophic transfer in these three environmental media (surface
water, sediment and soil) could provide a mechanism of indirect exposure to higher order
species as described below. Air deposited PFOA on and off-site can also be a source of
PFOA in media in both terrestrial and aquatic environments; soils, surface waters and
sediments.

Terrestrial Receptors

Potential terrestrial receptors include vegetation, soil fauna, and vertebrates such as birds,
and mammals. Plants provide a route of indirect exposure to herbivorous fauna through
uptake, translocation, and sequestration of PFOA in plants. Soil microbes and soil
invertebrates are also components of the ecology of terrestrial habitats and may be
exposed because of their direct contact with soil. Soil invertebrates are also potential prey
items for a variety of ground-foraging birds and mammals. A variety of birds utilize the
terrestrial habitats foraging on the vegetation, soil invertebrates, small mammals and
other birds that inhabit these areas. In addition to exposure through the incidental
ingestion of soils, birds are potentially exposed through the uptake and assimilation of
vegetation (e.g., seeds) and prey that they consume. Some birds occupy a terminal
position in the food chain of the terrestrial system and are thus susceptible to exposure
through the trophic transfer. Mammals constitute a smaller component of the terrestrial


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fauna and are permanent inhabitants of the terrestrial habitats feeding on grasses and
invertebrates. Predatory mammals that forage these areas may be exposed through
incidental ingestion of soils, as well as through the vegetation and prey that they
consume.

Aquatic Receptors

Potential aquatic receptors such as aquatic vegetation, benthic organisms, fish, birds, and
mammals are present in the vicinity of the facility. Plants may also provide a route of
indirect exposure to herbivorous invertebrates and fish through uptake, translocation and
sequestration of the PFOA in plants.

The Tennessee River, Bakers Creek, and, potentially, the Avenue A drainage support
aquatic insects and other invertebrates that use the sediments for the depositing of eggs
and the development of larval forms prior to hatching. Benthic invertebrates are also
components of the ecology of aquatic habitats and are potential prey for a variety of
invertivorous birds and mammals. The surface waters surrounding the Decatur facility
support a variety of macroinvertebrate species that serve as a forage base for predatory
species such as fish, mammals, and birds. Fish are a nutrient and forage source in these
aquatic systems.

The surface waters and their adjacent riparia also serve as habitat for a variety of avian
species throughout the year. Much of the border of the Tennessee River is woodlands or
ruderal fields that provide edge habitat for aerial-foraging birds that feed on newly
hatched species of invertebrates metamorphosed from the shallow river bottom. These
riparian areas also provide perching habitat for stream foraging species of birds and are
sufficiently shallow for wading predatory birds. In addition to providing potential
exposure through sediments, the surface waters provide a source of water for birds and
mammals using the surface waters as foraging habitat.




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Phase 2 Data Collection

Potentially complete and significant pathways present in the SCEM were selected by 3M
for additional evaluation and, where indicated, data collection during the Phase 2
program. The SCEM identifies various environmental media including air, soil,
groundwater, surface water, sediments, and biota that may either result in potential
exposure to human receptors or constitute a transport pathway to other media to which
humans may be exposed. The Phase 2 sampling program has been designed to develop
quantitative data for those media representing potentially complete exposure pathways
for use in a screening level exposure assessment. In addition, the Phase 2 sampling
program includes the collection of data on PFOA concentrations in various media and
locations to initially characterize fate and transport issues. While data on PFOA
concentrations in some of these media may not be representative of a complete exposure
pathway, the information is needed to develop an understanding of the current and
potential future distribution of PFOA at and in the vicinity of the facility.

As stated above, the monitoring data collected from the Phase 2 Work Plan as described
in the next section will provide information on the presence or absence of PFOA in
selected biota in and around the Decatur site. These data will be characterized for the
specific biota sampled taking into account the general overview discussion above on
pathways and classes of ecological receptors and will be used to develop a Phase 3 Work
Plan for additional biota monitoring.

Additional discussion of the specific aspects of the Phase 2 sampling program and the
rationale for the selection of types, number, and locations of samples is contained in the
following section.




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5. PHASE 2 PFOA SAMPLING PROGRAM

The following subsections describe the sampling and ancillary data collection that 3M
will perform during Phase 2 of the PFOA environmental monitoring program at the
Decatur site. All sampling activities will be performed in accordance with the safety
procedures contained in the site-specific Health and Safety Plan (HASP) provided in
Appendix A. The specific methods, procedures, and protocols governing sampling and
analyses, quality assurance/quality control (QA/QC) procedures, and other pertinent
details are more completely presented in the Quality Assurance Project Plan (QAPP). The
analytical methods for determining PFOA concentrations in all media are provided in
Appendix B and Standard Operating Procedures (SOPs) for sampling methods for all
media are provided in Appendix C.

Table 5-1 shows the summary of environmental media, general location, and number of
primary samples that will be collected during the Phase 2 investigation. It should be
noted that due to the presence of the Daikin facility adjacent to the 3M facility, PFOA
concentrations in a variety of media such as soil, vegetation, sediment, surface water, and
biota may reflect contributions from Daikin in addition to past and present sources
associated with 3M manufacturing activities.

The experimental design of the proposed Phase 2 sampling effort has been developed by
3M considering the expected use of the data for understanding the potential exposure to
PFOA in a variety of environmental media and the transport (migration) pathways by
which PFOA may have reached these media. The technical approach for the overall
PFOA monitoring program has also been informed by the Data Needs expressed by EPA
in various PFOA planning documents (EPA 2003a, EPA 2003b, and EPA 2003c). To
these ends, the types, number, and locations of samples to be collected have been selected
by 3M to obtain data that will provide estimates of PFOA concentrations and allow for
comparisons between locations.




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                Table 5-1 Summary of Phase 1 and 2 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring

                                                                         No. of Samples/Locations/
                 Activity                                                 Descriptions of Activity                                           Rationale for Collection
  1. Soil Sampling                               a. 5 Samples at varying depths in the vicinity of the 8 LOI groundwater        1) To determine the levels of PFOA in the soil
                                                    monitoring wells. Total of 40 samples                                          associated with previous activity on-site.

                                                 b. 18 soil samples collected from soil borings at various depths from each     2) to assess potential human exposure through
                                                    of 3 sludge incorporation fields and one control field (72samples). An         incidental ingestion of soil, inhalation of dust
                                                    additional 40 samples will be collected among the sludge incorporation         and dermal contact.
                                                    and control fields (10 from each field) from the surface (0-3” depth)
                                                    and shallow depths (3”-6” depth). Composite soil samples of 5 ft core       3) to evaluate the soil to groundwater transport
                                                    intervals from borings in each of the 3 sludge incorporation fields and        processes.
                                                    the control field to bedrock. Total of approximately 140 samples.

                                                 c. 6 samples from 6-inch intervals and approximately 7 composite
                                                    samples from 5-ft core intervals at a control location in the northwest
                                                    corner of the facility.

                                                  d. Off-site soils. Number and depth of soil samples will be based on
                                                     analyses of initial Phase 2 results from the former sludge incorporation
                                                     area investigation.

  2. Groundwater                                 a. Continue sampling of 8 LOI wells on a biennial frequency                    1) To determine the levels of PFOA in
     Sampling/Evaluation                                                                                                           groundwater associated with current or past
                                                 b. Install 8 sets of 3 nested wells in the above 3 sludge incorporation           manufacturing activities.
                                                    fields and one control field in the former sludge incorporation area to
                                                    monitor residuum, epikarst and shallow bedrock zones. Total of 24           2) to assess potential human exposure to PFOA
                                                    groundwater samples (8 wells x 3 samples per well nest).                       through consumption of groundwater or
                                                                                                                                   other groundwater uses (e.g. irrigation).
                                                 c. Collect water level data and perform hydrogeological evaluation of the
                                                    former sludge incorporation area. Based on this evaluation and soils        3) to evaluate the groundwater migration
                                                    data, decide on an approach for collecting off-site soils and                   potential from onsite to offsite uses or
                                                    groundwater data (as part of Phase 2) from areas south and west of the




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                                 Table 5-1 Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring
                                                                 (Continued)

                                                                           No. of Samples/Locations/
                 Activity                                                   Descriptions of Activity                                          Rationale for Collection
                                                       site in concert with EPA.                                                     discharges to surface water.

                                                 d. Install three sets of 3 nested wells off-site. Locations will be based on
                                                    analyses of initial Phase 2 results from the former sludge incorporation
                                                    area investigation. Total of 9 samples.

  3. Surface Water                               a. Expand number of sampling locations in the Tennessee River, Bakers          1) to determine PFOA levels in the Tennessee
     Sampling                                       Creek, and the on-site Avenue “A” drainage to 8 locations.                     River and in on-site surface waters.

                                                 b. Add 12-node grid for surface water sampling (water column) at               2)     to compare PFOA levels with the results
                                                    groundwater/surface water interface adjacent to facility shoreline. Total         from previous surface water sampling.
                                                    of 20 surface water samples.
                                                                                                                                3) to evaluate the potential sources of PFOA to
                                                 c. Install peepers (dialysis-type sampling devices) into sediment at 12-          surface waters.
                                                    node grid for pore water sampling at groundwater/surface water
                                                    interface adjacent to facility shoreline. Total of 12 pore water samples.   4) to assess potential human exposure to PFOA
                                                                                                                                   through direct contact with and incidental
                                                                                                                                   ingestion of surface water.

                                                                                                                                5) to provide information on factors associated
                                                                                                                                   with uptake of PFOA by aquatic biota and
                                                                                                                                   subsequent consumption by humans.

  4. Sediment Sampling                           a.     Expand number of sampling locations in the Tennessee River, Bakers      1) to determine PFOA levels in the Tennessee
                                                        Creek and A Avenue drainage to 8 locations.                                River and in on-site sediments.

                                                 b. Add 12-node grid for sampling at groundwater/surface water interface        2)     to compare PFOA levels with the results
                                                    adjacent to facility shoreline. Total of 36 samples.                              from previous sediment sampling.




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                                 Table 5-1 Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring
                                                                 (Continued)

                                                                           No. of Samples/Locations/
                 Activity                                                   Descriptions of Activity                                        Rationale for Collection
                                                                                                                                3) to evaluate the potential sources of PFOA to
                                                                                                                                   sediments.

                                                                                                                                4) to assess potential human exposure to PFOA
                                                                                                                                   through direct contact with and incidental
                                                                                                                                   ingestion of sediments.

                                                                                                                                5) to provide information on factors associated
                                                                                                                                     with uptake of PFOA by aquatic biota and
                                                                                                                                     subsequent consumption by humans.

  5. Terrestrial Biota                           a.     Conduct a vegetation survey in the former sludge incorporation area     1) to determine the levels of PFOA in 3 species
     Sampling                                           in the former sludge incorporation area and the northwestern control       of vegetation on the sludge application area.
                                                        location. Obtain vegetation samples in the vicinity of soil sample
                                                        locations. Total of 24 vegetation samples.                              2) to determine the levels of PFOA in one
                                                                                                                                   small mammal species in the sludge
                                                 b. Conduct a small mammal survey in the former sludge incorporation               application area.
                                                    area. Obtain small mammal samples in the vicinity of soil sample
                                                    locations in the former sludge incorporation area and the northwestern
                                                    control location. Total of 8 small mammal specimens with analyses of
                                                    serum and liver samples.

  6. Fish/Invertebrate                           a.     Expand fish sampling in the Tennessee River to 6 locations for two      1) to determine PFOA levels in fish and
     Sampling                                           species. Collect whole fish and fillet samples. Total of 120 samples.      clams/mussels in the Tennessee River and
                                                                                                                                   Bakers Creek.
                                                 b. Sample lower order species (clams and mussels) at 6 locations in the
                                                    Tennessee River. Total of 6 composite samples.                              2) to compare PFOA levels with the results
                                                                                                                                   from previous fish and clam/mussel
                                                                                                                                   sampling.




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                                 Table 5-1 Summary of 3M Decatur Phase 1 and 2 PFOA Environmental Monitoring
                                                                 (Continued)

                                                                            No. of Samples/Locations/
                 Activity                                                    Descriptions of Activity                                    Rationale for Collection
                                                                                                                              3) to assess potential human exposure to PFOA
                                                                                                                                 through ingestion of fish.

                                                                                                                              4) to provide information on factors associated
                                                                                                                                 with uptake of PFOA by aquatic biota and
                                                                                                                                 subsequent consumption by humans.

  7. Additional Assessment                       a.     Perform an off-site well survey.                                      1) to confirm early 1990’s findings that Decatur
     of Possible Routes of                                                                                                       municipal water system, not wells, is the
     PFOA Exposure                               b. Collect samples from Decatur municipal water supply on a bimonthly           potable water source for the site and its
                                                    basis. Total of 6 samples.                                                   environs.

                                                 c.     Collect information on off-site disposal of facility wastes.          2) to determine PFOA levels in the Decatur
                                                                                                                                 Municipal Water supply
                                                 d. Collect samples of Morgan County landfill leachate and Decatur
                                                    WWTP effluent and sludge. Total of 3 samples.                             3) to assess potential human exposure to PFOA
                                                                                                                                 through ingestion of public water.

                                                                                                                              4) to assess potential transport and exposure
                                                                                                                                 pathways associated with off-site waste
                                                                                                                                 disposal. Based on review of data additional
                                                                                                                                 sampling around disposal facilities could be
                                                                                                                                 performed in Phase 3.




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The following subsections describe the Phase 2 sampling by environmental medium and
location in detail and provide the rationale for the selection of the sampling locations and
the intended use of the data that will be collected.


5.1           SOIL SAMPLING PROGRAM


5.1.1 Overview

Based upon a review of the historical sludge incorporation and hydrogeological data
presented in the previous subsections, soil and groundwater sampling for PFOA will be
conducted in the following fields of the former sludge incorporation area:

               •      Field 6 – This field received sludge in the early part of the sludge
                      incorporation program (1981-1989). Data from samples obtained from this
                      field may provide an assessment of the possible long term movement of
                      PFOA within the soil column. This information will be used to assess the
                      degree to which the leaching of PFOA from the surface soil horizon
                      contributes to potential groundwater contamination of PFOA. In addition,
                      these surface soil data will be used in conjunction with other surface soil data
                      to assess potential human exposure to PFOA in soil.

               •      Field 8 – This field received the greatest quantity of sludge during the middle
                      (1987-1991) part of the sludge incorporation program and data may provide
                      an assessment of the movement of PFOA in the soil column. In addition, a
                      small portion of this field is located adjacent to Highway 20/72 and
                      groundwater data from this field may inform the potential for off-site
                      movement of PFOA to the south. In addition, these data will also be used as
                      previously described for Field 6.

               •      Field 9 – This field received the maximum amount of sludge during the latter
                      (1997-1998) part of the sludge incorporation program and data from this field
                      may be used to ascertain possible short term movement of PFOA in the soil


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                      column and the potential for off-site movement of groundwater towards
                      Finley Island Road to the west. This field (Number 9) was chosen instead of
                      Field 13 because Field 13 is currently covered over with large stockpiles of
                      soil that were excavated from a different area of the plant.

               •      Field 14 (Control Field)– This field is not believed to have received any
                      sludge and samples obtained from this field would represent “control”
                      conditions i.e. an assessment of a field where no sludge had been applied.
                      This field is also separated from the other incorporation fields by a diversion
                      ditch so storm water run-off from other adjacent fields should not have
                      affected Field 14. Surficial soil sampling from this field should also provide
                      information on the possible effect of airborne distribution and deposition of
                      PFOA from historic facility emissions and windblown dust from adjacent
                      fields.

In addition to the sampling to be performed in the former sludge incorporation area, soil
borings will be performed in the vicinity of the 8 LOI wells that are currently being
monitored for PFOA on a semi-annual basis. These samples are intended to assess
whether soils in the vicinity of the LOI wells are sources of the PFOA detected in
groundwater. Given that the LOI wells are generally located downwind along the
direction of the prevailing winds at the site, surface soil samples from these locations and
the control locations discussed below may also provide useful information on the extent
of deposition of PFOA from airborne sources.

The following discussion describes the soil sampling program proposed for the study of
the former sludge incorporation area and the soils in the vicinity of the 8 LOI wells. In
addition to the on-site sampling described in the following subsections, off-site soil
sampling will be conducted after review of the initial Phase 2 soil results and is further
described in Subsection 5.2.2.




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5.1.2 Soil Sampling in the Former Sludge Incorporation Area

Each of the four fields identified in the previous subsection will be divided into
quadrants. Based on field reconnaissance, two of the quadrants from each field will be
selected for borings. The field reconnaissance will consider drainage/run-off patterns,
topography, presence of vegetative cover, and type of vegetative cover in selecting
locations. The use of vegetative factors in selecting soil sampling locations is discussed
further in Subsection 5.3. In each of the fields, the borings for the nested groundwater
monitoring wells will be installed in two locations. Except for the control field, one of
these locations will be in an area where sludge was applied in the field and the other in an
area where no sludge was applied. Tentative locations for the borings will be selected in
areas where it is believed that sludge was incorporated. To identify these locations, soils
will be field screened using a hand auger or shallow test pit for visual indicators of sludge
incorporation. As the borings are advanced, any visual signs of sludge will be noted on
the descriptive logs and those horizons will be sampled accordingly.

Soil samples in each of the above fields will be collected from the borings that will be
installed to construct the nested groundwater monitoring wells (see Subsection 5.2 for
additional details). Utilizing these borings, soil samples will be obtained from the surface
to the water table at varying depths. While it is not anticipated that this data will
characterize mass transfer rates, data from these borings will provide information on the
vertical and horizontal distribution of PFOA within the soil column in the former sludge
incorporation area. During the course of the installation of the boring, the hole will be
logged by a qualified geologist. Soil samples will be collected in accordance with the soil
sampling SOP contained in Appendix C. Soil samples will be analyzed by the analytical
method contained in Appendix B.

Soil samples from the borings in each quadrant located in an area where sludge was
applied will be obtained based on the following sequence:

     •      Surficial soil: Collected from 0-3” below ground surface (bgs) interval. This zone
            will be more reflective of the effects of air deposition, shallow root zone, erosional
            effects, and small mammal foraging exposure.

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     •      Sludge incorporation zone: Collected based on visual assessment of soil core;
            minimal depth of 6-12” bgs may be adjusted on the basis of field observations of a
            sludge layer in order to sample the sludge affected zone. This zone will be more
            reflective of sludge incorporation and the deeper root zone.

     •      Below incorporation zone: one composite of 1 to 2 ft bgs (12-inch interval) and
            one composite at 2 to 2.5 ft bgs. This zone will reflect PFOA concentrations just
            below the sludge incorporation depth and the initial effect of vertical movement of
            PFOA.

     •      Subsurface zone: 5 to 5.5 ft bgs. This zone will reflect the vertical trend of PFOA
            into the intermediate soil depths.

     •      Deep zone: Bottom of unsaturated zone; 6-inch interval. This zone will reflect the
            vertical trend of PFOA movement into the deeper soil strata prior to entering the
            groundwater table.

In the second borehole installed in the quadrant where no evidence of former sludge
application is noted, a total of 3 soil samples will be collected in a more limited sampling
sequence. This can be compared to the results from the above boring description to assess
the affects of sludge incorporation on vertical distribution trends and a possible horizontal
distribution.

     •      Surficial soil: Collected from 0-3” bgs.
     •      Sludge incorporation zone: 6-12” bgs.
     •      Subsurface zone: 5 to 5.5 ft bgs.

In the event that perched water is encountered during boring, an additional 6-inch interval
sample(s) will be collected from the perched zone and the presence and extent of the
perched zone will be logged in the field logbook or soil boring and/or well installation
forms. In the control field (Field 14), one of the borings will follow the 6 sample
sequence and the other boring will follow the 3 sample sequence.

In each of the 4 fields, the above described soil samples will be collected from 2 borings
with 6 samples each and 2 borings with 3 samples each for a total of 72 samples. In
addition to the samples collected from discrete intervals described above, samples will be
collected from various depths from 5 feet whole core intervals. These depth samples will



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and from one boring in the control field (Field 14). The 5-feet core intervals will be
examined by the field geologist. If this examination shows that the soil type is uniform
across the entire core interval, then a composite sample will be collected for analyses.
However, if this examination shows that there are different soil types within the core
interval, then 2 discrete samples will be collected from the core interval. In this manner,
samples will be collected from the surface to the groundwater table (i.e. 0 to 5 feet, 5 to
10 feet, 10 to 15 feet, etc.). It is anticipated that this “full core” approach will allow the
collection of samples from any intervals with high PFOA concentrations (hot spots) that
may not be sampled by the discrete 6-inch interval sampling depths described above.

An additional ten (10) soil samples will be collected from each of the four fields and
analyzed for PFOA. These additional 10 soil samples will be obtained from the surficial
(0-3”depth) and the shallow (3-6” depth) horizons to more completely characterize
spatial trends and allow for the assessment of the potential for PFOA uptake by
vegetation and exposure to small mammals inhabiting the fields. In this manner, the
vertical and lateral distribution of PFOA in the former sludge incorporation area soils can
be established. A total of approximately 140 soil samples will be collected from the
former sludge incorporation area. Soil samples will be analyzed for PFOA, total organic
carbon (TOC), and sieve and grain size.


5.1.3 Soil Sampling in the Vicinity of the LOI Wells

Soil borings will be performed in the vicinity of the eight (8) groundwater monitoring
wells currently being sampled and analyzed for PFOA under the Phase I (LOI) program.
These eight wells are 220L, 220R, 226L, 226R, 310R, 317L, 320L, and 327R (see Figure
5-1). Soil samples will be collected at the following five (5) depths near each of the eight
LOI wells to yield a total of 40 samples from the following discrete intervals:

     •      0-3” bgs.
     •      6-12” bgs.
     •      2 – 2.5 ft bgs.
     •      5 – 5.5 ft bgs.
     •      Bottom of unsaturated zone; 6-inch interval.

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                                                                                                                            %[
                                                                                                                       310R [ % 317L
                                                                                                                                                 % 308R
                                                                                                                                                 [
                       FILM
                                                                                                                                                                                      3M WASTEWATER
                                                                                                                                                                                        TREATMENT
                                                                                                                                                                                                                       LEGEND
                     PLANT
                                                                                  320L                                                                             327R
                                                                                                                                                                                          PLANT
                                                                                      %
                                                                                      [                            315R                % 306R
                                                                                                                                       [                                                                        [
                                                                                                                                                                                                                % Monitor well
                                                                                                                            %
                                                                                                                            [                                                                                     Sampled 3/28/01
                                                                                                                                                                      %
                                                                                                                                                                      [
                                                                                                                                                                                                                [
                                                                                                                                                                                                                % Monitor well
                                                                                                                                                                                                                  Sampled 7/16/03

                                                                                                                CHEMICAL PLANT
                                                                                                                                                                                                                [
                                                                                                                                                                                                                % Monitor well
                                                                                                                                                                                                                  Sampled 3/28/01 and 7/16/03




                                                                                                                                                           216R
                                                                                                                                                            %
                                                                                                                                                            [
AVENUE                                                                                                                                                         MAIN
                                                                                                                                                             ENTRANCE


                                                                                               210R
                                                       213R                                        %
                                                                                                   [                                                                    226R
                                                     %
                                                     [                                                                                          220L                  %%
                                                                                                                                                                       [
          MARSHY
                                                                                                                                                  % 220R
                                                                                                                                                  [               226L[
           AREA                                             MUDFLAT
                                                             AREA




                                                                                                                                                                                                               200     0     200     400 Feet
                                                                INACTIVE
                                                                LANDFILL
                                                                                                                                                                                               BAKER'S CREEK
                                                                                                                                                                                                                 3M Decatur Site
                                                                                                                                                                                                                 Morgan County, Alabama
                                                                                                                                                                                                                 RCRA Facility Investigation
                                                                                            ACCESS ROAD
                                                                                                                                                                                                                      Figure 5-1


                                                                               217R                                                                                                                              LOI Wells
                                                                                    %
                                                                                    [
 | C:\Decatur\GIS\3mdec\SiteLayout\aprs\SamplingLocations.apr | Fig 1 | c:\decatur\gis\3mdec\plts\loiwells.eps | 4:10 PM, 3/9/2004 |
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Soil samples will be analyzed for PFOA, TOC, and sieve and grain size. PFOA data from
these soil samples will help in the evaluation of the likelihood that these soils are acting
as sources for the PFOA detected in the groundwater. In addition, the soil samples
represent locations that are in the northern part of the site and in the prevailing wind
direction. Data from these soil samples will help in ascertaining PFOA levels in the site
soils, attributable to air emissions as well as other potential contributing sources.
However, it must be noted that the 8 LOI wells are located in the manufacturing area of
the facility. Consequently, surface soil samples may not be available in certain locations
due to the presence of impervious surfaces such as asphalt or concrete in the immediate
vicinity.


5.1.4 Soil Sampling at the Northwestern Corner Control Location

In addition to the sludge incorporation area control field (Field 14) sampling described in
Subsection 5.1.2.1, a location will be selected in the northwestern corner of the facility to
serve as an additional control location for comparisons with soil PFOA concentration
data from samples from both the former sludge incorporation area field soils and the soils
in the vicinity of the LOI wells. Samples will be collected from one boring at the 0 to 3”
bgs, 6-12” bgs, 1 to 2 ft bgs, 2 to 2.5 ft bgs, and 5 to 5.5 ft bgs intervals and from a 6”
interval at the bottom of the unsaturated zone. An adjacent soil boring will be installed
and composite samples will be collected over 5 ft core intervals from the ground surface
to the water table. A total of approximately 13 samples will be collected from this
location (assuming a depth to groundwater of 35 ft).


5.2           GROUNDWATER SAMPLING PROGRAM


5.2.1 Groundwater Sampling in the Former Sludge Incorporation Area

In the former sludge incorporation area, as noted in the earlier subsection, a set of 3
nested groundwater monitoring wells will be installed at two (2) locations in each of the
three (3) former sludge incorporation fields and one (1) control field. Information on the
construction of new monitoring wells is contained in the monitoring well installation SOP


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(Appendix C). In each set of 3 nested wells, there will be one well completed at the base
of the residuum unit to monitor the residuum groundwater, one well completed in the
epikarst (weathered bedrock between the residuum and limestone bedrock units) and one
well in the shallow limestone bedrock. In this manner, the groundwater in each of the 3
groundwater zones underlying the former sludge incorporation area will be sampled and
analyzed for PFOA. A total of 24 groundwater samples will be analyzed for PFOA. All
groundwater samples will be collected in accordance with the groundwater sampling SOP
contained in the QAPP. Groundwater samples will be analyzed in accordance with the
analytical method contained in Appendix B. In addition to PFOA, groundwater wells will
also be monitored for temperature, pH, conductivity, total suspended solids (TSS), and
total dissolved solids (TDS).

After the nested wells are installed, the well elevations and locations will be surveyed for
horizontal and vertical control. Water level measurements will be obtained from all the
wells to establish groundwater contours and flow directions. This information will be a
key to the performance of a hydrogeological evaluation of the former sludge
incorporation area. The results of the hydrogeological evaluation will allow for the
assessment of groundwater movement off-site and its potential for impacting off-site
locations, especially to the south and west of this area. The soil and groundwater
investigations in the former sludge incorporation area will be performed during the initial
part of the Phase 2 of the PFOA environmental monitoring program.


5.2.2 Off-Site Groundwater and Soil Sampling

Based upon an evaluation of the former sludge incorporation area soils and groundwater
investigation data and the results of air modeling, 3M will define 3 additional off-site
nested groundwater monitoring well locations as part of the latter portion of Phase 2 field
activities. Based on the probable direction of groundwater flow determined from the
limited existing hydrogeological data, it is expected that the focus of this effort would be
in off-site locations to the south and west of the former sludge incorporation area. This
information will be part of a technical consultation with EPA and samples of



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groundwater and soils will be collected from each of the 3 nested wells and analyzed for
PFOA. The results of additional off-site work would be included in the Data Assessment
Report, the Screening Level Exposure Assessment, and the Future Data Needs
Assessment Report that will be submitted to the Peer Consultation Panel.


5.2.3 LOI Wells

Groundwater samples from the eight (8) LOI monitoring wells located in the northern
parts of the facility will continue to be collected on a semi-annual basis. Data from these
sampling events (historical and future) will be used to establish PFOA levels in the
groundwater in the manufacturing areas of the site.


5.3           BIOTA ASSESSMENT AND SAMPLING

As stated in the MOU under Section V.A. on Program Scope, “although the Screening
Level Exposure Assessment will focus primarily on human exposure, it will characterize
the presence of PFOA in environmental media, including biota, on and off the site as a
result of current and past manufacturing activities”. To fulfill this MOU commitment,
selected sampling of biota will be performed in the former sludge incorporation area
fields in order to evaluate the presence of PFOA (from the surficial soil zone or air
deposition) in three plant and one small mammal species. Herbivorous small mammals
that forage on vegetation and soils integrate the exposure to PFOA via dietary and other
exposure pathways over time. It must be noted that these data are intended to advance the
understanding of the presence of PFOA in this particular environmental compartment and
the relative contributions of PFOA from various exposure pathways relevant to wild
small mammal populations. Data on tissue PFOA concentrations in small mammals
residing in this area may be suitable for comparisons with laboratory data on small
mammals for the purpose of assessing potential exposure to small mammal populations.
However, the assessment of potential human exposure will use established human
exposure assessment methodology (EPA, 1992) due to the significant differences
between humans and wild small mammal populations in the type and extent of exposure,



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and their respective behavioral and dietary characteristics. The former sludge
incorporation area is managed as wildlife habitat with restricted access.

The type of vegetation and vegetative cover in the former sludge incorporation area is
varied Based on a July 26 to 29, 2004 vegetation survey. This vegetative diversity must
be considered in selecting soil boring/sampling locations to determine whether forage
plants are common to all of the fields being investigated. To the extent possible, selection
of sampling locations and the species of vegetation to be sampled will target plant species
that are common to the three fields that received sludge and the control field to permit
comparison within and among test plots. Based on the July 26 to 29, 2004 small mammal
survey, the small mammal community in the area of sampling is dominated by the hispid
cotton rat (Sigmadon hispidus) and the selection of the vegetation for sampling will be
informed by the selected target species’ dietary preference and the seasonality of the
sampling effort. The following subsections contain a discussion of the approach to the
assessment of vegetative uptake of PFOA and the sampling that will be performed in
these areas.


5.3.1 Vegetation Community Assessment and Sampling

An understanding of the vegetation community and its structure is critical to an overall
habitat assessment. A combination of vegetation community assessments and qualitative
field investigations will be used to develop a vegetation community map and assess the
plant species composition within each delineated vegetation community. Depending on
the results of the investigation, and overall project objectives, more detailed (e.g., semi-
quantitative, flagging the boundary of vegetation communities) assessments may be
proposed. The assessment will support proposed soil sampling for PFOA in the former
sludge incorporation area.


5.3.1.1                            Vegetation Community Assessment

An initial vegetation community assessment in the former sludge incorporation area was
conducted from July 26 to 29, 2004. This survey was intended to identify the vegetation


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community that is present in the former sludge incorporation areas and the control area
(field 14) where soil and vegetation sampling is proposed. A letter report will be prepared
to document the methods and results of the vegetation and small mammal surveys.

The investigation included: 1) a review of existing information to assess the approximate
location and extent of vegetation types, 2) a field investigation to refine the initial
community mapping and to qualitatively assess the vegetation species composition within
each habitat type.

       • Initial Assessment of Vegetation Types


            WESTON performed a review of available information, mapping resources, and
            reports to prepare a draft vegetation communities map for the sludge incorporation
            area. Information sources included:

            -      County Soil Survey
            -      USFWS National Wetlands Inventory
            -      USGS 7.5 Minute Topographic Quad
            -      Aerial Photography
            -      Site personnel knowledge
            -      Reports prepared for ongoing activities at the facility

            The approximate location and extent of major vegetation communities and the
            field designations from the former sludge incorporation activities were sketched
            onto available site maps. This preliminary vegetation community map will be used
            to support follow-on field investigations within the former sludge incorporation
            area, including: 1) a field investigation to qualitatively assess dominant vegetation
            communities and to inventory plant species, 2) the selection of small mammal
            inventory and sampling locations, and 3) the selection of soil sampling locations in
            areas of similar vegetation communities.




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     •      Field Assessment of Vegetation Communities

            WESTON conducted a site visit to verify the preliminary vegetation community
            map and to qualitatively assess the species composition of the dominant vegetation
            community types.

            The qualitative vegetation assessment consisted of primarily walk-through surveys.
            The survey identified the major and minor vegetation community types in the
            sludge incorporation areas. Individual communities were surveyed by walking and
            documenting plant species, while noting the approximate dominance of each
            species within each community type.

            The preliminary vegetation community map is being revised based on the results
            of the field survey.

It should be noted that this field survey was conducted in mid summer (i.e. late July).
During this survey, the field team also attempted to identify the other types of vegetation
(i.e. goldenrod, Solidago species) which may be more prominent during other seasons.


5.3.1.2              Vegetation Sampling

The results of the vegetation community assessment and field survey will be compiled
and reviewed in conjunction with the small mammal survey data, to finalize the
vegetative sampling plan for PFOA. To the greatest extent possible, target plant species
will be selected on the basis of common occurrence among the test plots, dominance
within each of the test plots, and wildlife dietary preferences. The selection of vegetation
sampling locations, species, tissues (e.g., fruits, foliage, roots), and sampling protocols
will be determined after review and evaluation of the field survey results. Sampling
procedures are contained in the vegetation sampling SOP (Appendix C). It is anticipated
that sampling will be performed on approximately 3 different plant species. Samples of 3
species will be collected from each of the two soil boring locations at the areas within
each plot that formerly received sludge applications. In the control field, three species
will also be collected at 2 locations. Three species will be collected at a location in the

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northwest corner control location. Consequently, a total of approximately 27 vegetation
samples will be collected among the five plots for PFOA analyses (i.e., 3 species x 2
locations x 4 fields and 3 species at the northwestern control location). The vegetation
analytical methodology that will be used is provided in Appendix B and the vegetation
sampling protocol is provided in Appendix C.


5.3.2 Small Mammal Surveys and Sampling


5.3.2.1              Small Mammal Survey

Several species of small mammals likely live in the study area. In order to characterize
the mammalian community, a preliminary small mammal survey was performed by
trapping using Sherman live box traps from July 26 to 29, 2004. Areas to be trapped were
based on available habitat and the similarity of the vegetative community to that present
in other prospective sampling locations at each of the four fields. One trap line with 14
traps was set at each of the fields that received sludge applications (Fields 6, 8, and 9), as
well as the background area location (Field 14). A scientific collection permit (SCP) was
obtained from the Alabama Department of Conservation and Natural Resources (DCNR)
and all collection efforts were performed in accordance with the requirements of the SCP.

Traps were set for two to three nights with the objective of trapping ten adult animals of
the same species from each of the four fields. Once the traps were set, they were checked a
minimum of twice daily in the field, during early morning and late afternoon or early
evening hours. Daytime trapping was only performed on July 27, 2004 during overcast
and unseasonally cool conditions to minimize mortality due to heat stress and
dehydration. Trapped mammals were identified at the location of capture and released
unharmed. The most abundant species at each sampling location and in the study area as
a whole was the hispid cotton rat (Sigmadon hispidus) with 55 captured. A single white-
footed mouse (Peromyscus leucopus) was captured.

A review of the literature will be performed to determine dietary preferences of the hispid
cotton rat target species. Dietary preferences and seasonality of the sampling effort will


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be evaluated to assist in the selection of the appropriate vegetation material for the co-
located vegetation and soil samples. As stated earlier, the small mammal survey results
will be documented with the vegetative community survey results in a letter report and
provided to EPA for a technical discussion prior to sampling.


5.3.2.2              Small Mammal Sampling for PFOA Analysis

The hispid cotton rat, the dominant member of the small mammal community at the study
site may be a prospective species for PFOA sampling and analysis. The hispid cotton rat
is primarily herbivorous with some consumption of ground nesting bird eggs and chicks
and insects and typically has a small home range of 0.25 to 0.99 acres (Whitaker &
Hamilton 1998). Consequently, the small mammal trapping activities will likely be
designed to preferentially target the capture of the target species by means of trap
selection, placement, and intensity. Target species catch rates from the initial survey will
be evaluated to determine the number of traps and trap nights required to obtain samples
from each prospective sampling location. Once the traps are set, they will be checked a
minimum of twice daily in the field, during early morning and early evening hours.

On the data sheet for each small mammal, the sample location, date, initials of
collector(s), sample identification number, species, sex, weight (g), total length (mm), tail
length (mm), hind foot length (mm), and ear length (mm) will be recorded. Each
individual small mammal will also be inspected for abnormalities or deformities,
including dental deformities, which will be described on data forms. Additional
information on the sampling methodology is contained in the small mammal sampling
SOP (Appendix C). After collection of serum samples, the specimens will be dissected and
liver samples submitted for analysis. Two specimens of the target species will be collected
from the immediate vicinity of each of the two soil boring locations within each plot in the
former sludge incorporation area and at the northwestern control location. Consequently, a
total of approximately 8 small mammal specimens (or more if necessary to meet the
minimum sample volume/mass requirement and the number of matrices) will be collected




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among the five plots for PFOA analyses. The small mammal PFOA analytical method is
provided in Appendix B.


5.4           SEDIMENT SAMPLING

Sediment sampling in the Tennessee River/Bakers Creek will be performed at a total of 8
locations including the 3 LOI locations sampled in 2002 (Entrix, 2003). The sediment
data is intended for use in the screening level exposure assessment and will be co-located
with surface water sample locations and, in the Tennessee River and Bakers Creek, fish
and clam/mussel sampling locations (see Subsections 5.5 and 5.6).

The LOI sediment sampling locations were located upstream of the facility at river mile
307.5 (LOC-3), across the river from the facility at river mile 301 (LOC-2), and
downstream of the facility at the mouth of Fox Creek (river mile approximately 296;
LOC-1) and are shown in Figure 5-2. Additional locations that will be sampled during the
Phase 2 field investigation include a far downstream location (below river mile 296), the
cove and mouth of Bakers Creek in the vicinity of the facility’s WWTP outfall, Bakers
Creek upstream of the facility’s outfall, and the two locations in the Avenue A drainage
within the facility (Figure 5-2). Three samples of sediments will be collected at each of
the eight locations for a total of 24 samples (Table 5-1). Sediment sample collection will
incorporate a variety of methods. For example although the use of petite ponar will be the
preferred method for the collection of sediment samples, this sampling device is not
useful in those sections of rivers or streams where the substrate contains




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                                                                                                                                         Legend

                                                                                                                                        Surface Water/Sediment
                                                                                                                                        Sampling Location
                                                                                                                                                 Year
                                                                                                                                                        2000

                                                                                                                                                        2002

                                                               Loc-2                                                                                    2004
                                           Loc-1
                                                                                                                                         Fish Location
                                                                                                                                                  Year
                                                                                                                                                          2000
                                                                                                                                                          2002
                                                                                                                                        Note:
                                                                                                                                        All Locations are Approximate.

                                                                                                                                        Maps Source:
                                                                                                                                        USGS 250K Quadrangles:
                            Approximate Facility Boundary                                                                               Gadsden, AL 1956 Revised 1977
                                                                                                                                        Rome, AL 1958 Revised 1972




                                                                                                 Loc-3

                                                                                                                                         0      4,000    8,000           16,000

                                                                                                                                                          Feet




                                                                                                                                                     Figure 5-2
                                                                                                                                        Phase 2 Surface Water and Sediment
                                                                                                                                                Sampling Locations
                                                                                                                                                  3M Corporation
                                                                                                                                                 Decatur, Alabama

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significant quantities of coarse materials e.g., pebbles, detritus or similar. At these
locations, a stainless steel corer will be used to obtain the sediment sample. All samples
will be collected from the top 10 cm of the sediment. Sediment sampling procedures are
described in detail in the sediment sampling SOP (Appendix C).

In addition to the sediment samples from the 8 locations described above, sediments will also
be sampled in the Tennessee River in the near-shore zone at the expected location of the
groundwater/surface water interface adjacent to the facility (Figure 5-2). An evaluation of the
flow net analysis shows that the distance into the Tennessee River from the facility’s
shoreline (within 200 feet), which would receive the majority of the affected groundwater
from the Chemical Plant, is approximately 200 feet. Based on a flow net analysis of the
discharge of groundwater potentially reflecting contamination from the Chemical Plant
area, it is estimated that the maximum shoreline length of the groundwater plume
discharge is 2,100 feet. This area will be sampled using a 200-foot by 200-foot grid
representing approximately 12 40,000-square foot (ft2) grid blocks. A total of 12
sediment samples (one in each grid node) will be collected from the center point of each
grid block. In addition to PFOA, sediment samples will be analyzed for TOC and sieve
grain size. These ancillary parameters may assist in the interpretation of PFOA
concentration data and fate and transport characterization. In addition, surface water and
pore water samples will be collected at each of the 12 sediment sampling locations (see
Subsection 5.5). These data are intended to characterize the nature and extent of
groundwater transport of PFOA to surface water as well as to determine the resulting
surface water concentration to which infaunal and epifaunal species may be exposed.


5.5           SURFACE WATER SAMPLING

Surface water sampling will be performed in conjunction with the sediment sampling
described in Subsection 5.4. A single surface water sample will be collected at each of
the six locations in the Tennessee River and Bakers Creek and at each of the two
locations in the Avenue A drainageway. In addition, surface water samples will be
collected immediately above the substrate at each of the 12 sediment sampling locations
in the nearfield grid in the Tennessee River at the suspected area of the

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groundwater/surface water interface. Samples from the Tennessee River and Bakers
Creek locations will be collected using a Kemmerer or similar sampler. Samples will be
collected from the water column based on the water depth at the sampling locations. For
those locations at which the depth is equal to or less than 10 ft, samples will be collected
at 0.6 of depth. That is, for a location with a depth of 10 ft, the sample will be collected 6
ft from the surface. For locations greater than 10 ft, surface water samples will be
composited from samples from the 0.2 and 0.8 depths. Additional details on surface water
sampling is provided in the surface water sampling SOP (Appendix C).

Pore water samples will be obtained by installing peepers (dialysis-type sampling
devices) into the sediments and retrieving the peepers after a sufficient amount of time
for equilibration. Prior to deploying the peepers in the field, a laboratory method
validation study will be performed. The method validation study will consist of
fabricating peepers, filling the peepers with deionized water, placing them in vessels
containing test solutions with known concentrations of PFOA in deionized water,
retrieving the peepers after 7 days to allow for equilibration with the test solution, and
analyzing both the peeper contents and test solutions for PFOA. A comparison of the
results of the peeper and test solution PFOA concentrations will determine the
effectiveness of the peepers for collecting representative samples of pore water.

Surface water samples from the shallow Avenue A drainage will be collected directly
into the sample containers. Additional information on surface water and pore water
sampling methods is contained in the surface water sampling and pore water sampling
SOPs (Appendix C). In addition to PFOA, surface water samples will analyzed for
temperature, pH, dissolved oxygen (DO), conductivity, total suspended solids (TSS), and
total dissolved solids (TDS). The PFOA analytical method for surface water sampling is
contained in Appendix B.




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5.6           AQUATIC BIOTA SAMPLING


5.6.1 Fish Sampling

Fish sampling will be performed at the six locations selected for sediment and surface
water sampling in the Tennessee River and Bakers Creek. Fish sampling will not be
performed in the vicinity of the sampling grid adjacent to the shoreline at the suspected
groundwater/surface water interface due to a lack of suitable fish habitat. Similarly, no
fish collection is proposed for the Avenue A drainageway. A scientific collection permit
SCP was obtained from the Alabama DCNR for fish collection and all collection efforts
will be performed in accordance with the SCP requirements. Target species for the fish
sampling effort are largemouth bass (Micropterus salmoides) and channel catfish
(Ictalurus punctatus). These two target species were selected for the following reasons:

     •      Correspondence with the fish samples collected in the 2002 sampling effort.

     •      Commonly consumed by recreational anglers.

     •      Predator species that are expected to represent the highest trophic levels and,
            therefore, may exhibit the largest bioaccumulation of PFOA.

     •      Wide distribution.

     •      Both are recommended target species (EPA, 1993; EPA 2000).

By virtue of their habitat preference, a bottom-dwelling species such as the channel
catfish may have a larger potential exposure to sediment-associated constituents that
could be reflected in tissue concentrations (EPA, 2000).

A combination of several fish sampling methods will be employed to collect fish. These
methods include electrofishing and trotlining. Electrofishing is an efficient capture
method that can be used to obtain reliable information on species composition and fish
abundance. It can also be used to sample areas unsuitable for other capture methods (i.e.,
dense vegetation, pilings, and rocky shorelines) (EPA, 1993 and Reynolds, 1996).
Electrofishing will be conducted using a boat-mounted electrofishing unit. A generator-
powered Coffelt Mark XX variable voltage pulsator electrofisher fitted with a boat


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mounted anode, and a trailing stainless-steel cable cathode, with a potential output of 600
volts and 15 amps, will be used. Trotlines consisting of long, heavy cords with multiple
baited hooks attached by sections of monofilament line are expected to be the most effective
method for collecting catfish and will be deployed at the sampling locations. Other potential
fish collection methods may include gillnets, hoop or fyke nets, or bag seines. However, due
to concerns about bycatch (nontarget species) and excessive mortality associated with
gillnets and, to a lesser extent, with hoop or fyke nets, preference will be given to active
electrofishing and passive trotlining with frequent gear checks.

In order to collect data suitable for assessing the range of variability in fish tissue PFOA
concentrations, samples will be prepared from individual fish specimens for analysis
rather than composite samples from multiple specimens. Each fish retained for tissue
analysis will be weighed to the nearest gram and total length will be measured to the
nearest millimeter. Data will be recorded on a sample label and in the field logbooks. Both
skin-on filet and whole body samples will be collected for analysis. Filet tissue samples are
intended for use in the screening level exposure assessment and whole body samples are
intended for comparison with previous data collected on whole body PFOA
concentrations. Both filet tissue and whole body samples will be prepared in the field for
shipment to the analytical laboratory. Additional information on the fish sample handling,
field data collection, and preparation procedures will be provided in the fish sampling
SOP contained in Appendix C.

At each of the 6 fish sampling locations, 10 samples of each species (largemouth bass and
channel catfish) will be collected. Of these 10 samples per species, five will be prepared
for filet tissue samples and five will be prepared for whole body samples. Consequently,
a total of 120 fish samples will be collected for PFOA analyses. The PFOA analytical
method for fish samples is contained in Appendix B.


5.6.2 Clam Sampling

Asiatic clams (Corbicula fluminea) will be collected from each of 6 fish sampling
locations by a benthic sled or a petite ponar dredge. Because of variations in substrate in


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the Tennessee River and habitat preferences of the Asiatic clam, sample locations may
vary from those locations selected for sediment sampling. Additional information on
clam sample collection is contained in Appendix C. Clam tissue samples will be prepared
in the field to provide composite samples for PFOA analyses. It is expected that
composite samples will consist of 10 or more clams. The PFOA analytical method for
clam samples is contained in Appendix B. The intended use of the clam data is
comparison with previous data collected on clam PFOA concentrations.


5.7           ADDITIONAL ASSESSMENT OF POSSIBLE ROUTES OF PFOA
              EXPOSURE


5.7.1 Off-Site Well Inventory

3M performed an off-site well inventory review during the early 1990’s as part of the
facility’s RFI program and did not identify any potable water wells in a two (2) mile
radius of the facility. It is anticipated that the residences, farms, businesses, and industrial
entities are using the municipal water supply for potable and irrigation purposes rather
than groundwater. In order to verify the findings of the 1990’s survey an additional well
inventory will be completed as part of the Phase 2 activities. The new well inventory will
expand the radius under consideration to 5 miles. If this evaluation indicates that potable
and irrigation water in the vicinity of the facility is solely obtained from the municipal
water supply system, then human exposure to PFOA (i) through direct groundwater
consumption by humans as potable water or (ii) through indirect groundwater
consumption by humans as a result of irrigation uses both will be considered incomplete
exposure pathways for purposes of the screening level exposure assessment


5.7.2 Decatur Municipal Water Supply

Because the Decatur municipal water system is the source of potable water to the site and
the residents in the vicinity of the site, the potential PFOA levels in the water supply must
be considered in the screening level exposure assessment for human receptors. In 2000,
3M conducted monitoring of the Decatur water supply system and based on that data, the


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levels of PFOA in the City of Decatur drinking water were below detectable limits (<
25ng/L).

To verify this initial sampling data, six rounds of samples will be obtained from the
Decatur municipal water supply for analysis of PFOA. These municipal water supply
samples will be obtained on a bi-monthly frequency. The water samples will be analyzed
in accordance with the PFOA analytical method contained in Appendix B.


5.7.3 Off-Site Waste Disposal Facilities

In order to evaluate the presence of PFOA associated with the past disposal of wastes at
off-site waste disposal facilities, information will be obtained on the locations and
descriptions of disposal facilities used, the types of 3M and Dyneon wastes disposed, and
periods of use. In addition, information will be obtained on operating practices at landfills
that are determined to have received wastes from 3M and/or Dyneon and the potential
transport, migration, and exposure pathways associated with the facilities. Based on an
evaluation of this information, 3M may propose conducting additional sampling in the
vicinity of these disposal facilities, as part of Phase 3 of the PFOA environmental
monitoring program. It must be noted that based on discussions with 3M personnel
familiar with facility waste management, it appears that the Morgan County landfill,
located about two miles from the site, was the primary off-site disposal facility and that a
second landfill, the BFI landfill received lesser quantities. The leachate from the Morgan
County landfill was sampled and analyzed for PFOA in 2000 and the results have been
reported to the EPA Docket OPPT-2003-0012. The leachate is sent to the City of
Decatur’s wastewater treatment plant (WWTP) for treatment. The City of Decatur’s
WWTP, in turn, discharges its treated effluent upstream of the 3M Decatur site and
sludge is disposed at the Morgan County Landfill . Therefore, any exposure to PFOA
released via the Decatur WWTP effluent would be assessed using the Tennessee River
data. A sample of the Decatur WWTP sludge and a sample of the final effluent will be
collected as part of the Phase 2 sampling and analyzed for PFOA. In Phase 2, a sample of
leachate will be collected from the Morgan County landfill and analyzed for PFOA for



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comparison with the 2000 leachate data. The Decatur WWTP effluent sample and the
Morgan County landfill leachate sample will be analyzed in accordance with the water
analytical method contained in Appendix B. In addition, information obtained from the
well inventory (see Subsection 5.7.1) will be evaluated to determine whether any potable
wells are located within two miles of the Morgan County landfill.

3M also sent some wastes off-site to an incinerator and to a hazardous waste landfill. As
part of the survey off-site waste disposal facilities, that will be conducted as described in
the earlier part of this subsection, 3M will assess the potential exposure pathways
associated with these two off-site disposal practices (i.e. incinerator and hazardous waste
landfill). The results of this survey will be used to assess the need for additional sampling
activities around these 2 facilities as part of the Phase 3 program.


5.8           DEMOGRAPHIC DATA COLLECTION

Demographic data will be collected for the area surrounding the facility and, where
appropriate, for the area(s) surrounding off-site waste disposal facilities. The
demographic data will be used in the characterization of various factors that may affect
the selection of those populations or subpopulations that may be exposed to PFOA.
Examples of the type of data that will be collected include information on recreational
angling in the Tennessee River and Bakers Creek from sources such as any creel or
angler surveys performed in the area by the Alabama Department of Natural
Conservation and Resources (DCNR) and any other documentation on the nature and
extent of the recreational fishery.


5.9           SUMMARY OF DATA COLLECTION

Table 5-2 contains an overview of the data that will be collected as part of the
enhancements to the Phase 1 data collection commitments under the LOI and the Phase 2
PFOA characterization program. Based on the results of the Phase 2 data collection,
interpretation, and screening level exposure assessment, 3M will develop a Phase 3




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program following a Peer Consultation Process, which includes public comment and
input by and discussion with EPA.


5.10          PROJECT SCHEDULE

The anticipated schedule for major elements of the Phase 2 characterization program
includes:

              •      Bilateral EPA/3M technical discussions, ongoing

              •      Final MOU and Work Plan, mid-August 2004

              •      Formal approval of MOU and Work Plan, mid to late September 2004

              •      Field work, analytical and final reports, July 2004 – April 2006

              •      Data Assessment Reports, October 2006

              •      Peer Consultation Process, November 2006 - 2007




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                                                                              TABLE 5-2 OVERVIEW OF PHASE 1 AND 2 PFOA MONITORING

                                                                         On-Site                                                                             Off-Site
                                                                                                   # of
                                                  Media                                          Samples   Frequency             Tennessee River                      # of Samples          Frequency
    Phase 1
                       Effluent                                                                     1      Quarterly    Surface water                                        5              Biennially1
                       Groundwater (8 wells)                                                        8       Ongoing     Sediment                                             5              Biennially
                       Air Modeling                                                                N/A     Completed    Fish (2 species)                                 3 locations        Biennially

                                                                                                                                                                       Locations/
                                                                                                             Once
                       Soils in vicinity of LOI wells                                              40                            Tennessee River                      # of Samples          Frequency
                       Soils in former sludge incorporation                                                             Surface water                                        18               Once
                                                                                                   140       Once
                       area and at the NW control location                                                              Pore water                                           12               Once
                       Vegetation in vicinity of soils                                             27        Once       Sediments                                            30               Once
                       Small mammals (serum and liver)                                           10 each     Once       Fish (2 species) whole fish and fillets   120 total; 6 locations2     Once
    Phase 2                                                                                                             Lower Order Species                        6 composites total;
                       Surface Water                                                                2        Once
                                                                                                                        (clams/mussels)                               6 locations2            Once
                       Sediments                                                                    6        Once       Well survey                                     5 mile radius         Once
                       Groundwater - (8 sets of 3 wells in                                                              Decatur Water Supply                                  6             Bimonthy
                                                                                                   24        Once
                       sludge incorporation area)                                                                       Waste Disposal Survey - Landfill
                       Hydrogeologic assessment in vicinity                                                             leachate and WWTP, and effluent              1 sample each            Once
                       of wildlife habitat/sludge                                                            Once       sludge
                       incorporation area                                                          N/A                  Additional soils and groundwater
                                                                                                                                                                    To be determined
                                                                                                                        samples                                                               Once



1
    Every 2 years - next scheduled sampling is in 2004 and will be incorporated into the Phase 2 program.
2
    This represents sampling in 3 additional locations form the LOI commitment.




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6. DOCUMENTATION AND REPORTING

PFOA concentration data for the environmental media samples will be validated and
maintained in an electronic database. Interim submissions of raw data, including field
logs, field measurements, analytical records, and results of QA/QC samples will be
submitted to EPA in accordance with the requirements of the MOU. All data that has
received final QA/QC checks will be submitted quarterly with that quarter’s status
reports. To the extent feasible, data will be repeated in consistent units within each of the
media. For example, groundwater, surface water, and pore water PFOA concentrations
will be reported in nanograms per liter (ng/L). In some cases, different units or a different
weight basis will be necessary. For instance, while soil concentrations will be reported on
a dry weight basis, vegetation sample results will be reported on a wet weight basis. A
Data Assessment Report will be prepared summarizing the methodology and findings of
the Phase 2 investigation including robust summaries of the results of all soil,
groundwater, vegetation, sediment, surface water and biota sampling. Sampling points
will be located on site maps based on surveyed coordinates. Stratigraphic logs will be
prepared for the soil borings and well completion reports for new groundwater wells.
Sampling methodology will be summarized along with QA/QC results.

The report will compile the analytical results, present conclusions regarding PFOA
concentrations and possible migration pathways, and identify any data needs that require
additional investigation (onsite and off-site). The report will also include photographs of
the investigation areas. Lastly, all laboratory analytical reports will be included in one of
the appendices of the Data Assessment Report.

The Phase 2 data reported in the Data Assessment Report will be used in the preparation
of a Screening Level Exposure Assessment that will be performed in accordance with the
procedures contained in Guidelines for Exposure Assessment (EPA, 1992). Finally, a
Future Data Needs Assessment will be prepared that identifies future data and an outline
of a Work Plan for performing a Phase 3 investigations. The future data needs assessment
will be a scientifically-based analysis of whether the data collected in the Phase 1 and


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Phase 2 investigations and the screening level exposure assessment are sufficient to
answer the charge stated in Section 1 of this Work Plan and the MOU.

The Data Assessment Report, Screening Level Exposure Assessment, and Future Data
Needs Assessment Report will be submitted to the Peer Consultation Panel, in
accordance with the procedures spelled out in the MOU between 3M and EPA.




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                 PHASE 2 WORK PLAN FOR
      SAMPLING ENVIRONMENTAL MEDIA FOR PFOA AT THE
                  3M DECATUR, AL PLANT


                       VOLUME 2 OF 3
            APPENDIX A – HEALTH AND SAFETY PLAN




                              AUGUST 2004




                                Prepared for


                              3M COMPANY
                           ST. PAUL, MN 55133



                                Prepared by

                     WESTON SOLUTIONS, INC.
                   West Chester, Pennsylvania 19380



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                                                                          APPENDIX A
                                                        HEALTH AND SAFETY PLAN (HASP)




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                                                             LIST OF ACRONYMS

3M                                          Minnesota Mining and Manufacturing Company
AIHA                                        American Industrial Hygiene Association
AL                                          action level
ANSI                                        American National Standards Institute
bgs                                         below ground surface
BTEX                                        benzene, toluene, ethylbenzene, xylene
COC                                         chain-of-custody
dB                                          decibel
EPA                                         U.S. Environmental Protection Agency
ERP                                         Emergency Response Plan
eV                                          electron volt
EZ                                          exclusion zone
FLDs                                        Field Operating Procedures
GFCIs                                       ground fault circuit interrupters
HASP                                        Health and Safety Plan
HMTA                                        Hazardous Materials Transportation Act
IPE                                         isopropyl ether
IP                                          ionization potential
LEL                                         lower explosive limit
LOP                                         level of protection
MEK                                         butanone
MIBK                                        4-methyl-2-pentanone
MiniRAM®                                    Miniature Real-Time Aerosol Monitor
MOU                                         Memorandum of Understanding
MSDS                                        Material Safety Data Sheet
NIOSH                                       National Institute for Occupational Safety and Health
OSWER                                       Office of Solid Waste and Emergency Response
OVM                                         direct-reading instrument
PEL                                         permissible exposure limit
PFOA                                        Perfluorooctanoic acid
PID                                         portable photoionization detector
PPE                                         personal protective equipment
RCRA                                        Resource Conservation and Recovery Act
SCBA                                        self-contained breathing apparatus


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                                                 LIST OF ACRONYMS (Continued)

SHSC                                        Site Health and Safety Coordinator
SI                                          site investigation
SZ                                          support zone
TWA                                         time-weighted average
UL                                          Underwriters Laboratories
V                                           volts
VOCs                                        volatile organic compounds
WESTON®                                     Weston Solutions, Inc.




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                                                                       SECTION 1

                                                                 INTRODUCTION

1.1 SCOPE OF WORK

This site-specific Health and Safety Plan (HASP) defines the safety and health requirements
necessary to perform investigation activities, including sampling of various media, associated with
the Phase 2 Perfluorooctanoic Acid (PFOA) Characterization Program at the 3M Company (3M)
Decatur facility located in Decatur, Alabama. This HASP presents the minimum requirements for
health and safety that must be met by site personnel engaged in site operations. This HASP does not
in any way relieve site personnel, contractors, or subcontractors from responsibility for the health
and safety of their personnel. Contractors will be required to review site conditions and work to be
performed to determine specific health and safety requirements for their personnel. Any visitors to
the site will be required to comply with the approved HASP to gain entry into work sites.

This HASP has been prepared by the Supervising Contractor, Weston Solutions, Inc. (WESTON®),
on behalf of 3M. This HASP was written to be consistent with all applicable federal, state, and local
health and safety requirements. Specific references consulted in assembling this HASP include the
following:

            •            29 Code of Federal Regulations (CFR) 1910 and 1926 (Occupational Safety and
                         Health Administration [OSHA] General Industry and Construction Standards,
                         respectively).

            •            National Institute for Occupational Safety and Health (NIOSH) Occupational
                         Safety and Health Guidance Manual for Hazardous Waste Site Activities, 1985.

            •            40 CFR 260-270 (U.S. Environmental Protection Agency [EPA] Solid Waste
                         Standard).

            •            EPA Standard Operating Safety Guides, Office of Solid Waste and Emergency
                         Response (OSWER), June 1992.

            •            3M Decatur Plant Site RCRA Emergency Plan, January 1988.

            •            3M Decatur Plant Contractor Safety Requirements, December 1996.



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            •            Applicable state and local regulations.

            •            Weston Solutions, Inc. (WESTON®) Corporate Health and Safety Program.

Table 1-1 presents a summary of the tasks to be completed during the site investigations. This
HASP specifically covers the tasks presented in Table 1-1 as described in detail in the Phase 2
Work Plan for Sampling Environmental Media (Phase 2 Work Plan).

1.2 SITE DESCRIPTION AND BACKGROUND

3M owns and operates a major specialty chemical and polymer film manufacturing facility in the
vicinity of Decatur, AL. The location of the facility is shown on the map included as Figure 1-1.
3M is entering into a Memorandum of Understanding (MOU) with the U.S. Environmental
Protection Agency (EPA) and other interested parties to conduct a PFOA characterization
program at its Decatur facility. Under this MOU, 3M will perform field sampling of various
environmental media including soils, groundwater, sediment, surface water and biota at and in
the vicinity of its Decatur facility. As part of this ongoing evaluation, 3M retained WESTON to
perform the PFOA Characterization Program at the facility.

This HASP covers the activities to be performed under the Phase 2 Work Plan. The HASP
defines the hazards, and methods to protect personnel from these hazards, as identified during
previous site work or in background information.

The categories of suspected and specific chemicals and materials identified from a review of
available historical information and the results of the Resource Conservation and Recovery Act
(RCRA) Facility investigation (RFI, Weston 2003) are as follows:

            •            Perfluorooctanoic acid (PFOA)

            •            Chlorinated solvents: 1,1-DCE, 1,1,1-TCA, 1,1-DCA, 1,2-DCA, chloroform,
                         methylene chloride, chloroethane and vinyl chloride.

            •            Volatile organic compounds (VOCs): acetone, isopropyl ether (IPE), 4-methyl-2-
                         pentanone (MIBK), 2-butanone (MEK), and benzene, toluene, ethylbenzene,
                         xylene (BTEX).

            •            Inorganic compounds or metals: arsenic, chromium, cadmium, lead, and mercury.


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Additional information regarding the potential hazards associated with, as well as examples of
known concentrations of, these contaminants of potential concern is presented in Section 3 of
this HASP.

In the preparation of this HASP, the assumption was made that the chemicals identified in the
previous sampling efforts are representative of the contaminants present at the locations north of the
railroad track (see Figure 1-2) that will be investigated at the facility. Not all of the contaminants are
expected to be present at every location to be investigated, as discussed in Section 3. Attachment 1
of this HASP provides Chemical Hazard Data Sheets for contaminants of concern at the
investigation study sites associated with the PFOA characterization program.




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     Figure 1-1               Vicinity Map, Phase 2 Characterization Program, 3M Decatur Facility,
                                                Decatur, Alabama




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                                                                                                                        WELL AREA
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                                                                                                                                                                       % [% 317L

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                                                                                                                                                                                                                                                                              % Monitor well
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                                                                                                                FILM


                                                                                                                                                                                                                                                                                Sampled 7/16/03
                                                                                                                                                                                                                   3M WASTEWATER
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                                                                                                                                               [%             315R       [% 306R
                                                                                                                                                                   [%
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                                                                                                                                                             CHEMICAL PLANT
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                                                                                                                                                                                                                                                                                Sampled 3/28/01 and 7/16/03
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                                                                                POND
                                                                                                                                                     210R
                                                                                                                              213R                     [%                                                   226R
                                                                                                                             [%                                                    220L                   %[%
                                                                                                           MARSHY
                                                                                                                                                                                     [% 220R          226L[
                                                                                                            AREA                  MUDFLAT
                                                                                                                                   AREA




                                                                                                                                   INACTIVE
                                                                                                                                   LANDFILL
                                                                                                                                                                                                                          BAKER'S CREEK

                                                                                                                                                    ACCESS ROAD




                                                                                                                                            217R
                                                                                                                                              [%




                         Former Sludge
                         Incorporation
                             Area


                                                                                                                                                                                                                                                                             700     0      700    1400 Feet




                                                                                                                                                                                                                                                                                   3M Decatur Site
                                                                                                                                                                                                                                                                               Morgan County, Alabama
                                                                                                                                                                                                                                                                                   FORMER SLUDGE
                                                                                                                                                                                                                                                                                   INCORPORATION
                                                                                                                                                                                                                                                                                        AREA
                                                                                                HWY 20/72
| C:\Decatur\GIS\3mdec\SiteLayout\aprs\SamplingLocations.apr | Sludge Area | q:\3mdec\plts\sludgearea.eps | 2:44 PM, 4/16/2004 |
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                                                                       SECTION 2

            STAFF ORGANIZATION, QUALIFICATIONS, AND RESPONSIBILITIES

Personnel must be aware of the staff organization, and the responsibilities and qualifications of
each organization member. Figure 2-1 presents a diagram of the staff organization for the Phase
2 characterization program activities at the 3M Decatur, AL facility. The organizational structure
will be reviewed and updated periodically by the Project Manager. The general health and safety
responsibilities of key Phase 2 characterization program team members are discussed in the
following subsections.

All personnel must have the necessary qualifications consisting of sufficient knowledge gained
through experience and training to effectively execute the duties of their position. Specific
training requirements are discussed in Section 5 of this HASP.

2.1 3M PROJECT DIRECTOR

At the top of the site organizational structure is the 3M Project Director, Mr. Michael Santoro.
The 3M Project Director is the primary off-site contact. The responsibilities of the 3M Project
Director include defining project objectives, allocating resources, determining the chain of
command, evaluating the program outcome, and ultimate responsibility for implementation of
the site health and safety program.

2.2 3M FIELD MANAGER

The 3M Field Manager, Mr. Phillip Wirey, will be the primary contact for all on-site activities.
The 3M Field Manager will be responsible for coordinating clearance for all field activities as
detailed throughout this HASP.

2.3 WESTON PROJECT MANAGER

The WESTON Project Manager, Mr. Jaisimha Kesari, P.E., DEE, is the primary contact for the
WESTON Field Team Manager and the 3M Project Manager. The WESTON Project Manager is
responsible for ensuring that all field personnel have the necessary qualifications and perform


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their work in conformance with the HASP, reviewing field reports, and interfacing with the
project team regarding resolution of health and safety problems or concerns.

2.4 FIELD TEAM MANAGER/PROJECT HEALTH AND SAFETY MANAGER

The WESTON Field Team Manager/Health and Safety Manager, Mr. Timothy Frinak, P.G.,
CHMM, has the highest level of contractor authority on-site. The Field Team Manager/Health
and Safety Manager is responsible for reporting to the WESTON Project Manager, directing
response operations, controlling site activities, and acting as the authority behind implementation
of the site health and safety program. Mr. Frinak will participate in the 3M Decatur facility-
required 4-hour on-site safety course (and yearly review, if required).

Mr. Frinak will be responsible for review and approval of the provisions of the HASP and any
amendments that may become necessary. The Project Health and Safety Manager will also be
responsible for the following tasks:

            •            Conduct project safety audits on a routine basis (at least quarterly).

            •            Review monitoring results and accident reports, as necessary.

            •            Report problems or concerns regarding project safety.

            •            Interpret the monitoring/sampling data required to upgrade or downgrade
                         personal protective measures.

            •            Provide health and safety consultation as needed.

2.5 FIELD TEAM LEADER/SITE HEALTH AND SAFETY COORDINATOR

The Field Team Leader/Site Health and Safety Coordinator (SHSC) reports directly to the Field
Team Manager and is responsible for implementing the health and safety program in the field.
The SHSC will be determined on a task-specific basis. The SHSC directly advises the Field
Team Manager on all aspects of health and safety on-site and advises the Field Team Manager to
cease or change operations in the event that worker or public health or safety is threatened.




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2.6 WESTON FIELD CHARACTERIZATION TEAM

The WESTON field characterization team is responsible for completing on-site tasks and for
complying with all aspects of the site health and safety program.




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                                                                               Figure 2-1 Project Organization Chart




                                                                               3M                               3M
                                                                        Field Manager/                    Project Director
                                                                        Safety Officer                      M. Santoro
                                                                            P. Wirey


                                                                                                           WESTON
                                                                                                     Supervising Contractor
                                                                                                        Project Director
                                                                                                        A. Thomas, P.G.



                                                                                                                                                 WESTON
                                          WESTON                         WESTON                              WESTON                           Project Health
                                        QA Auditor                    QA Coordinator/                    Project Manager                  and Safety Manager/
                                        T. Drew, P.G.                Technical Advisor                  J. Kesari, P.E., DEE              Field Team Manager
                                                                      M.H. Corbin, P.E.
                                                                                                                                          T. Frinak, P.G., CHMM




                                                                                               WESTON                          WESTON                         WESTON




                                                                                                                                                                                         ®
                                 WESTON                       WESTON                           Exposure                 Characterization Team                   Data
                            Project Geologist              Project Scientist                 Assessment                Field Team Leader/SHSC                Management
                              T. Frinak, P.G.                  C. Young                     C. Dobroski, Jr.              TBD – Task Specific




                                             Secondary Laboratory                        Primary Laboratory
                                                                                                                               Drilling                           Surveyors
                                             Severn Trent - Chicago                       Exygen Research
                                                                                                                                TBD                                 TBD
                                                    E. Lang                                  J. Flaherty


                                           SHSC - Site Health and Safety Coordinator
                                           TBD - To Be Determined



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                                                                               SECTION 3

                                         HAZARD ASSESSMENT AND RISK ANALYSIS

Personnel will be made aware of any chemical, physical, and biological hazards of concern
associated with each task as provided in Table 5-1 of the Phase 2 Work Plan. The potential
hazards of each task are discussed in the following subsections. Protective measures and proper
personal protective equipment (PPE) are discussed in later sections of this HASP. WESTON’s
Field Operating Procedures (FLDs) are presented in Attachment 2 to provide greater detail.
Specific FLDs related to specific tasks are referenced in the following subsections where
applicable. The complete HASP will be maintained on-site at all times for reference. A summary
health and safety checklist is included in Attachment 3.

The principal chemicals of concern were initially presented in Section 1. Table 3-1 presents their
chemical and toxicological properties, as well as known concentrations detected during previous
activities conducted at the Decatur facility. Protection from these substances will be
accomplished by following the health and safety procedures outlined herein.

The following subsections address the specific hazards and risks associated with each task to be
performed as part of the Phase 2 characterization program at the 3M Decatur facility.

3.1 SITE PREPARATION/MOBILIZATION

Prior to initiating Phase 2 characterization program activities, the following site preparations will
be completed:

              •             “3M Daily Work Permit” will be obtained in accordance with 3M’s Contractor
                            Safety Requirements (Attachment 4).

              •             Work areas will be cleared of brush, if necessary.

              •             Traffic control patterns to work areas will be developed, if necessary.

              •             Site control zones will be established.

              •             Utility clearances will be obtained.



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Potential hazards associated with the PFOA Characterization Program site preparation activities
(such as clearing and grubbing and establishment of temporary roadways) include physical
hazards such as:

       •      FLD 01 Noise Protection                                                     •   FLD 29 Materials Handling
       •      FLD 02 Inclement Weather                                                    •   FLD 30 Hazardous Materials Use
                                                                                              and Storage
       •      FLD 05 Heat Stress Prevention and
              Monitoring                                                                  •   FLD 31 Fire Prevention/
                                                                                              Protection/Response Plans
       •      FLD 06 Cold Stress
                                                                                          •   FLD 32 Fire Extinguishers Required
       •      FLD 07 Wet Feet
                                                                                              and Requirements
       •      FLD 09 Hot Work
                                                                                          •   FLD 34 Utilities
       •      FLD 10 Manual Lifting and
                                                                                          •   FLD 35 Electrical Safety
              Handling of Heavy Objects
                                                                                          •   FLD 38 Hand and Power Hand
       •      FLD 11 Rough Terrain
                                                                                              Tools
       •      FLD 12 Housekeeping
                                                                                          •   FLD 41 Hand and Emergency
       •      FLD 14 Site Security                                                            Signals
       •      FLD 15 Remote Areas                                                         •   FLD 43 Biological Hazards
       •      FLD 19 Working Over or Near                                                 •   FLD 47 Clearing, Grubbing and
              Water                                                                           Logging Operations
       •      FLD 20 Traffic
       •      FLD 22 Heavy Equipment
              Operation
To ensure that underground and overhead utilities are not disturbed or are protected from PFOA
characterization task-related activities, utilities clearance will be conducted at each site prior to
intrusive activities according to 3M’s Contractor Safety Requirements (Attachment 4) as well as
state requirements and FLD 34. All personnel will practice proper electrical safety according to
FLD 35.

The 3M plant staff will verify utility locations and ensure compliance with facility-specific
procedures. Sample locations will be moved from any potential utilities identified by 3M during
the utility clearance procedure. Extreme caution will be taken if piping, utility lines, or other




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subsurface structures are exposed during intrusive activities. If necessary, cribbing or other
measures will be used to support utilities if exposed during test pit excavations/soil sampling.

Equipment that will be mobilized to the site to complete the sampling tasks includes the
following:

              •             Heavy equipment (drill rig, backhoe, trackhoe, etc.).
              •             Pumps and hoses.
              •             Pressure-washing equipment.
              •             Field monitoring and sampling instruments.
              •             Small power and handtools.

Potential hazards associated with the PFOA characterization activities, as identified in Table 5-1
of the Phase 2 Work Plan, include physical hazards such as:

       •      FLD 01 Occupational Noise and                                               •   FLD 29 Materials Handling
              Hearing Conservation
                                                                                          •   FLD 30 Hazardous Materials Use
       •      FLD 02 Inclement Weather                                                        and Storage
       •      FLD 05 Heat Stress Prevention and                                           •   FLD 31 Fire Prevention/
              Monitoring                                                                      Protection/Response Plans
       •      FLD 06 Cold Stress                                                          •   FLD 32 Fire Extinguishers Required
                                                                                              and Requirements
       •      FLD 07 Wet Feet
                                                                                          •   FLD 34 Utilities
       •      FLD 10 Manual Lifting and
              Handling of Heavy Objects                                                   •   FLD 35 Electrical Safety
       •      FLD 11 Rough Terrain                                                        •   FLD 37 Pressure Washers
       •      FLD 12 Housekeeping                                                         •   FLD 38 Hand and Power Hand
                                                                                              Tools
       •      FLD 13 Structural Integrity
                                                                                          •   FLD 41 Hand and Emergency
       •      FLD 14 Site Security
                                                                                              Signals
       •      FLD 15 Remote Areas
                                                                                          •   FLD 42 Lockout/Tagout
       •      FLD 18 Operation and Use of Boats
                                                                                          •   FLD 43 Biological Hazards
       •      FLD 19 Working Over or Near
                                                                                          •   FLD 44 Biological Hazards -
              Water
                                                                                              Bloodborne Pathogens Exposure
       •      FLD 20 Traffic                                                                  Control Plan - First Aid Providers
       •      FLD 22 Heavy Equipment Operator                                             •   FLD 46 Control of Exposure to
                                                                                              Lead
       •      FLD 28 Excavating/Trenching


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       •      FLD 47 Clearing, Grubbing and                                               •   FLD 48 OSHA Inspections
              Logging Operation
                                                                                          •   FLD 49 Safe Storage of Samples


Traffic presents a primary hazard during the mobilization of equipment and investigation
activities in two ways:

              1.            When site workers are working close to roadways, the potential exists to be struck
                            by oncoming traffic.

              2.            Driving to, from, and on the site.

Site-specific motor vehicle and equipment requirements are presented in the 3M contractor
safety requirements contained in Attachment 4. In addition, WESTON’s traffic safety guidelines
are provided in FLD 20. The following procedures will be implemented for investigation
activities near busy roadways:

              •             Workers in the proximity of active roadways will be reminded each day to be
                            aware of their location in reference to roadways and to avoid working close to
                            traffic.

              •             Workers near active roadways must wear reflective vests.

              •             3M plant security personnel must be consulted in order to comply with applicable
                            requirements.

              •             Workers must be aware of the danger related to the vehicles that are routinely on
                            active roadways at the facility.

              •             Flag persons may be required to control the speed of nearby traffic. Barricading is
                            extended to the point where it is visible to approaching traffic. If needed, flag
                            persons will be WESTON personnel who are familiar with 3M Decatur traffic
                            patterns.

              •             Drivers are required to inspect their vehicles daily. The check will include
                            steering, brakes, mirrors, lights, horn, tires, and windshield wipers. Any special
                            safety items, such as backup alarms and kill switches, will also be checked to
                            ensure safe operation. Drivers will be required to report all defects, and repairs
                            will be made promptly.

Extra precautions will be taken when driving vehicles under off-highway conditions to prevent
shifting of loads when crossing rough terrain (FLD 11). In addition:


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              •             Trucks must be reversed under the direction of a signal person, if the operator
                            cannot clearly view the area to the rear.

              •             Windshields, rear-view mirrors, and lights will be kept clean.

              •             The Site Health and Safety Coordinator (SHSC) will ensure that seatbelts are
                            installed and functional on all vehicles used by WESTON personnel and
                            WESTON subcontractors, and that all passengers use them.

              •             Personnel are not allowed to ride on the outside or back (i.e., pickup trucks) of
                            vehicles. The number of passengers will be limited to the number of seatbelts in
                            the vehicle.

              •             Operators will immediately report any damage or failure of parts and accessories
                            to the Site Health and Safety Coordinator. It is advantageous to have a fire
                            extinguisher, first-aid kit, and road flares on the vehicle at all times.

              •             Control areas will be established where noise levels may exceed 85 decibels (dB).
                            Based on past experience, this may apply to operators of backhoes and personnel
                            at drilling operations. Individuals entering the control areas will be required to
                            wear hearing protection with a sufficient noise reduction rating. Based on past
                            experience, a minimum protection of earplugs will be sufficient for WESTON’s
                            field activities at the Decatur facility.

Hazardous and nonhazardous materials brought on-site will be controlled and stored in
accordance with 3M and OSHA requirements. This includes the following:

              •             Materials must be stacked and stored to prevent sliding or collapse.

              •             Flammables and oxidizers must be stored in separate nonsmoking areas and
                            flammable gases must be stored away from combustible materials.

              •             Personnel are prohibited from riding on the outside of material-handling
                            equipment.

              •             Flammable liquids must be stored in approved containers in flammable storage
                            cabinets or storerooms, or 25 feet from any other storage or office area or any
                            ignition source.

              •             As a minimum, a 20-pound fire extinguisher, appropriate for the type of fire that
                            could occur, must be within 50 feet of any accumulation of 5 gallons or more of
                            flammable liquids or gases.

Material Safety Data Sheets (MSDSs) will be maintained on-site for each of the substances used
during the Phase 2 characterization program. Additional hazardous material handling and storage

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measures are provided in FLD 30. Because work area preparation may include the use of power
tools such as drills or saws, FLD 38 (Hand and Power Handtools) and FLD 35 (Electrical Safety)
are included in Attachment 2 for guidance. All extension cords will be grounded with internal
ground fault circuit interrupters (GFCIs), if not provided at the panel. Safety guidelines provided
in the manufacturer’s specifications will be implemented for each power tool.

3.2 SOIL SAMPLING AND MONITOR WELL DRILLING/INSTALLATION

Soil sampling activities will consist of surface soil sampling, sediment/drainageway soil
sampling, and/or soil boring, as outlined in Table 5-1 of the Phase 2 Work Plan.

To ensure that the project team is protected from exposure to area contaminants (chemical
stressors), the proper PPE will be worn by each individual, and air monitoring (dependent on the
type of contaminants of concern for the area) will be conducted for this and all tasks as directed
in Table 3-2. As indicated, protocols for upgrading PPE and air monitoring strategies are
discussed in Sections 6 and 8, respectively.

Typically, upgrades in PPE are based on airborne concentrations of work area contaminants as
compared to background conditions. Several investigatory and characterization activities have
been conducted in the north portion of the facility in the vicinity of the LOI wells (as shown on
Figure 1-2), during which extensive air monitoring and soil and groundwater sampling have been
performed. These activities included soil boring and well installations (intrusive activities)
similar to those to be conducted during the Phase 2 characterization program. Based upon air
monitoring and sample results from these previous activities conducted in the vicinity of the LOI
wells, as provide in Table 3-1, modified Level D will be the level of protection required for the
intrusive Phase 2 characterization activities.

Intrusive activities to be performed in the southern, or upgradient, portion of the site associated
with the Phase 2 characterization program are not expected to encounter VOC contaminated
soils. Therefore, these activities will be initiated without air monitoring. Upon indication (visual
or olfactory) that a VOC may exist in the area, activities will be suspended until proper air
monitoring equipment is obtained and the area is screened and assessed. If necessary, air



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monitoring will continue to be conducted during intrusive activities performed in the southern
portion of the site.

Potential hazards associated with soil sampling include the following:

              •             Toxicity hazards associated with inhalation, dermal, ocular, and ingestion
                            exposure to contaminants, and to potentially contaminated decontamination
                            washwater during decontamination activities. Personal protective measures and
                            air monitoring will be implemented (see Sections 6 and 8).

              •             Physical and safety hazards such as noise, impact, crushing, laceration, and
                            abrasion associated with excavation, inclement weather, heat/cold stress, wet feet,
                            falling materials, improper lifting, slip/fall hazards, rough terrain, remote areas,
                            vehicular traffic, heavy equipment operation, structural integrity of excavation,
                            boring and drilling operations, inadvertent contact with underground utilities, and
                            pressure washing during decontamination (FLDs 01, 02, 05, 06, 07, 10, 11, 13,
                            15, 20, 22, 28, 34, 37, 41, and 47).

              •             Biological hazards such as disease-vectoring insects, animals (i.e., poisonous
                            snakes), and poisonous plants (FLD 43).

Prior to initiating boring, or drilling operations, health and safety guidance procedures will be
obtained from the subcontractor(s). Based on the information obtained from the subcontractor,
task-specific training will be provided to each individual by the Project Health and Safety
Manager and the Site Health and Safety Coordinator. The training will include the following:

              •             Anticipated and potential hazards.
              •             Inspection procedures.
              •             Operating procedures.
              •             Health and safety protection protocols.
              •             Shutdown procedures.

To ensure underground and overhead utilities are not disturbed or are protected from soil boring
or monitoring well installation, a utilities search will be conducted (FLD 34). The 3M Field
Manager will be contacted to verify utility locations and ensure compliance with facility-specific
procedures. Soil boring or monitoring well locations will be moved if utilities are identified
during the utility clearance. A distance of at least 20 feet, or the height of the boom, whichever is
greater, will be maintained from any overhead power line. In the event that an overhead or
underground utility is contacted or ruptured, personnel will leave the work area and proceed to a


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predetermined gathering point. No attempt will be made to shut down or remove equipment from
the work area. After everyone has been evacuated to a safe distance, the 3M Field Manager, the
3M Project Director, and the WESTON Project Manager will be contacted to mitigate the
situation.

Soil boring sampling will be completed using a Geoprobe or drill rig. Monitor well installation
and drill rig activities will be completed while collecting continuous split-spoon soil samples.
All soil borings will be properly abandoned upon completion of the soil sampling. During well
installation, a diverter will be used to keep the breathing zone/immediate work area clear of mud,
liquids, and vapors, which could contain VOCs. Based on past experience at the site, this method
has allowed work to continue in Level D/Modified Level D PPE for monitor well installations
performed by WESTON to date.

The Site Health and Safety Coordinator or a member of the drilling crew will inspect the drill rig
at least daily for structural damage, loose nuts and bolts, proper tension in chain drives, loose or
missing guards or protective covers, fluid leaks, damaged hoses, and/or damaged pressure
gauges and pressure relief valves. The drill rig inspection checklist provided in WESTON’s drill
rig operating practice (included in Attachment 2) can be used to ensure an adequate inspection
has been completed. The Site Health and Safety Coordinator will ensure that the drill rig
supervisor checks and tests all safety devices, such as emergency shutdown switches, at least
daily at the start of a drilling shift. Drilling will not be permitted until all emergency shutdown
and warning systems are working correctly.

The Site Health and Safety Coordinator or drill rig supervisor will ensure that all new drill rig
workers are informed of safe operating practices on and around the drill rig. The drilling
company’s supervisor will ensure that each new employee reads and understands the safety
manual. The drilling company’s supervisor will also carefully instruct a crew worker in drilling
safety and observe the new worker’s progress toward understanding safe operating practices.
The Site Health and Safety Coordinator will ensure that all personnel working around the drill
rig are informed of the location of the kill switches.




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Prior to drilling, adequate site clearing and leveling will be performed to provide a safe working
area for the drill rig and supplies. Drilling will not be commenced when tree limbs, unstable
ground, or site obstructions can cause unsafe conditions.

It is especially important that precautions be taken when using drill rigs in the vicinity of
electrical power lines and other utilities. The following procedures will be implemented prior to
the start of drilling activities:

              •             Locate, note, and emphasize all overhead and buried utilities on all boring
                            location plans and boring assignment sheets.

              •             When overhead electrical power lines exist at or near a drilling site or project,
                            consider all wires to be live and dangerous.

              •             Watch for sagging power lines before entering a site. Do not lift power lines to
                            gain entrance. Call the 3M Field Manager and ask him to lift or raise the lines or
                            deenergize (turn off) the power.

              •             Before raising the drill rig mast in the vicinity of power lines, walk completely
                            around the drill rig. Determine what the minimum distance will be from any point
                            on the drill rig to the nearest power line when the mast is raised and/or is being
                            raised. Do not raise the mast or operate the drill rig if this distance is less than 20
                            feet (6 meters) or, if known, the minimum clearance stipulated by federal, state,
                            and local regulations.

              •             Keep in mind that both hoist lines and overhead power lines can be moved toward
                            each other by the wind.

              •             Move the drill rig with the mast down to avoid contact with power lines.

              •             If there are any questions concerning the safety of drilling on sites in the vicinity
                            of overhead power lines, call the WESTON Field Manager.

              •             If a sign warning of underground utilities is located on a site boundary, do not
                            assume that underground utilities are located on or near the boundary or property
                            line under the sign. Call the 3M Field Manager to investigate. The underground
                            utilities may be a considerable distance from the warning sign.

              •             Determine jointly with the 3M plant personnel the precise location of
                            underground utility lines, mark and flag the locations, and determine jointly with
                            utility personnel what specific precautions must be taken to ensure safety.




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Drilling operations will be terminated if an electrical storm approaches. The drill rig mast will be
lowered, and the entire crew will move away from the drill rig. For additional guidance, the
WESTON drill rig operating practice (1.6) is included in Attachment 2.

3.3 WATER SAMPLING

Water sampling activities will consist of surface water and groundwater sampling activities.
Potential hazards associated with water sampling include the following:

              •             Toxicity hazards associated with inhalation, dermal, ocular, and ingestion
                            exposure to free, residual, or spilled hazardous wastes; VOCs present in the
                            groundwater; and to potentially contaminated washwater during decontamination
                            activities. Personal protective measures and air monitoring will be implemented
                            (see Sections 6 and 8).

              •             Physical and safety hazards such as abrasion associated with sampling, inclement
                            weather, heat/cold stress, wet feet, falling materials, improper lifting, slip/fall
                            hazards, working on or near water, boating hazards, remote areas, and vehicular
                            traffic (FLDs 02, 05, 06, 07, 10, 15, 18, 19, 20, and 41).

              •             Biological hazards such as disease-vectoring insects, animals (i.e., poisonous
                            snakes), and poisonous plants (FLD 43).

An important potential hazard associated with water sampling involves the potential for exposure
to the contaminants of concern in the water or groundwater during sampling and
decontamination activities. To ensure that the project team is protected from exposure to the area
contaminants, the proper PPE will be worn by each individual and air monitoring will be
conducted as specified in Table 3-2. Protocols for upgrading PPE and air monitoring strategies
are discussed in Sections 6 and 8.

Physical hazards such as noise, working with manual sampling equipment and pumps, will be
managed by implementing the FLDs included in Attachment 2. In general, the approaches
outlined for soil sampling will be implemented for water sampling activities.




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3.4 SEDIMENT SAMPLING

Sediment sampling activities will be performed as part of the Phase 2 characterization program
in accordance with the details presented in the Phase 2 Work Plan. Potential hazards associated
with sediment sampling include the following:

              •             Toxicity hazards associated with inhalation, dermal, ocular, and ingestion
                            exposure; VOCs present in the sediments; and potentially contaminated
                            washwater during decontamination activities. Personal protective measures and
                            air monitoring will be implemented (see Sections 6 and 8).

              •             Physical and safety hazards such as noise, impact, laceration, and abrasion
                            associated with sampling, inclement weather, heat/cold stress, wet feet, working
                            near water, boating hazards, slip/fall hazards, and remote areas (FLDs 01, 02, 05,
                            06, 07, 10, 11, 15, 18, 19, 20, and 41).

              •             Biological hazards such as disease-vectoring insects, animals (i.e., poisonous
                            snakes), and poisonous plants (FLD 43).

An important potential hazard associated with sediment sampling involves the potential for exposure
to the contaminants of concern in the surface water or sediments during sampling and
decontamination activities. To ensure that the project team is protected from exposure to the area
contaminants, the proper PPE will be worn by each individual and air monitoring will be conducted
as specified in Table 3-2. Protocols for upgrading PPE and air monitoring strategies are discussed in
Sections 6 and 8.

Physical hazards such as noise and working with manual sampling equipment, will be managed
by implementing the FLDs included in Attachment 2. These FLDs include health and safety
precautions for working near water and operation and use of boats (FLDs 18, 19). The field team
members will follow the safety procedures in FLDs 18 and 19 where applicable for sediment
sampling in Baker’s Creek and/or the Tennessee River. In general, the approaches outlined for
soil sampling will be implemented for water and sediment sampling activities.

3.5 SMALL MAMMAL SAMPLING

Small mammal sampling will be performed as part of the Phase 2 characterization program in
accordance with the details presented in the Phase 2 Work Plan and will consist of an initial
survey of small mammal populations by a limited trapping effort followed by more intensive

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trapping and the collection of blood and liver samples from small mammals in and around the
former sludge incorporation area. Potential hazards associated with small mammal trapping and
the collection of tissue samples includes the following:

              •             Toxicity hazards associated with inhalation, dermal, ocular, and ingestion
                            exposure to contaminants in site soils, and to potentially contaminated
                            decontamination                     washwater            during   decontamination   activities.   Personal
                            protective measures and air monitoring will be implemented (see Section 6 and
                            8).

              •             Physical and safety hazards such as inclement weather, heat/cold stress, wet feet,
                            improper lifting, slip/fall hazards, rough terrain, and remote areas. (FLDs 01, 02,
                            05, 06, 07, 10, 11, and 15).

              •             Biological hazards such as disease-vectoring insects, animals (i.e. poisonous
                            snakes), and poisonous plants (FLD 43). Additional biological hazards associated
                            with small mammal sampling are described below.


An important potential hazard associated with small mammal trapping, handling, and tissue
collection involves the potential for exposure to hantavirus. There are numerous viral strains
within the hantavirus assemblage and exposure to some of these hantaviruses may result in
hantavirus pulmonary syndrome (HPS) in humans (CDC, 1995). The hantavirus responsible for
the initial detections of HPS in the southwestern U.S., Sin Nombre Virus (SNV), is primarily
associated with the deer mouse (Peromyscus maculatus). Inhalation of aerosolized virus from the
small mammal host’s urine or feces is the primary mode of infection in humans (CDC, 1995).


Other small mammal species may also serve as competent hosts for SNV and related hantavirus
strains that have been shown to cause HPS. These include the cotton rate (Sigmadon hispidus)
which is host to the Black Creek Canal virus, the white-footed mouse (P. leucopus) which is host
to the New York virus, and the rice rate (Oryzomys palustris), which is host to the Bayou virus
(CDC, 2004). These three rodents species have distributions which include northern Alabama.


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The southern portion of the range of the distribution of the meadow vole (Microtus
pennsylvanicus), a prospective target species for the small mammal sampling effort, is also
located in northern Alabama. However, the meadow vole is host to the Prospect Hill virus (PHV)
which has not been determined to cause human disease (CDC, 1995 and CDC, 2004).


While risk associated with aerosolization of viruses is highest in confined spaces with rodent
infestations, personnel handling rodents from small traps and preparing blood and/or tissue
samples are also at risk unless safety precautions are implemented (CDC, 1995). Because of the
potential risk for infection from small mammals hosting hantaviruses and other zoonotic agents
and the high case fatality ratio associated with HPS, personal protective measures will be
implemented to mitigate the risk to sampling team members. These measures are based on the
safety guidelines established in the Methods for Trapping and Sampling Small Mammals for
Virologic Testing (CDC, 1995) and included as Attachment 5 to this HASP. Protective
equipment will include the use of full face respirators with N-100 high efficiency particulate air
(HEPA) filter cartridges during trap retrieval and sample processing. Thick rubber or nitrile
gloves will be used when handling rodents or traps that either contain rodents or are potentially
contaminated by rodents. Gloves will be washed with a disinfectant solution of 5% hospital-
grade Lysol® prior to removal. Traps and sample preparation surfaces will also be disinfected
with 5% Lysol. All sample processing will be performed at an outside sample processing station.
Additional information on safe handling procedures associated with collection and transport of
small mammals, the collection of blood samples and performing necropsies to remove the liver
samples, and related activities is contained in Attachment 5.

The Exygen Research, Inc. laboratory will be performing chemical analyses of blood and liver
tissue samples and has been informed of the potential for hantavirus with the small mammal
samples.

References:




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http://www.cdc.gov/ncidod/diseases/hanta/hps/index.htm accessed 2 July 2004.




3.6 FISH SAMPLING

Methods which may be used during this project to capture fish may include one or more of the
following gear types: hand seines, gill nets, trotlines, and electrofishers. The primary hazards
associated with these collection methods include: working near or over water, rough or uneven
terrain, and electrical shock.

Hand seines will be operated by two or more individuals, and consist of a long, wall-like
collecting net with a float line at the top and a lead line at the bottom. Seine nets will be used in
shallow water where fish can be captured by surrounding an area and pulling the seine ashore to
enclose the catch.

Seines will not be used in water with snags or other obstructions, and tend to roll up when pulled
over weeds.                   Nets are difficult to pull in areas of high flow because of water resistance.
Therefore, prior to attempting to seine a collection area, the area will be investigated to
determine the feasibility, the efficiency, and the safety of using this collection method. Because



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of the hazards associated with collecting fish by this method, the following precautions should
be taken:

              •             Because the water depth is variable, prior to starting wading activities, the depth
                            in a particular area shall be determined to minimize the potential for submersion.

              •             Because chest waders and/or hip boots will be required, appropriate precautions
                            shall be taken. When filled with water, even partially, waders become heavy and
                            pose a serious threat to the individual wearing them. Therefore, no sampling team
                            personnel will venture into areas where submersion is likely. A belt fitted snugly
                            around the top of the waders may also be worn to limit the ability of water to
                            enter the boots. Safety lines may also be required, depending on conditions.

              •             The type of bottom may affect the field crew's footing and its ability to work
                            efficiently and safely. If necessary sure grip devices, such as creepers or
                            carpeting may be added to the soles of boots to improve traction.

              •             The accessibility of field locations shall be considered in the field planning.
                            Proximity of vehicle access will be determined beforehand for ease of equipment
                            portage and to allow prompt access by response personnel in the event of an
                            emergency. It is required that the team leader be familiar with access roads and
                            trails available in each area.

              •             Obstructions such as submerged rocks, trees, and floating objects affect the safety
                            of boat use on lakes and waterways. Awareness of their locations is also
                            significant in use of nets, trotlines, and instruments with the potential for
                            snagging. Visual reconnaissance of areas for possible obstructions shall be made
                            and their positions noted.

Trotlines may be used to selectively harvest bottom feeding fish specimens. Trotlines consist of
long, heavy cords with multiple baited hooks attached by sections of monofilament line.
Trotlines may be anchored by means of anchors or other weights attached to the ends of the
trotlines or by tying the ends to stakes, limbs, or other immovable objects along the shoreline.
The ends of the trotline sets will be marked by buoys and/or flagging tape to identify their
location. The principal hazards associated with the deployment of trotlines are entanglement
with the cordage and punctures from the hooks. Because of these hazards, the following
precautions shall be observed:

              •             Trotlines will be deployed only in area of low current velocities to minimize the
                            potential for drifting (or loss) of the trotlines from their intended locations.



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              •             Trotline sets will be identified by flagging or buoys to minimize the risk
                            associated with entanglement by members of the sampling team.

              •             Facility personnel will restrict access to the stream to only members of the
                            sampling team for the duration of the trotline sets.

              •             Sampling team members will use caution in baiting, setting, handling, and
                            harvesting the trotlines to minimize the potential for puncture wounds.

              •             Because the trotline hooks will be baited with materials such as commercial tub
                            bait or chicken livers, the potential for infection resulting from puncture wounds
                            exists. First aid equipment will be available to allow any puncture wounds to be
                            immediately cleaned and disinfected.

The primary method that will be used to capture fish will be electrofishing. It should be noted
that all electrofishing gear can develop electrical currents that are potentially harmful or lethal to
man. Operators must be familiar with proper usage, potential involved, and safety procedures.
Because of these hazards the following precautions shall be observed:

              •             The operator of an electrofisher must understand that the chance of receiving an
                            electrical shock is multiplied when dealing with electric currents in or near water
                            more than any other place.

              •             The Coffelt electrofishers have a high voltage output and certain safety
                            precautions must be observed to provide safe operation and prevent possible
                            dangerous shock. When operating the electrofisher the operator should never
                            contact the anode. This situation could complete a path through the body for the
                            electric current and cause a possible lethal shock. To prevent shocks from
                            occurring the following equipment shall be used:

                            -             Non-leaking chest high waders. Wet boots can conduct electricity. If the
                                          waders become wet inside,

                            -             Non-leaking rubber electricians gloves that reach the elbow or higher. Wet
                                          gloves can conduct electricity. If the gloves become wet inside,
                                          electrofishing activities will be halted until and the gloves are thoroughly
                                          dry or replacement gloves are donned.

              •             The following are some do's and don'ts for electrofishing:

                            -             Do always make sure that all personnel are clear of the area surrounding
                                          the anode before turning on the power.

                            -             Don't continue to electrofish if your boots or gloves become damp or wet.


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                            -             Do make sure that the anode and cathode electrodes make a good
                                          connection with the output cable and that both electrodes are in contact
                                          with the water.

                            -             Don't operate an electrofisher if you have any prior heart condition/history
                                          or if you have been under abnormal strain which may weaken your heart.

                            -             Do review and know how to administer first aid treatment for electrical
                                          shock.

Because of the relatively high potential for hazard, all electrofishing equipment will be examined
and approved for use, for reliability of safety devices and proper performance of the unit by a
qualified technician prior to use in the field. It is the responsibility of the Site Safety Officer and
Project Team Leader to verify that such equipment has been examined and approved for use
prior to use. All maintenance and safety checks shall be recorded and kept by the SSO. Periodic
checks will be determined by frequency of use.

3.7 ADDITIONAL FIELD OPERATING PROCEDURES

During the course of these Phase 2 characterization program activities, it may become necessary
to conduct activities not specified in the sampling procedure descriptions. In order to anticipate
some of these activities, the following FLDs have also been included in Attachment 2:

              •             FLD 09                      Hot Work
              •             FLD 36                      Welding/Cutting/Burning
              •             FLD 39                      Illumination
              •             FLD 48                      WESTON Hazard Communications Program




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                                                                                                              Table 3-1

                                                                                     Properties of Potential Environmental Contaminants,
                                                                                    Phase 2 Characterization Program, 3M Decatur Facility,
                                                                                                          Decatur, AL

                                      Concentrations
                                       Detected in                     OSHA            ACGIH
                                        Previous                        PEL             TLV                       Characteristics/       Route of
     Contaminant                      Investigations                   (TWA)           (TWA)     Carcinogen     Physical Description     Exposure    Human Exposure Symptoms                    Target Organs
1,1 -                                55 µg/kg                        NE               5 ppm     A4, Carc        Colorless liquid or      Inh        Irritation of eyes, skin, throat;      Eyes, skin,
Dichloroethylene                                                                                                gas (above 89°F)         Abs        dizziness, headache, nausea,           respiratory system,
                                     (327R soil)
(1,1-DCE)                                                                                                       with a mild, sweet,      Ing        dyspnea (breathing difficulty);        CNS, liver, kidneys
                                                                                                                chloroform-like odor.    Con        liver, kidney dysfunction;
                                                                                                                                                    pneumonitis. Potential
                                                                                                                                                    occupational carcinogen.
1,1 –Dichloroethane                  15 µg/kg                        100 ppm          100 ppm   A2, Carc        Colorless, oily liquid   Inh        Irritation of skin, CNS                Skin, liver,
(1,1-DCA)                                                                                                       with a chloroform-       Ing        depression, liver, kidney, lung        kidneys, lungs,
                                     (327R soil)                                                                                         Con
                                                                                                                like odor                           damage                                 CNS
                                     3.6 µg/L
                                     (310R gw)
1,1,1 –                              7 µg/kg                         350 ppm          350 ppm   A2, Carc        Colorless liquid with    Inh        Irritation eyes, skin, headache,       Eyes, skin, CNS,
Trichloroethane                                                                                                 a mild, chloroform-                 lassitude, CNS depression, poor        cardiovascular
                                     (327R soil)                                                                                         Ing
(1,1,1-TCA)                                                                                                     like odor.                          equilibrium, dermatitis, cardiac       system, liver
                                                                                                                                         Con        arrhythmias, liver damage
1,2-Dichloroethane                   12 µg/kg                        50 ppm           10 ppm    A3, Carc        Colorless liquid with    Inh        Irritation of eyes, corneal            Eyes, skin,
(1,2-DCA)                                                                                                       a pleasant,              Ing        opacity, CNS depression,               kidneys, liver,
                                     (327R soil)                                                                                         Abs
                                                                                                                chloroform-like odor.               nausea, vomiting, dermatitis,          central nervous
                                                                                                                                         Con        liver, kidney, cardiovascular          system,
                                                                                                                                                    system damage, (potential              cardiovascular
                                                                                                                                                    occupational carcinogen)               system




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                                                                                                              Table 3-1

                                                                                     Properties of Potential Environmental Contaminants,
                                                                                    Phase 2 Characterization Program, 3M Decatur Facility,
                                                                                                          Decatur, AL
                                                                                                          (Continued)

                                      Concentrations
                                       Detected in                     OSHA            ACGIH
                                        Previous                        PEL             TLV                       Characteristics/      Route of
     Contaminant                      Investigations                   (TWA)           (TWA)     Carcinogen     Physical Description    Exposure    Human Exposure Symptoms                    Target Organs
2-butanone (MEK)                     12 µg/kg                        200 ppm          200 ppm   No              Colorless liquid with   Inh        Irritation of eyes, skin, nose,        Eyes, skin,
                                                                                                                a moderately sharp,                headache, dizziness, vomiting,         respiratory system,
                                     (327R soil)                                                                                        Ing
                                                                                                                fragrant, mint-or                  dermatitis                             CNS.
                                                                                                                acetone-like odor.      Con
4-methyl-2-                          140 µg/kg                       100 ppm          50 ppm    No              Colorless liquid with   Inh        Irritation of eyes, skin, mucous       Eyes, skin,
pentanone (MIBK)                                                                                                a pleasant odor                    membrane; headache, coma,              respiratory system,
                                     (327R soil)                                                                                        Ing
                                                                                                                                                   dermatitis; in animals: liver,         CNS, liver, kidneys
                                                                                                                                        Con        kidney damage
Acetone                              4,300 µg/kg                     1,000 ppm        500 ppm   A4              Colorless liquid with   Inh        Irritation of eyes, nose, throat;      Eyes, skin,
                                     (327R soil)                                                                a fragrant, mint-like   Ing        headache, dizziness; CNS               respiratory system,
                                                                                                                odor.                   Con        depression; dermatitis.                CNS
                                     6.9 µg/L
                                     (317L gw)
Benzene                              520 µg/kg                       1 ppm            0.5 ppm   A1, Carc        Colorless to light-     Inh        Irritation of eyes, skin, nose,        Eyes, skin,
                                     (327R soil)                     ST 5 ppm                                   yellow liquid with an   Abs        respiratory system; giddiness,         respiratory system,
                                                                                                                aromatic odor. (Note:   Ing        headache; nausea; staggered            blood, CNS, bone
                                     21 µg/L                                                                    A solid below 42°F.)    Con        gait; fatigue; anorexia; lassitude     marrow (leukemia)
                                     (310R gw)                                                                                                     (weakness, exhaustion);
                                                                                                                                                   dermatitis; bone marrow;
                                                                                                                                                   depression.




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                                                                                                              Table 3-1

                                                                                     Properties of Potential Environmental Contaminants,
                                                                                    Phase 2 Characterization Program, 3M Decatur Facility,
                                                                                                          Decatur, AL
                                                                                                          (Continued)

                                      Concentrations
                                       Detected in                     OSHA            ACGIH
                                        Previous                        PEL             TLV                       Characteristics/       Route of
     Contaminant                      Investigations                   (TWA)           (TWA)     Carcinogen     Physical Description     Exposure    Human Exposure Symptoms                      Target Organs
Chloroform                           11 µg/kg                        C 50 ppm         10 ppm    A3, Carc        Colorless liquid with    Inh        Irritation of eyes, skin; dizziness,     Liver, kidneys,
                                     (327R soil)                                                                a pleasant odor.         Abs        mental dullness; nausea;                 heart, eyes, skin,
                                                                                                                                         Ing        confusion, headache, fatigue;            CNS
                                                                                                                                         Con        anesthesia; enlarged liver.
Ethylbenzene                         44 µg/kg                        100 ppm          100 ppm   A3              Colorless liquid with    Inh        Irritation of eyes, skin, mucus          Eyes, skin,
                                     (327R soil)                                                                an aromatic odor.        Ing        membranes; headache;                     respiratory system,
                                                                                                                                         Con        dermatitis; narcosis; coma.              CNS


Isopropyl ether                      490 µg/kg                       500 ppm          250 ppm   No              Colorless liquid with    Inh        Irritation of eyes, skin, nose,          Eyes, skin,
                                     (220R 4 soil)                                                              a sharp, sweet, ether-   Ing        respiratory discomfort;                  respiratory system,
                                                                                                                like odor.               Con        dermatitis; in animals:                  CNS
                                     780 µg/L                                                                                                       drowsiness, dizziness,
                                     (310R gw)                                                                                                      unconsciousness, narcosis.
Methylene chloride                   32 µg/kg                        25 ppm           50 ppm    A3, Carc        Colorless liquid with    Inh        Irritation of eyes, skin; fatigue,       Eyes, skin, CVS,
                                                                     ST 125                                     a chloroform-like        Abs        weakness; somnolence                     CNS
                                     (327R soil)
                                                                     ppm                                        odor.                    Ing        (unnatural drowsiness),
                                                                                                                                         Con        lightheadedness; numbness,
                                                                                                                                                    tingling in limbs; nausea.




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                                                                                                              Table 3-1

                                                                                     Properties of Potential Environmental Contaminants,
                                                                                    Phase 2 Characterization Program, 3M Decatur Facility,
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                                                                                                          (Continued)

                                      Concentrations
                                       Detected in                     OSHA            ACGIH
                                        Previous                        PEL             TLV                       Characteristics/       Route of
     Contaminant                      Investigations                   (TWA)           (TWA)     Carcinogen     Physical Description     Exposure    Human Exposure Symptoms                   Target Organs
Toluene                              30 µg/kg                        200 ppm          50 ppm    A4              Colorless liquid with    Inh        Irritation of eyes, nose; fatigue,    Eyes, skin,
                                     (327R soil)                     C 300                                      a sweet pungent,         Abs        weakness, confusion, euphoria,        respiratory system,
                                                                     ppm                                        benzene-like odor.       Ing        dizziness, headache; dilated          CNS, liver, kidneys
                                     3.3 µg/L                        500 ppm                                                             Con        pupils, lacrimation (discharge of
                                     (320L gw)                       (10-min                                                                        tears); nervousness; muscle
                                                                     max.                                                                           fatigue; insomnia; paresthesia;
                                                                     peak)                                                                          dermatitis; liver, kidney damage.
Vinyl chloride                       7 µg/L                          1 ppm            1 ppm     A1, Carc        Colorless gas or         Inh        Weakness; abdominal pain,             Liver, CNS, blood,
                                     (310R gw)                       C 5 ppm                                    liquid with a pleasant   Con        gastrointestinal bleeding;            respiratory system,
                                                                                                                odor at high                        enlarged liver; pallor or cyanosis    lymphatic system
                                                                                                                concentrations.                     of extremities; liquid frostbite.
                                                                                                                (Note: Shipped as a
                                                                                                                liquefied compressed
                                                                                                                gas.)
Xylene                               160 µg/kg                       100 ppm          100 ppm   A4              Colorless liquid with    Inh        Dizziness, excitement,                CNS, eyes,
                                                                                                                aromatic odor.           Abs        drowsiness; incoordination,           gastrointestinal
                                     (327R soil)
                                                                                                                                         Ing        staggered gait; irradiation of        tract, blood, liver,
                                                                                                                                         Con        eyes, nose, throat; corneal           kidneys, skin
                                                                                                                                                    vacuolization; anorexia, nausea,
                                                                                                                                                    vomiting, abdominal pain;
                                                                                                                                                    dermatitis.
            Sources: Threshold Limit Values for Chemical Substances and Physical Agents, Biological Exposure Indices, ACGIH (1998).
                     NIOSH Pocket Guide to Chemical Hazards, U.S. Department of Health and Human Services (January, 2003).



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                                                                                     Properties of Potential Environmental Contaminants,
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                                                                                                          (Continued)

Key:

Abs   =            Skin absorption.                                                                               gw      = Groundwater.
ACGIH =            American Conference of Government Industrial Hygienists                                        Ing     = Ingestion.
A1    =            Confirmed human carcinogen by ACGIH.                                                           Inh     = Inhalation.
A2    =            Suspected human carcinogen by ACGIH.                                                           NE      = Not established.
A3    =            Animal carcinogen by ACGIH.                                                                    PEL     = Permissible exposure limit.
A4    =            Not classifiable as a human carcinogen by ACGIH.                                               PNS     = Peripheral nervous system.
A5    =            Not suspected as a human carcinogen by ACGIH.                                                  ppm     = Parts per million.
C     =            OSHA ceiling concentration; must not be exceeded during any part of the                        OSHA    = Occupational Safety and Health Administration.
                   workday.                                                                                       ST      = OSHA short-term exposure limit; 15-minute TWA exposure that should not
Carc          =    Potential occupational carcinogen by NIOSH.                                                              be exceeded at any time during the workday.
CNS           =    Central nervous system.                                                                        TLV     = Threshold limit value.
Con           =    Skin and/or eye contact.                                                                       TWA     = Time weighted average.
CVS           =    Cardiovascular system




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                                                                                                       Table 3-2

                                                          Level of Protection and Monitoring by Task and Contaminant Type

                                                                      Phase 2 Characterization Program, 3M Decatur Facility
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                                                                                                          Minimum Initial Level of Protection
                                                             Vegetation                                                                                Surface-
                                                             Survey &                                  Aquatic          Small         Soil Borings/     Water/
               Potential                                     Sampling               Surface Soils     Sampling                             Well        Sediment   Groundwater
                                                                                                                      Mammal
        Contaminants of Concern                                                      Sampling                                          Installation    Sampling    Sampling
                                                           Geophysical                                                Sampling
                                                             Survey
      For any/all of the                                  Level D/                  Modified        Modified        Level C          Modified Level   Level D     Modified
      contaminants listed below use                       Modified                  Level D         Level D                          D                            Level D
      initial level of protection                         Level D
                                                                                                    Type of Monitoring
      Metals (lead, chromium,                             N                         N                NA             NA               N                N           N
      cadmium, nickel, etc.)
      Solvents (acetone, 1,1-DCE,                         N                         N               NA              NA         N / OVM           N              N
      etc.)                                                                                                                    Detector tubes,
                                                                                                                               as warranted
      BTEX                                             N                 NA              NA                NA                  N / OVM           NA             N
                                                                                                                               Detector tubes,
                                                                                                                               as warranted
      Hantavirus                                       NA                NA              NA                NA                  NA                NA             NA
                          N                  =      No monitoring necessary due to the nature of the activity/matrix and/or levels of contaminants are known to be of low
                                                    concentrations for which Level D/Modified Level D protection is sufficient.
                          NA                 =      Not applicable.
                          BTEX               =      Benzene, toluene, ethylbenzene, and xylene.
                          1,1-DCE            =      1,1-Dichloroethylene.
                          OVM                =      Organic vapor monitor.




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                                                                     LOI Monitoring Wells

                                                 Phase 2 PFOA Characterization Program
                                                             Decatur, AL

               Monitoring Location                                                               Description

        Wells 226R & L                                         Located east of inactive landfill and south of wastewater treatment –
                                                               monitor background conditions in residuum and shallow limestone
                                                               groundwater
        Well 220R and L                                        Located northeast of inactive landfill – monitors predominant flow
                                                               path of plume in residuum and shallow limestone zones
        Well 320L                                              Located north of inactive landfill – monitor secondary flow path of
                                                               plume
        Wells 327R                                             Located in the former incinerator area – monitors residuum
                                                               groundwater near source area

        Wells 310R & 317L                                      Located in the Chemical Plant – monitors dominant groundwater flow
                                                               pathways in the Chemical Plant




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                                                        ACCIDENT PREVENTION PLAN

An important element of the site-specific health and safety program is the implementation of an
accident prevention program. It is essential that the contents of this HASP, as well as the
contents of the accident prevention program, are communicated to all personnel who work at the
site. There are four approaches to preventing accidents considered in this HASP:

              •             Educate personnel as to the requirements of the HASP.

              •             Eliminate unsafe conditions. Efforts must be initiated to identify conditions that
                            can contribute to an accident and to remove exposure to these conditions.

              •             Reduce unsafe acts. Personnel will make a conscious effort to work safely. A
                            high degree of safety awareness must be maintained so that safety factors
                            involved in a task become an integral part of that task.

              •             Frequent inspections. Regular safety inspections of the work site, material,
                            equipment, and operations by qualified persons ensure early detection of unsafe
                            conditions. Health and safety deficiencies will be corrected as soon as possible, or
                            site activities will be suspended.

The following Accident Prevention Plan covers those specific measures personnel will take to
minimize the occurrence of accidents on-site. It was prepared to complement the existing 3M
Decatur RCRA Emergency/Contingency Plan (3M, 1998 as updated and amended), included as
Attachment 6 of this HASP.

4.1 RESPONSIBILITIES

Effective implementation of the Accident Prevention Plan for the Phase 2 characterization
program activities is ultimately the responsibility of each individual working on-site. The Site
Health and Safety Coordinator will be responsible for development of the plan, for its
introduction to all site personnel, and for the day-to-day implementation and enforcement of the
plan. The Field Team Manager and Site Health and Safety Coordinator will maintain a working
knowledge of all aspects of this manual as they pertain to site activities.




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Accidents resulting in any fatality, lost-time injury or illness, hospitalization of three or more
personnel, or property damage to 3M or contractor property (which occurred during the
performance of the contract) must be: (1) reported by telephone to the 3M Field Manager at
(256) 552-6631 and to the WESTON Project Manager at (610) 701-3761 as soon as possible, but
not later than 2 hours after occurrence; and (2) reported in writing within 5 days of occurrence
on the Incident Reporting Form (provided as Attachment 6 of this HASP). All other
accidents/incidents must be reported by telephone to the 3M Field Manager at (256) 552-6631
and to the WESTON Project Manager at (610) 701-3761 within 8 hours of occurrence. The
WESTON Project Manager will immediately notify the 3M Project Director of any
incident/accident. The WESTON Project Manager also will notify the appropriate WESTON
corporate health and safety personnel.

4.2 LOCAL REQUIREMENTS

Site activities will be conducted in accordance with applicable 3M requirements. Contractors
will obtain permits in accordance with 3M regulations related to temporary construction
facilities, the placing of temporary mobile offices, and temporary utility connections. Contractors
must also follow 3M specifications for installation and use of same. Specific contractor safety
requirements for the 3M Decatur facility are provided in Attachment 4. These site-specific
requirements include general safety, permitting, and equipment and vehicle use, as well as safety
procedures covering contractor related tasks.

4.3 WESTON SUBCONTRACTOR CONTROL

All WESTON subcontracted work performed at the site will be conducted under the expressed
direction of the Field Team Leader. In this manner, all subcontractor personnel will adhere to the
same strict safety provisions enforced for all on-site personnel. In addition, all site personnel
(including subcontractors) will receive a complete introduction to the safety procedures
established for site activities. This training is further outlined in Section 5.




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4.4 TEMPORARY FACILITIES

Existing temporary construction facilities (offices, sanitary, etc.) have been laid out in
accordance with good housekeeping and construction practices (FLD 12). Subcontractor plans
will be reviewed and approved by the Field Team Manager prior to implementation.

4.5 TRAINING

Initial health and safety indoctrination, visitor health and safety training, and any additional
training will be the responsibility of the Site Health and Safety Coordinator. The Site Health and
Safety Coordinator will maintain a record of training attendance in the Field Logbook. Specific
training requirements are included in Section 5.

4.6 TRAFFIC CONTROL

Vehicular traffic will be directed when necessary to avoid entering operational areas or to avoid
posing a danger to site personnel. Traffic-control items (i.e., signs, cones, and barricades) will be
of standard design and placed in a manner that will not cause confusion. On-site personnel will
obey all road signs and posted speed limits (FLDs 11, 20, and 22).

4.7 MAINTENANCE/SITE HOUSEKEEPING

Good housekeeping will be maintained on-site at all times to ensure safe access to all site areas,
as well as safe egress from the site. The Site Health and Safety Coordinator will assign
individuals to the task of housekeeping to ensure cleanup at the end of each work shift (FLD 12).

4.8 EMERGENCIES

Section 11 of this HASP details the procedure for handling all fires and emergencies that the Site
Health and Safety Coordinator decides cannot be handled safely by site personnel. Emergency
telephone numbers for assistance will be posted by each telephone and can also be found in
Section 11 of this HASP.




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4.9 JOB SITE INSPECTION

A job site inspection will be the responsibility of the Site Health and Safety Coordinator. The
inspection will be conducted regularly and will ensure that site conditions are in compliance with
the HASP. Appendix C contains the checklist to be used during an inspection. The Site Health
and Safety Coordinator will maintain a record of the inspection and findings in the Field
Logbook.

4.10 ACCIDENT INVESTIGATION

All minor accidents (i.e., small fires, injuries, and small spills), and especially near-misses, will
be investigated by the Site Health and Safety Coordinator. Accidents requiring hospitalization
will be investigated by the Field Team Manager/Project Health and Safety Manager.

An accident investigation will consist of reviewing the accident/incident report, questioning the
employee(s) involved, as well as questioning all other personnel witnessing the occurrence,
identifying all contributing acts and conditions, determining underlying reasons for their
existence or occurrence, and implementing corrective actions. A report documenting the
investigation will be written by the Site Health and Safety Coordinator and reviewed by the Field
Team Manager/Project Health and Safety Manager and WESTON Project Manager.
Recommendations for accident prevention also will be made in the report and communicated to
all site personnel during the periodic training sessions. A copy of an Incident Reporting Form is
contained in Attachment 7.

In addition, all accidents will be reported to 3M’s Fire Protection Division and Safety Office, the
3M Project Director, and the 3M Decatur Safety Officer. Accidents involving spills will be
reported to 3M’s Field Manager.

4.11 TEMPORARY POWER SYSTEMS

All temporary wiring will be secured overhead with adequate clearance to prevent accidental
contact by personnel or equipment.




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Temporary electrical distribution systems and devices will be checked and accepted for polarity,
ground continuity, and ground resistance prior to initial use and prior to use after modification in
accordance with OSHA 1926 Subpart K. All electrical systems will be equipped with GFCIs.

Extension cord sets will be of a type listed by Underwriters Laboratories (UL). Flexible cord sets
used on construction sites will contain the number of conductors required for the service, plus an
equipment ground wire.

Portable electric lighting used in hazardous locations will be operated at a maximum of 12 volts
(V). Exposed empty light sockets and broken bulbs will not be permitted. In addition, all power
systems must be approved by the 3M Field Manager (FLDs 34 and 35).

4.12 SAFE CLEARANCE PROCEDURES (LOCK-OUT/TAG-OUT)

Procedures for safe clearance that will be followed are taken from WESTON FLD 42, and are as
follows:

              •             The safe clearance procedure will be followed in securing electrical systems,
                            machinery, pressure systems, and rotating equipment. Power will be turned off,
                            tagged, and locked in the open position at the master switch or main breaker.
                            Gears, agitators, or transmissions will be mechanically locked out or
                            disconnected. Padlocks will be used wherever possible, with the person working
                            on the equipment in possession of the key.

              •             A safe clearance procedure will be required on all systems and equipment if
                            unauthorized removal or return to service could result in injury, damage, loss of
                            content, loss of protection, or loss of operating capability.

In addition, the requirements of OSHA's lock-out/tag-out standard (29 CFR 1910.147) will be
met. All persons performing or affected by lock-out/tag-out must be properly trained. Where the
two documents are inconsistent, the requirements of the more stringent will be followed.

4.13 OFFICE TRAILER ANCHORING SYSTEM

All trailers or other temporary structures used as field offices or to house personnel will be
anchored with rods and cables to provide a stable, safe working environment.




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4.14 WEATHER-RELATED CONTINGENCY PLAN

Weather will be considered in safety planning. The Site Health and Safety Coordinator will
decide on the continuation or discontinuation of work based on current and pending weather
conditions. Electrical storms, tornado warnings, extreme heat, ice storms, or strong winds are
examples of conditions that would call for the discontinuance of work. A telephone will be
available on-site to enable easy access to weather service information (FLD 02).

4.15 ACTIVITY HAZARDS ANALYSIS

Section 3 of this HASP presents an activity hazard analysis for each task of the Phase 2
characterization program activities.

4.16 HAZARD COMMUNICATION

The primary requirements of the project hazard communication program are the accumulation
and availability of MSDSs, container labeling, and employee training.

MSDSs will be brought on-site for each hazardous material used during the completion of this
project. The MSDSs will be provided in the site HASP under the custodianship of the Site
Health and Safety Coordinator. MSDSs also will be provided to the 3M Field Manager.

This HASP for site operations serves the purpose of the MSDSs for contaminants present in each
work area. The purpose of this procedure is to ensure that WESTON and subcontractor personnel
working with hazardous materials are made aware of the hazards associated with the materials
and to conform with the Hazard Communication Standard (29 CFR 1910.1200).

All containers of hazardous materials subject to 29 CFR 1910.1200 must be labeled in
accordance with the standard. Manufacturer's, importer's, or distributor's existing labels may be
used, provided the information is correct and sufficient.

Labels affixed to or close to containers of hazardous materials must accomplish the following:

              •             Identify the material using a name with which workers are familiar.




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              •             Identify the hazards associated with the material, including toxicity information,
                            which indicates symptoms and target organs.

              •             Contain the name, address, and telephone number of the manufacturer, importer,
                            or distributor where more information may be obtained.

Labels must not conflict with Hazardous Materials Transportation Act (HMTA) labeling
requirements and must meet the requirements of OSHA substance-specific health standards if
such regulated substances are present.

Labels are not required on portable containers filled from a correctly labeled container if only the
worker filling the container uses the material from that container immediately.

Required labels on containers must never be defaced or removed unless immediately replaced by
an appropriate correctly prepared label.

Subcontractors will be formally notified of the presence of any hazardous substances used on
this project site. Subcontractors must also provide proof of a Hazard Communication Program
and must inform WESTON of any hazardous substances used in their work for WESTON, have
appropriate MSDSs on-site, and have containers correctly labeled.

If necessary, the Field Team Leader/Site Health and Safety Coordinator will also be responsible
for ensuring that 3M provides hazard communication information to WESTON and
subcontractor employees when working where exposure to hazardous substances subject to this
section are present.

Training requirements are discussed in Section 5.




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                                                                               SECTION 5

                                                                               TRAINING

On-site personnel engaged in the Phase 2 characterization program activities will be trained in
accordance with the requirements of 29 CFR 1910.120 (Hazardous Waste Operations and
Emergency Response [HAZWOPER]) and 29 CFR 1910.1200 (Hazard Communication) because
these requirements pertain to their role, function, and activities on-site. Personnel will provide
written certification to the Project Health and Safety Manager that the required training has been
received prior to engaging in on-site activities. Documentation of training (i.e., 40-hour, 8-hour,
respiratory fit testing, cardiopulmonary resuscitation [CPR]/first aid, etc.) will be maintained on-site
and managed by the Site Health and Safety Coordinator. Specific training requirements are
discussed in the following subsections.

5.1 PREASSIGNMENT TRAINING

5.1.1 Off-Site Training

All personnel assigned to, or regularly entering, areas of the site other than the support zone for the
purpose of performing or supervising work; for health, safety, security, or administrative purposes;
for maintenance; or for any other site-related function, will be trained in compliance with the health
and safety training requirements of 29 CFR 1910.120(e). Prior to beginning work on-site, the
training will be consistent with their job functions and responsibilities.

Training will consist of a minimum of 40 hours of initial instruction covering the specific subjects
outlined in 29 CFR 1910.120(e). All personnel will receive a minimum of 8 additional hours of off-
site refresher training each year, which will include bloodborne pathogens training. In addition,
supervisory personnel will have a minimum of 8 hours of additional specialized training on
managing hazardous waste operations. The Site Health and Safety Coordinator will have a minimum
of 8 hours of initial medical first aid training (first aid/CPR) and an additional 4 hours (minimum) of
such training every 2 years.




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5.1.2 Site-Specific Training

All personnel assigned to the site will complete one site-specific training session. The Site Health
and Safety Coordinator will verify that they are capable of, and familiar with, the use and care of
safety, respiratory, and protective equipment, and with site control, decontamination, emergency,
safety, security procedures, and hazard communication required for this site. The HASP will be
discussed during this training conducted by the Site Health and Safety Coordinator.

5.2 PERIODIC TRAINING

Daily safety briefings, including discussion of operational problems and compliance with the site-
specific HASP, will be conducted by the Site Health and Safety Coordinator for all personnel
assigned to work at the site. If an operational change affecting on-site field work is made a meeting
prior to implementation of the change will be convened to explain health and safety procedures.

5.3 VISITORS

Visitors to the site will receive a briefing on site safety issues. These visitors will not be permitted in
the exclusion zone unless they have been trained in accordance with Subsection 5.1.1 of this HASP,
have been fit-tested (if required), have been medically approved, and can provide written
certification to the Site Health and Safety Coordinator.




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                                                                               SECTION 6

                                               PERSONAL PROTECTIVE EQUIPMENT

6.1 REQUIRED LEVELS OF PROTECTION AND ACTION LEVELS

Levels of protection (LOPs), as defined by EPA Standard Operating Safety Guides, have been
designated on a task-by-task basis. The initial LOP for each task will be as specified in Table 3-2
or as specified by the Site Health and Safety Coordinator. The required PPE for each LOP is
presented in Attachment 8. These LOPs may be downgraded or upgraded by the Site Health and
Safety Coordinator after consulting with the Project Health and Safety Manager and will be
based on the measurement of organic vapor levels with a portable photoionization detector (PID)
(an organic vapor monitor [OVM], or HNu®) as specified for each task in Tables 4-1 (see
Section 4 of the Phase 2 Work Plan) and 3-2 (see Section 3 of this plan). All air monitoring will
be conducted in breathing zone locations. Because the PID devices are not compound-specific,
action levels (ALs) for upgrading and downgrading protective equipment have been developed
based on chemical contaminant exposure guidelines and instrument responses. The ALs are
presented in Table 6-1. The general concepts of the air-monitoring program, including the
determination of background levels, are provided in Section 8 of this HASP.

In addition to the use of PPE, site control measures designed to minimize contamination of
personnel, including an exclusion zone (EZ) and support zone (SZ), will be utilized to protect
personnel during performance of the Phase 2 characterization program. The site control measures
are presented in Section 9 of this HASP.

Based on the trace concentrations of contaminants of concerns presented in Table 3-1 and the
nature and location of the Phase 2 characterization field activities, Level D/Modified Level D
protection can be worn during the initiation of each site activity as specified in Table 3-2.
However, field observations (visual and/or olfactory indicators) assessed with an air monitoring
instruments (discussed above) may indicate that an upgrade to a higher LOP is warranted.

In the LOI well locations where benzene has been found at low concentrations (maximum
concentration of 0.52 ppb in soil at depth of 29 to 31 feet below ground surface (bgs) and 0.021


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ppb in groundwater), the following guidelines will be used as a strategy for air monitoring and
upgrading LOPs. Based on historical data, the source of benzene, if any is detected, is expected
to be from gasoline or fuel oil. The ALs listed in Table 6-1 will be utilized to make the LOP
decisions. Level D/Modified Level D protection is acceptable if OVM instrument levels do not
exceed 5 units above the background level. Background level measurement guidance is provided
in Section 8 of this HASP. If the OVM reading exceeds and sustains a level of 5 units over
background, the field team will evacuate the EZ and allow the area to ventilate. The team will re-
enter the EZ with a detector tube (e.g., Dräeger, MSA) to determine if benzene is present. The
colorimetric detector tube must be sensitive to 0.5 ppm of benzene. The team will re-enter the
EZ from the upwind direction, taking measurements in the breathing zone with the OVM and
detector tube.

If benzene is not detected above 0.5 ppm with the detector tube, then work can proceed in Level
D protection. However, if benzene is detected at a concentration exceeding 0.5 ppm, the
sampling team will upgrade to Level C and begin to monitor the air with the colorimetric tubes
on a regular schedule. Readings will be taken, and documented in the Field Logbook, at 30-
minute intervals (or more frequently) during periods of employee exposure. Once levels decrease
to consistent readings below 0.5 ppm, a downgrade back to Level D/Modified Level D can be
made by the Site Health and Safety Coordinator, or his designee. For Level C operations, a full-
face, air-purifying respirator will be used. Cartridges will be changed at the end of the service
life (as designated by the manufacturer), not to exceed 4-hour periods. Based on historical data,
Level C or B protection is not expected to be required for Phase 2 characterization program field
work as a result of benzene exposure. Additionally, based on historical information, benzene is
not a potential concern in the former sludge application area.

In areas where solvents are a potential contaminant of concern, the following guidelines will be
used as a strategy for air monitoring and upgrading LOPs. The ALs listed in Table 6-1 will be
utilized to make the LOP decisions. Similar to areas where benzene is a potential concern, Level
D/Modified Level D protection is acceptable if OVM instrument levels do not exceed 5 units
above the background level. If the OVM reading exceeds and sustains a level of 5 units over
background, the field team will evacuate the EZ and allow the area to ventilate. The team will re-


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enter the EZ with a detector tube (e.g., Dräeger, MSA) to determine if vinyl chloride or 1,1-DCE
is present. The colorimetric detector tube must be sensitive to 0.5 ppm of vinyl chloride (this
tube is sensitive to 1,1-DCE also). The team will re-enter the EZ from the upwind direction
taking measurements in the breathing zone with the OVM and detector tube.

If the vinyl chloride detector tubes do not exceed 0.5 ppm, then work can proceed in Level D
protection. However, if the detector measures a concentration exceeding 0.5 ppm, the sampling
team will upgrade to Level C and begin to monitor the air with the colorimetric tubes on a
regular schedule. Readings will be taken, and documented in the Field Logbook, at 30-minute
intervals (or more frequently) during periods of employee exposure. Once levels decrease to
consistent readings below 0.5 ppm, a downgrade back to Level D/Modified Level D can be made
by the Site Health and Safety Coordinator, or his designee. Based on historical data, Level C or
B protection is not expected to be required for Phase 2 characterization program field work as a
result of solvent exposure. Additionally, based on historical information, benzene is not a
potential concern in the former sludge application area.

The direct solvent OVM AL is based on 1,1-DCE, which has a permissible exposure limit (PEL)
of 5 ppm. The AL listed in Table 6-1 (>5 units above background) will be used for upgrading to
Level C based directly on the OVM readings and not through the use of detector tubes.

Determining the ALs by this method provides a conservative and protective approach to PPE
LOP upgrades and downgrades. WESTON will implement a conservative approach to setting
PPE requirements and ALs for PPE upgrades and downgrades based on breathing zone
conditions. A worker’s breathing zone for this project will be the lowest vertical space where
personnel are breathing. This approach is in accordance with industry standards and will account
for unanticipated compounds (stressors) that may be encountered during intrusive activities.

6.2 PROTECTIVE EQUIPMENT

The use of PPE will be in compliance with 29 CFR 1910 Subpart I. Personnel using respirators
will have written certification of medical fitness and proof of training prior to initiating site
operations.



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Modified Level D or Level D protection is cited for the beginning of each task as specified in
Table 3-2. Where airborne concentrations of contaminants indicate the need for an upgrade in
the LOP to Level C, employees will use a NIOSH-approved, full-face, air-purifying respirator
and other equipment cited in Attachment 1 of this HASP. The respirators will be supplied with
NIOSH-approved combination cartridges for organic vapors, dusts, and fumes. For areas where
vinyl chloride requires an upgrade in the LOP, NIOSH-approved cartridges for vinyl chloride
will be used.

As indicated in Table 6-1, based on the conditions, the LOP may be upgraded to Level C or
Level B. The criteria for the change from Level C to Level B will be the concentrations of
contaminants and the type of respiratory protection required. Specifically, while the protective
clothing (i.e., gloves and boots) is the same for Levels C and B, Level B requires the use of a
self-contained breathing apparatus (SCBA).

6.3 WORK PRACTICES

As required by 29 CFR 1910 Subpart I, the use of a respirator by personnel with facial hair that
obstructs the seal between the respirator and the face will not be permitted. Personnel who must
use respirators will report to the site with clean-shaven faces.

Good hygiene will be practiced by all site personnel. This includes the following:

              •             Eating, drinking, and smoking in the EZ will not be permitted.
              •             Changing from work clothes into street clothes at the end of the workday.

In general, work practices will be in accordance with the EPA Standard Operating Safety Guides
and all 3M health and safety contractor requirements as provided in Attachment 4.

6.4 SAFETY MEETINGS

The Site Health and Safety Coordinator will conduct a safety meeting prior to initiating the
scheduled activities and at the beginning of each day. The safety meeting will, at a minimum,
include topics such as the following:




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              •             Evacuation routes.
              •             Warning signals.
              •             Maintaining line-of-sight and communications.
              •             Rehearsal of the scheduled activities.
              •             Hospital routes.
              •             Locations of safety equipment.
              •             Previous violations of the safety plan.
              •             Cold stress and heat stress provisions.
              •             Work zones.
              •             Site conditions.

All safety meetings will be documented in the Field Logbook. Meeting participants will be
required to sign an attendance sheet.

In the event air quality readings indicate that upgraded respiratory protection is warranted, the
Site Health and Safety Coordinator will conduct a safety briefing regarding the upgrade. The Site
Health and Safety Coordinator also will conduct safety briefings daily if repeated violations of
this plan are observed.

6.5 RESPIRATORY FIT TESTING

Site participants qualified for respirator use will demonstrate to the Site Health and Safety
Coordinator that they have been fit-tested in the past year. Fit-testing will be performed in
accordance with OSHA’s Respiratory Protection Standard provided in 29 CFR 1910.134.

6.6 MODIFICATIONS TO LOPs

Designated LOPs will be upgraded as described in Subsection 6.1. Whenever the Site Health and
Safety Coordinator implements an upgrade, the WESTON Field Team Manager/Project Health
and Safety Manager, WESTON Project Manager, and 3M Field Manager/Safety Officer will be
notified.

Modifications to the LOP will be recorded in the Field Logbook. A memorandum explaining the
upgrade will be prepared by the Site Health and Safety Coordinator for inclusion in the project
files and provided to the 3M Project Director for review.




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                                                                                    Table 6-1

                                                      Action Levels,
                                  Phase 2 Characterization Program, 3M Decatur Facility,
                                                       Decatur, AL

                                                                                                Instrument Readings
                                                                                                  (Breathing Zone)         Action/Levels of
                        Direct-Reading Instrument                                                     (units)a                  PPE

PID/OVM                                                                                      <5 units above backgroundb   D
(solvent/benzene areas specified in Tables 3-1 and 3-2
                                                                                             >5 units above background    Use detector tubes
                                                                                             >5 units above background    C
Detector tubes: Benzene                                                                      < 0.5 ppm                    D
(tasks specified in Tables 4-1 and 3-2)
                                                                                             >0.5 ppm                     C
Detector tubes: Vinyl chloride; 1,1-dichloroethylene                                         <0.5 ppm                     D
(tasks specified in Tables 4-1 and 3-2)
                                                                                             >0.5 ppm                     C
a
  Actual concentrations for the OVM are measured as “instrument response units.” This instrument only measures in
  units of ppm if its response to a material’s airborne concentration is 100%. The detector tube units are in ppm as
  noted.
b
  If the OVM levels exceed 5 units above background, detector tubes are to be used to measure for vinyl chloride,
  1,1-DCE, and benzene. If these compounds are detected above 0.5 ppm in the breathing zone, Level C will be
  used.




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                                                                               SECTION 7

                                                             MEDICAL SURVEILLANCE

On-site personnel will participate in a medical surveillance program equivalent to the requirements
specified in 29 CFR 1910.120(f) and American National Standards Institute (ANSI) Z-88.3. The
examination will include the following:

              •             Complete medical and work histories.
              •             Physical examination.
              •             Pulmonary function tests (FVC and FEV1).
              •             Chest X-ray (every 2 years) with a "B" reading.
              •             Visual acuity.
              •             Audiometry.
              •             Urinalysis.
              •             Blood chemistry, including hematology and serum analyses.

The examination protocols and the evaluation of results will be overseen by a licensed physician
certified in occupational medicine by the American Board of Preventive Medicine or a licensed
physician who, by required training and experience, is board-eligible. Records of the examinations
will be retained by the employer for at least 30 years after the end of the employment period.

Personnel and visitors entering the EZ will be required to provide written documentation to the Site
Health and Safety Coordinator that the required medical examinations have been performed
(baseline and annual). This documentation will be maintained in the project files in the field office
trailer.

A medical examination will be given to any individual who experiences any illness or injury while
on the job. Tests will be administered at the discretion of the attending physician. This examination
will take place as soon as possible after the illness or injury, and in no case will personnel be allowed
to start work at the site without first obtaining clearance to return to full work duties from the
examining physician.




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                                                                               SECTION 8

                                                                      AIR MONITORING

This section explains the general concepts of an air monitoring and sampling program and specifies
the surveillance activities to be performed during the Phase 2 characterization program tasks.

The purpose of air monitoring is to identify and quantify airborne contaminants in order to determine
and verify the level of worker protection needed (Section 6), and to document the level of airborne
contaminants at the site. Two principal approaches are available for identifying and quantifying
concentrations of airborne contaminants:

              •             The use of direct-reading instruments (“monitoring”).
              •             The collection of samples followed by laboratory analysis (“sampling”).
The collection of samples for laboratory analysis is not warranted in support of the Phase 2
characterization activities.

8.1 DIRECT-READING INSTRUMENT MEASUREMENTS

Monitoring will be conducted using the following direct-reading instruments as specified for
particular tasks/contaminants of concern specified in Tables 3-1 and 3-2:

              •             OVM with a 10.6-electron volt (eV) lamp for VOCs.

The OVM has been selected because of the instrument’s ability to detect a wide range of VOCs with
ionization potentials (IPs) equal to or less than the IP of the source lamp.

The results obtained with the OVM will be compared to the ALs described in Section 6 of this
HASP and the appropriate measures will be taken. Personnel performing monitoring will be trained
in the use of air-monitoring equipment as part of the off-site training.

The direct-reading instruments will be calibrated according to manufacturer’s instructions prior to
field use. Recalibration of the instruments will be performed pre- and post-sampling each day that
the instrument is used. The initial calibration will be recorded in the instrument logbook. Daily
calibration checks, areas where used, instrument settings, and readings obtained will be recorded in


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the Field Logbook. The battery in each unit will be recharged after use to maintain a good charge.
Specific calibration procedures are provided by the manufacturer with the instrument.

Because background VOC levels at the 3M Decatur, AL, facility can range from nondetectable to
5.0 ppm, background VOC data will be obtained with an OVM, as described in Section 3.

At a minimum, daily background readings will be made upwind from each sampling location/area of
investigation and recorded in the project Field Logbook. However, more frequent monitoring for
background levels may be required. Several independent and uncontrollable variables, most notably
temperature and weather conditions, can affect the concentrations of airborne compounds. Other
variables include wind speed, rainfall, moisture, vapor emissions, and work activities (mechanical
disturbance of materials). These factors must be considered when measuring background levels. If
changes in these variables are observed in the field, background readings will be retaken to ensure
that the proper upgrades/downgrades in LOPs are made.

After valid background data are obtained, reliable decisions can be made regarding upgrades and
downgrades in worker PPE.

During performance of applicable tasks, as discussed in Section 3, the levels of organic vapors will
be measured in employees’ breathing zones several times during the shift using the direct-reading
instrument (OVM). The specific frequency of the monitoring will vary, with monitoring performed
more frequently during operations having a greater potential for exposure.

The results of this air monitoring will be compared to the ALs in Table 6-1, and a decision on
changing the LOP will be made by the Site Health and Safety Coordinator, or his designee. All
changes in LOP will be made in accordance with the requirements presented in Section 6 of this
HASP.

As indicated, measurements of airborne total dust concentrations will not be performed. As
discussed in Section 3, dust generation is not expected to pose a health and safety concern, and can
be readily addressed with conventional measures.




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                                                                               SECTION 9

                                                                         SITE CONTROL

Personnel will be knowledgeable in site control measures designed to minimize contamination of
personnel and the spread of contamination outside the EZ. These measures are designed to control
contamination through defining the work zones and establishing decontamination procedures. The
following discussion defines the different work zones in general and describes their purpose:

              •             Exclusion zone (EZ)—The area known or suspected of being contaminated or
                            containing uncontrolled hazardous materials.

              •             Support zone (SZ)—The area outside the EZ used for project management and
                            coordination, and for storage of equipment and vehicles.

The EZ will be established to include the field investigation location, including any areas where soil
or sediment sampling may occur. Access to the EZ will be restricted to the authorized field team and
support personnel. Equipment, sampling devices, and other field gear will be decontaminated prior
to removal from the EZ.

The SZ will be located near, but upwind of, the work site to minimize potential exposures to site-
associated contaminants. It will be positioned and sized to provide adequate space for the staging
and support activities.

Communications will be established and maintained during site activities. A telephone or cellular
telephone will be easily accessible to site personnel.

3M provides normal security 24 hours/day for the plant, including access roads and active plant
areas. During working hours, WESTON will control access to the work locations to restrict
unauthorized access. If unauthorized (i.e., untrained and not medically qualified) individuals enter a
work area, operations will be halted until the person has been escorted from the work area and
informed of the work area hazards.




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                                                                              SECTION 10

                               PERSONNEL AND EQUIPMENT DECONTAMINATION

Personnel will be aware of the procedures used to decontaminate EZ personnel, equipment, and
sampling containers. Disposable PPE and other items will be placed in heavy-duty plastic bags
and properly disposed of. Specific decontamination procedures are presented in the following
subsections.

10.1 PERSONNEL PROCEDURES

10.1.1 Level C Personnel Decontamination

              •             Step 1: Equipment drop (if any is used).
              •             Step 2: Remove boot covers; place in disposables container.
              •             Step 3: Remove outer gloves; place in disposables container.
              •             Step 4: Remove protective clothing; place in disposables container.
              •             Step 5: Wash inner surgical gloves.
              •             Step 6: Remove respirator; sanitize prior to reuse.
              •             Step 7: Remove inner gloves; place in disposables container.
              •             Step 8: Wash and rinse hands.

10.1.2 Level D and Modified Level D Personnel Decontamination

              •             Step 1: Equipment drop (if any is used).
              •             Step 2: Remove boot covers (if worn); place in disposables container.
              •             Step 3: Remove outer gloves; place in disposables container.
              •             Step 4: Remove coverall (if worn); place in disposables container.
              •             Step 5: Remove inner gloves (if worn); place in disposables container.
              •             Step 6: Wash and rinse hands.

10.2 EQUIPMENT DECONTAMINATION

Because equipment and vehicle (i.e., drilling) decontamination is difficult, unnecessary
equipment and vehicles will not be brought into the EZ and dedicated and disposable sampling
equipment will be used to the extent practicable.




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A standard operating procedure which will be employed at the site regarding decontamination of
equipment potential exposed to PFOA is provided in Appendix C of the Phase 2 Work Plan.

10.3 SAMPLE CONTAINER DECONTAMINATION

Sample containers will be laboratory-prepared, precleaned containers. Following sample
collection and closure of the container, the outside of the container will be wiped clean. The
sample containers will then be placed into shipping containers and sealed for shipment. A
notation to laboratory personnel of potential container contents will be included with the chain-
of-custody (COC) sheets.




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                                                                              SECTION 11

       FIRST AID AND EMERGENCY RESPONSE EQUIPMENT AND PROCEDURES

Although accidents can be minimized through safe work practices, there is always the potential for
their occurrence. Site personnel will be familiar with the various contingency measures should an
accident occur. At least one person will be CPR/first-aid trained and on-site at all times for activities
covered by this HASP. This section presents a list of emergency telephone numbers, directions to
the local hospital, and Emergency Response Plan (ERP) conforming to the requirements of 29 CFR
1910.120. The provisions of the Emergency Response Plan are primarily applicable to large-scale
emergencies that cannot be handled safely by the contractor procedures and work practices
discussed in previous sections of this HASP. This section has been prepared using the 3M Decatur
RCRA Emergency/Contingency Plan (3M, 1998), which is included in its entirety as Attachment 6.

11.1 EMERGENCY TELEPHONE NUMBERS

Table 11-1 lists important emergency telephone numbers. These numbers will be posted near
telephones close to the site.

11.2 ROUTE TO HOSPITAL

Injured personnel will be taken to Parkway Medical Center located at 1874 Beltline Road, Decatur,
AL. The hospital is approximately 7 miles away with a travel time of 15 minutes. Directions to the
hospital are as follows:

              •             Exit facility to Joe Wheeler Highway (Highway 20/Alternate 72).
              •             Head east, make left onto Beltline Road (Highway 67).
              •             Go south approximately 3.5 miles.
              •             The hospital is on the left near McDonald’s.

A map showing the route to the hospital can be found in Attachment 9 of this HASP.




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11.3 EMERGENCY RESPONSE PLAN

11.3.1 Pre-Emergency Planning and Coordination with Outside Parties

Prior to beginning the site investigation activities, the following individuals/groups will be made
aware of site activities:

              •             3M Field Manager/Safety Officer: Phillip Wirey, (256) 552-6631.
              •             3M Security (24 hours): (612) 733-6100.
              •             3M Emergency Response Personnel: 6111.

The 3M Field Manager will be provided with a copy of the HASP and a schedule of activities, and
3M security and emergency response personnel will be briefed on the work scope. This action will
ensure that 3M Decatur emergency response mechanisms are aware of the investigation activities
and are ready to respond if conditions warrant.

Site personnel will be made fully aware of the provisions of the Emergency Response Plan. This
awareness training will be conducted by the Site Health and Safety Coordinator prior to the
commencement of site activities during the site-specific training. Emergency telephone numbers will
be posted at all of the telephone locations surrounding the areas of investigation. A list of emergency
telephone numbers is included in Table 11-1, and will be included with all project cellular phones.

11.3.2 Personnel Roles, Lines of Authority, and Communication

Personnel witnessing an accident become the first step in the emergency response cascade. These
individuals will find the nearest telephone, and dial 6111 (dial 911 if off-site). Once contact is made,
witnessing personnel will remain on the telephone line to provide the responding 3M Decatur
elements with additional data. In no case will witnessing personnel attempt to fight a major fire,
conduct a rescue in an unsafe environment, or conduct a cleanup of a major spill.




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11.3.3 Emergency Recognition and Prevention

Recognition and prevention of emergency conditions are duties of every individual on-site. While
the objective of the HASP is to provide site personnel with the necessary information to prevent
emergencies from arising, the basic principles of emergency recognition will be initially covered
during the 40-hour training required by 29 CFR 1910.120 and reviewed during the off-site training,
site-specific training, and follow-up training.

11.3.4 Safe Distances and Places of Refuge

Prior to the commencement of each site activity, the Site Health and Safety Coordinator will select a
location, at an appropriate distance from the activity, where personnel can gather in the event of an
emergency evacuation of a site. This location will be pointed out to site personnel during the site-
specific training. This refuge may change depending on weather and the job activity. The Site Health
and Safety Coordinator will ensure that all personnel are made aware of any changes.

During accidents involving a fire or spill of potentially explosive materials, site personnel will turn
off any operating equipment and evacuate a site by the nearest means of egress. Because in
emergency situations speed is often of the greatest importance, personnel in the EZ need not go
through a formal decontamination. Once they arrive at a safe location, a formal decontamination can
be undertaken. The Site Health and Safety Coordinator also is responsible for notifying other
contractors in the event of an accident or spill that may impact them.

11.3.5 Site Security and Control

In the event of a fire, explosion, or major chemical spill, site security and control functions will be
assumed by 3M Decatur’s responding elements, and assisted by WESTON, as necessary.

11.3.6 Evacuation Routes and Procedures

As discussed in Subsection 11.1, personnel will exit a site by the nearest means of egress during
accidents requiring evacuation. Once off-site, personnel will assemble at a location designated by the
Site Health and Safety Coordinator and be counted. Any missing personnel will be brought to the
attention of the responding 3M Decatur entities.


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11.3.7 Decontamination Procedures

During accidents involving injury to personnel inside the EZ, a decision will be made by the Site
Health and Safety Coordinator as to whether or not an individual's injury allows for formal
decontamination, as outlined in Section 10. If the injury is minor, the individual will undergo formal
decontamination. If the injury is major or life-threatening, the individual will be transported to the
hospital. Hospital and ambulance personnel will be informed that the individual may be potentially
contaminated so that appropriate measures can be taken to prevent cross-contamination.

11.3.8 Emergency Medical Treatment and First Aid

During site activities, at least one individual certified in first aid/CPR will be present at all times.
During an accident involving an injury to site personnel, this individual will not attempt emergency
medical procedures other than first aid/CPR unless specifically directed by a licensed physician.

11.3.9 Emergency Alerting and Response Procedures

As discussed in Subsection 11.1, emergency telephone numbers will be located at a telephone near
the investigation areas. In the event of an emergency, witnessing personnel will contact the
appropriate 3M Decatur responding element. 3M Decatur responding elements will then assume
control of the incident and institute response procedures. In no case will site personnel attempt to
assist in the response by fighting a major fire, conducting a rescue in an unsafe environment, or
conducting a cleanup of a major spill. Site personnel will provide assistance to responding entities as
necessary.

11.3.10 Critique of Response and Followup

Following an accident involving an injury to site personnel, the Site Health and Safety Coordinator
will prepare an incident report using the Notification of Incident Form included in Attachment 7.
The report will be submitted to the WESTON Project Manager, WESTON Regional Safety Officer,
3M Project Director, 3M Field Manager/Safety Officer, and the WESTON Field Team
Manager/Project Health and Safety Manager for review. A copy will be kept in the project file.




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                                                                                    Table 11-1

                                              Emergency Telephone Numbers,
                                   Phase 2 Characterization Program, 3M Decatur Facility,
                                                        Decatur, AL
                              Incident                                                            Contact                   Telephone Number
All Emergencies:                                                                    Plant Emergency Number (on-site)              6111
                                                                                    Emergency System Activation (off-              911
                                                                                    site)
                                                                                    3M Corporate Security (24 hours)          (612) 733-6100

                                                                    Additional Phone Numbers
            Organization/Position                                                       Contact                             Telephone Number
3M:
 On-site Field Manager/Safety Officer                                               Primary: Phillip Wirey                 Plant: (256) 552-6631
                                                                                                                           Home: (256) 351-0629
                                                                                    Secondary: Don Swanner                 Plant: (256) 552-6060
                                                                                                                           Home: (256) 773-5512
 Project Director                                                                   Michael Santoro                           (651) 733-6374
WESTON:
 Project Manager                                                                    Jaisimha Kesari                           (610) 701-3761
 Field Team Manager/Project Health and Safety                                       Timothy Frinak                            (334) 887-0653
 Manager (PHSM)
 Site Health and Safety Coordinator (SHSC)                                          Charles T. Young                           (610) 701-3787
MISCELLANEOUS:
 Decatur Fire Department                                                            NA                                        (256) 353-4141
 Decatur General Hospital                                                           NA                                        (256) 340-5140
 Decatur Police Department                                                          NA                                        (256) 353-2515
 Morgan County Sheriff                                                              NA                                        (256) 778-6100
 Morgan County EMA                                                                  NA                                        (256) 351-4620
 Poison Control                                                                     NA                                        (800) 292-6678
 Suburban Ambulance                                                                 NA                                        (256) 355-3844
 Alabama Emergency Response Commission                                              NA                                        (800) 843-0699
 U.S. Coast Guard, National Response Center                                         NA                                        (800) 424-8802

Notes:
Plant Name:         3M Decatur Plant
Plant Address:      State Docks Road
                    P.O. Box 2206
                    Decatur, AL 35609-2206
EPA ID No.          ALDOO4023164
*All fires, spills, and other emergencies will be reported to the Decatur Plant emergency phone number, 6111, and
 then to 3M Corporate Security for assistance (if needed). 3M personnel will then notify appropriate staff groups
 (Environmental Technologies [ET&S], Safety, Transportation, Industrial Hygiene, Toxicology, etc.) for assistance.
 ET&S or site personnel will notify state and federal agencies and contact outside contractors for cleanup, if
 needed, according to 3M procedures.




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                                                                              SECTION 12

              STANDARD OPERATING PROCEDURES, ENGINEERING CONTROLS,
                              AND WORK PRACTICES

Personnel will be aware of the proper procedures and work practices to follow in order to protect
themselves from the specific chemical, safety, and biological hazards associated with the site
activities. Specific “safe-work” procedures are discussed in the following subsections.

12.1 BUDDY SYSTEM

The “buddy system” ensures that no individual may enter the EZ without another individual being
present. The logic behind the buddy system is that should one individual have an accident, another
individual is always present to render assistance or obtain emergency assistance. During Level C and
D activities, the minimum number of personnel in the EZ will be two. One of these individuals will
be the Site Health and Safety Coordinator.

12.2 EATING, DRINKING, AND SMOKING PRECAUTIONS

Because ingestion is a potential contaminant exposure pathway, eating, drinking, and smoking will
be prohibited in the EZ. Site personnel working in the EZ will complete the required personnel
decontamination upon exiting and prior to eating, drinking, or smoking. Smoking is permitted only
in designated areas at the site, as established by 3M.

12.3 IGNITION SOURCES

Fires and explosions require fuel, air (oxygen), and an ignition source (heat). The first two are not
easily controlled. Consequently, while working on-site where a fire hazard may be present, potential
ignition sources must be kept out of the area.

Open flames, lit cigarettes, hot surfaces, or other potential ignition sources will be excluded from the
EZ. Equipment used to handle waste containers and to clean up spills will be constructed of
nonsparking materials. Portable fire extinguishers (20 lb ABC-type) will be readily accessible to
extinguish small fires and will be placed on each vehicle. For fires, 3M Decatur emergency response
personnel will be contacted (FLDs 31 and 32).

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Prior to initiating activities involving potential ignition sources (i.e., welding or operating a forklift,
etc.), personnel will request a “hot-work” permit from the Site Health and Safety Coordinator and
the 3M Field Manager. The Site Health and Safety Coordinator will issue such a permit only after it
has been verified that conditions are safe for such activities to commence (i.e., no explosive or
flammable conditions exist). All work will be done in accordance with WESTON FLD 09.

12.4 EXPLOSIVE ATMOSPHERES

Potentially explosive atmospheres are not expected to be encountered at the site because all work is
in the open air, which will provide adequate dilution ventilation. CGI measurements also will be
taken prior to initiating any “hot work” (i.e., welding, forklift operation, etc.) as part of the hot-work
permit, and at any time potentially explosive atmospheres or conditions are identified.

12.5 EYEWASH

Existing eyewash stations meeting the requirements of ANSI Z358.1 will be readily accessible to
site personnel. Personnel will be made aware of the locations of these stations and will be instructed
by the Site Health and Safety Coordinator on how to properly use the eyewash.

12.6 FIRE EXTINGUISHERS

Portable fire extinguishers (20 lb ABC-type), which will be given an initial inspection and approval
by the 3M Decatur Field Manager, will be placed on each vehicle and will be readily accessible to
site personnel. The Site Health and Safety Coordinator will train the site personnel in their proper
use. Daily inspections of the fire extinguishers will be conducted by the Site Health and Safety
Coordinator to ensure that they are adequately charged. A record of the inspection will be kept in the
site Field Logbook.

12.7 WATER AND SANITATION

An adequate supply of potable water will be provided on-site in the SZ through the existing facility
water supply system. Any portable container used to dispense drinking water will be capable of
being tightly capped, clearly marked as to its contents, and will not be used for any other purpose.
Single-service cups will be supplied with a receptacle for disposing of used cups.

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12.8 ROUTINE SAFETY INSPECTIONS

The Site Health and Safety Coordinator will conduct routine safety inspections of the site.
Hazardous conditions will be noted, the information transmitted to all site personnel, and mitigated,
if possible. A record of the safety inspection will be documented in the site Field Logbook.

12.9 CONTROL OF MINOR SPILLS

Minor spills will be controlled by initially surveying the scene to ensure that it is safe to act, using
the appropriate PPE to stop the leak, and cleaning up the spilled material. Minor leaks can often be
stopped by positioning the container with the leak at the highest elevation. Spilled material may then
be absorbed and disposed of using an inert, commercially available absorbent (i.e., kitty litter). Care
will be exercised to prevent transit of spilled material to sewer or stormwater drains.

Cleanup of large spills will not be conducted by site personnel. Where site personnel can safely
contain the spill, initial measures to isolate and contain the material will be attempted. The Site
Health and Safety Coordinator will be consulted immediately to determine whether or not cleanup of
a spill will be attempted. Refer to Section 11 for large spill procedures. Regardless of the size of the
spill, however, the contractor will be responsible for proper containerization, storage, labeling,
removal, treatment, and disposal of the spill residue.

In addition, all spills (except minor leaks) will be reported to the 3M Decatur Field Manager.




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                                                                              SECTION 13

                                             LOGS, REPORTS, AND RECORDKEEPING

Recordkeeping is an important part of maintaining an accurate account of site activities.
Recordkeeping will be a regular and orderly process. The types of recordkeeping to be maintained
during closure activities are discussed in the following subsections. Documentation will be
maintained on-site during field activities for 29 CFR 1910.120 requirements, medical surveillance
program, CPR/first aid, and respirator fit testing.

13.1 HEALTH AND SAFETY LOGBOOK

The Site Health and Safety Coordinator will maintain a Field Logbook into which health and safety
notations will be made. All monitoring data collected for health and safety purposes also will be
included. At the completion of the site investigation (SI) activities, the Field Logbook and health and
safety monitoring records will be placed into the project file to become part of the project record.

13.2 MEDICAL MONITORING

Copies of personnel medical fitness certifications will be retained in the project files. Any injury
reports, monthly personal exposure records, and results of job-termination physicals will be retained
in the project file and the personnel file.

13.3 VISITOR LOG

All visitors to the site will be required to sign an attendance sheet maintained by the Site Health and
Safety Coordinator in the front of the HASP (field copy). The attendance sheets will be retained in
the project file.

13.4 INCIDENT REPORTS

Incident reports will be prepared by the Site Health and Safety Coordinator using the WESTON
Incident Reporting Forms contained in Attachment 7. Additional pages of supporting information
may be submitted along with the standard forms. The originals will be submitted to the WESTON



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Project Manager and Field Team Manager for review and/or action. Copies also will be included in
the project file.

13.5 3M ACCESS

3M will have access to the project records, including those pertaining to site health and safety,
during normal working hours.




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                    ATTACHMENT 1 – CHEMICAL HAZARD DATA SHEETS

                                                               To Be Provided In Field Copy




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        ATTACHMENT 2 – OPERATING PROCEDURES (WESTON FIELD
                      OPERATING PROCEDURES




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                          LIST OF FIELD OPERATING PROCEDURES

Number               Title


FLD 01               NOISE PROTECTION
FLD 02               INCLEMENT WEATHER
FLD 05               HEAT STRESS PREVENTION AND MONITORING
FLD 06               COLD STRESS
FLD 07               WET FEET
FLD 09               HOT WORK
FLD 10               MANUAL LIFTING AND HANDLING OF HEAVY OBJECTS
FLD 11               ROUGH TERRAIN
FLD 12               HOUSEKEEPING
FLD 13               STRUCTURAL INTEGRITY
FLD 14               SITE SECURITY
FLD 15               REMOTE AREAS
FLD 18               OPERATION AND USE OF BOATS
FLD 19               WORKING OVER OR NEAR WATER
FLD 20               TRAFFIC
FLD 22               HEAVY EQUIPMENT OPERATION
FLD 28               EXCAVATING/TRENCHING
FLD 29               MATERIALS HANDLING
FLD 30               HAZARDOUS MATERIALS USE AND STORAGE
FLD 31               FIRE PREVENTION/PROTECTION/RESPONSE PLANS
FLD 32               FIRE EXTINGUISHERS REQUIRED AND REQUIREMENTS
FLD 34               UTILITIESCGENERAL
FLD 35               ELECTRICAL SAFETY
FLD 36               WELDING/CUTTING/BURNING
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                          LIST OF FIELD OPERATING PROCEDURES
                                        (Continued)

Number               Title

FLD 37               PRESSURE WASHING
FLD 38               HAND AND POWER HAND TOOLS
FLD 39               ILLUMINATION
FLD 41               STANDARD HAND AND EMERGENCY SIGNALS
FLD 43               BIOLOGICAL HAZARDS
FLD 44               BLOODBORNE PATHOGENS
FLD 45               HAZARDOUS WASTES BLOODBORNE PATHOGENS PLAN
FLD 46               CONTROL OF EXPOSURE TO LEAD
FLD 47               DRILLING SAFETY GUIDE
FLD 48               WESTON HAZARD COMMUNICATIONS PROGRAM




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FLD 01                  OCCUPATIONAL NOISE AND HEARING CONSERVATION

(Final revision 11/8/1999)

GENERAL

Noise is defined as unwanted sound. Noise can cause sudden traumatic temporary or permanent hearing
loss, long term slowly occurring sensory-neural and irreversible hearing loss, disruption of
communication, and masking of warning devices and alarms. Increased stress levels and effects on the
cardiovascular and nervous systems have been documented as additional concerns.

The goal of this operating practice is to reduce and potentially eliminate hazardous levels of noise
exposure.

REFERENCES

29 CFR 1910.95

RESPONSIBILITIES

Project Manager or Supervisor: The Project Manager or employee’s supervisor shall ensure that
WESTON and subcontract personnel under their control comply with the requirements of this
procedure and have the necessary resources to assure compliance. The Project Manager or Supervisor
will ensure that hazard assessment, monitoring and control procedures have been implemented.

Safety Officer: The safety officer (site, project or region) shall assist the Project Manager or Supervisor
in understanding the technical requirements of this practice.

The Corporate Health and Safety (CHS) Director: The CHS Director or his designees (e.g., safety
professionals, safety officers, division safety managers, or operations health and safety group) will
provide assistance with interpretations of this practice. The CHS Director will ensure periodic
evaluation of this operating practice through practice review and inspections.

Occupational Medical Provider (OMP): WESTON's OMP will assist in compliance with this practice
through evaluation of clinics, verification of baseline exams and annual employee audiogram
evaluation. The OMP will advise the Safety Officer and, if necessary, the CHS Director of any
problems associated with medical compliance or occupationally related hearing loss in workers.

Employees: All affected employees are responsible for complying with the requirements of this
practice. Any concerns or questions regarding compliance is to be brought the attention of the Safety
Officer, the Project Manager, or the Supervisor.




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Recognition and Risk Assessment

Employee noise exposure is expressed as an eight-hour time-weighted average (full shift exposure) in
decibels (dB) on the “A-scale” (dBA). This number is to be compared to the Occupational Safety and
Health Administration’s Permissible Exposure Limit (PEL) which is an 8-hour time-weighted average
(TWA) of 90 dBA, and the OSHA Action Level (AL) which is 85 dBA. Table G-16 in 29 CFR 1910.95
provides information regarding time-equivalent PELs.

The PEL is a limit which should not be exceeded, and the AL is a noise level threshold which when
exceeded obligates the employer to establish a Hearing Conservation Program (HCP). The HCP includes
baseline and annual hearing tests, and hearing conservation training. Whenever there is a reasonable
possibility of employee noise exposure over 85 decibels, the affected employee is enrolled in the HCP.

The need for noise monitoring equipment, noise dosimeters or hearing protection devices must be
addressed in the planning stages of a project. WESTON personnel and WESTON subcontractors are to
wear hearing protection devices when required and where signs are posted requiring their use.

Some of the sources of noise at hazardous materials sites, demolition operations, construction and
industrial sites which can cause hearing damage are: compressor motors, drill rig engines, hammer blows
(such as from a split spoon), compressor motors, compressed air, and heavy equipment. Examples of
approximate noise levels from various activities are as follows:

      •     Rock Drilling:                up to 115 dBA
      •     Chain Saws:                   up to 125 dBA
      •     Abrasive Blasting:            up to 110 dBA
      •     Heavy Equipment:              95 to 110 dBA
      •     Demolition:                   up to 117 dBA
      •     Needle Guns:                  up to 112 dBA
      •     Riveter/Chipper:              up to 120 dBA
      •     Noisy Factory:                up to 90 dBA
      •     Noisy Office:                 70 to 80 dBA
      •     Conversational Speech:        60 dBA

Noise Evaluation and Surveillance Procedures

Noise exposure assessment is performed only by qualified personnel with properly calibrated and
functional noise measuring equipment. If the HASP or the Safety Officer indicate that the site, or activity,
requires an instrumentation survey then the area will be screened with an A-weighted sound level meter
(Area Monitoring). If deemed necessary a more in depth evaluation utilizing a noise dosimeter may be
performed (Personnel Monitoring). Both types of monitoring, if needed, will be accomplished in
accordance with requirements established in 29 CFR 1910.95(d).




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Long-term work efforts at fixed locations (e.g., water treatment plants, incinerators, etc.) will require an
evaluation of noise levels utilizing instrumentation. Re-monitoring may be necessary when changes in
equipment, processes or activities result in modification of the noise level.

If impact noise is present, the peak noise levels and the frequency of the impacts should be determined.
Both OSHA and the American Conference of Governmental Industrial Hygienists (AGCIH) recommend
certain limits to impact noise which depend on the noise intensity and frequency of the impacts. These
resources and/or qualified personnel should be consulted if questions arise regarding impact or impulse
noise.

Noise Control Methods

Engineering Controls

The primary means of reducing or eliminating personnel exposure to hazardous noise is through
engineering controls. Engineering controls are defined as any modification or replacement of equipment,
or related physical change at the noise source or along the sound transmission path that will reduce the
noise level to the employees ear. Engineering controls include items such as; mufflers on heavy
equipment or motors, sound baffles, and enclosures.

Administrative Controls

Administrative controls are defined as changes in the work schedule or operations which reduce noise
exposure. These controls include increasing worker distance from the noise source and rotation of jobs so
that time limits of exposure are reduced.

Administrative time control is not a preferable method for preventing noise exposure since extreme noise
for a short duration can cause severe, permanent hearing loss. Administrative controls may be utilized in
accordance with the TWA Tables (see 29 CFR 1910.95, Table G-16). Administrative controls may not be
utilized for exposures greater than 115 dBA, regardless of the exposure time.

Hearing Protection

Hearing protection devices are utilized whenever engineering controls prove to be infeasible or cost
prohibitive. Various types of ear muffs and ear plugs are available. Hearing protector attenuation is
intended to reduce employee exposures below 85 dBA for employees with standard threshold shifts and
below 90 dBA for all other employees.

Hearing protection devices are strongly recommended in any noisy environment, but are mandatory in the
following situations:

      •     The eight hour average may equal or exceed 90 decibels.
      •     Any employee exposed to greater than or equal to 85 decibels and who have experienced a
            standard threshold shift (STS) in their hearing.

      •     Any noise equal to greater than 115 decibels impact, continuous or intermittent.
      •     Anywhere a “HEARING PROTECTION REQUIRED” sign is posted. These signs are to be
            posted in all mandatory situations listed above.

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In the absence of sound level measuring instrumentation, any noise preventing normal vocal discussion
between two individuals at arms length distance (“arms-length rule”) will dictate the need for hearing
protection. WESTON guidelines require the use of hearing protection on an immediate basis under the
“arms-length rule”. Exceptions may be granted based upon task and duration.

Not all hearing protection devices have the same noise reduction rating (NRR). Verification of all NNR
values must be made by referring to the manufacturers’ specifications.

The proper hearing protection is selected using results from a properly calibrated sound level meter in the
following manner. The NRR of the device chosen is reduced by subtracting. Then this resulting number
is subtracted from the noise level in dBA (for example: if the noise reading is 100 dBA, and the ear plugs
selected have a NRR of 27. Subtracting 7 from 27 equals 20. Subtracting 20 from 100 equals 80. The
attenuated sound level to the wearer is 80). Appendix B of 29 CFR 1910.95 provides information on
attenuation adequacy using other monitoring devices or scales.

Hearing protection must attenuate employee exposure to an 8-hour TWA of 90 dBA or less. WESTON
will strive to accomplish an attenuation of 85 dBA or less. For any employee diagnosed with a standard
threshold shift, the attenuation must be 85 dBA or less.

Additional information regarding the selection, use, maintenance, and control of hearing protection
devices is provided in the WESTON Personnel Protective Equipment Program.

Medical Surveillance

Compliance with the Hearing Conservation Program (HCP) component of 29 CFR 1910.95 is required
whenever an employee’s exposure to noise in excess of 85 dBA occurs. As such, field employees whose
job descriptions require work with drill rigs, heavy construction equipment or noisy client operations
would be candidates for the HCP and medical surveillance requirements thereof. Supervisors of any
employees not meeting the categories above (e.g., treatment plant operations, print shop, maintenance
personnel) are required to determine the need for those employees to participate in the HCP by performing
noise surveys, and advise their safety officer who will in turn notify the Occupational Medical Provider.

WESTON’s Occupational Medical Provider will make the final determination of employee involvement
in the medical surveillance component of the HCP.

Audiometric testing is performed annually to evaluate the hearing of all individuals who are routinely
exposed to 8 hour TWA exposures of 85 dBA or greater (including compliance with the “arms-length
rule”). By evaluating the hearing of these individuals, the overall effectiveness of the Occupational Noise
and Hearing Conservation Program can be systematically monitored. WESTON’s Occupational Medical
Provider is responsible for assuring local clinic compliance with the audiometric testing component of the
standard.




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Training

Initial and annual training shall be given to each employee included in the Hearing Conservation Program.
Training will address the following:

The effects of noise on hearing.

      •     The purpose of hearing protection, advantages, disadvantages, attenuation of various types, and
            the selection, fitting, use, and care of protectors.

      •     The purpose of audiometric tests and explanation of test procedures.


      •     Recognition of hazardous noise.


WESTON’s initial and refresher courses under 29 CFR 1910.120 (Hazwoper) are utilized to deliver these
training obligations. Alternative training will be given to employees who are included in the HCP but
who are not trained in accordance with Hazwoper requirements,.

Program Evaluation

Periodic program evaluations will be conducted to assess compliance with 29 CFR 1910.95 and this
operating practice. The CHS Director (or his designee) is responsible for reviewing this practice on an
annual basis. WESTON’s Occupational Medical Provider is responsible for assisting in this evaluation by
providing information relative to employee exposure and medical surveillance data.

Recordkeeping

Employee exposure measurements are retained for a minimum of two years and audiometric test
records are retained for the duration of the employee’s employment, plus thirty years.




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FLD 02                  INCLEMENT WEATHER
GENERAL

REFERENCES

Related FLD OPS:

FLD05 – Heat Stress Prevention and Monitoring
FLD06 – Cold Stress
FLD25 – Working at Elevations
FLD26 – Ladders
FLD27 – Scaffolds

PROCEDURE

Hot weather (ambient temperatures over 70°F), cold weather (ambient temperatures below 40°F), rain,
snow, ice, and lightning are examples of inclement weather that may be hazardous or add risk to work
activities. Heat stress and cold stress are covered under separate operating procedures.

Extremes of heat, cold, and humidity, as well as rain, snow, and ice, can adversely affect monitoring
instrument response and reliability, respiratory protection performance, and chemical protective clothing
materials.

Heat

Additional examples and protection from heat stress are addressed in WESTON Safety Procedure FLD05.
Hot, dry weather increases risk of soil drying, erosion, and dust dispersion, which may present or increase
risk of exposure and environmental impact from toxic hazards. Hot weather will increase pressure on
closed containers and the rate of volatilization, thereby potentially increasing the risk of exposure to toxic,
flammable, or explosive atmospheres.

Rain, Wet Weather, and High Humidity

Rain and wet conditions increase slipping and tripping hazards, braking distances of vehicles, and the
potential for slippage or handling difficulties for devices such as augers and drills. Rain fills holes,
obscures trip and fall hazards, and increases risk of electrical shock when working with electrical
equipment. Changes in soil conditions caused by rain can impact trenching and excavating activities,
creating the potential for quicksand formation, wall collapse, and cave-in. Vehicles become stuck in mud,
and tools and personnel can slip on wet surfaces.

Rain and wet conditions may decrease visibility (especially for personnel wearing respiratory protection)
and limit the effectiveness of certain direct-reading instruments (e.g., photoionization detectors [PIDs]).




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Cold, Snow, and Ice

In addition to cold stress, which is covered in WESTON field procedure FLD06, cold weather affects
vehicle operation by increasing difficulty in starting and braking. Ice, frost, and snow can accumulate on
windows and reduce vision.

Cold, wet weather can cause icing of roadways, driveways, parking areas, general work places, ladders,
stairs, and platforms. Ice is not always as obvious to see as snow or rain, and requires special attention,
especially when driving or walking.

Snow and ice increase the risk of accidents such as slipping when walking, climbing steps and ladders, or
working at elevation, and the risk of accidents when driving vehicles or operating heavy equipment.
Heavy snow and ice storms may cause electric lines to sag or break, and the use of electrical equipment in
snow increases the risk of electric shock. Snow can hide potholes and mud, which can result in vehicles
getting stuck or persons falling when stepping into hidden holes. Snow also may cover water, drums or
other containers, sharp metal objects, debris, or other objects that can cause falls or punctures.

Personnel performing activities that require working over ice should be aware of minimal ice thickness
safety guidelines as follows:

      •     4-inch minimum: activities such as walking or skating.

      •     6-inch minimum: activities such as snowmobiling or the use of equipment with the same weight
            and cross-sectional area as a snowmobile.


Personnel should always be aware that these measurements are under ideal conditions and that snow
cover, conditions on rivers, ponds, or lakes with active currents, and other environmental factor impact the
safety of working on ice. Clear ice typically is the strongest, while ice that appears cloudy or
honeycombed is not as structurally strong. Measurements made by drilling or cutting through the ice
should be made every few feet to verify safe conditions. Under no circumstances should WESTON
personnel operate motor vehicles such as cars or trucks on ice.

Provisions for rescue (e.g., ladders or long poles and effective communications) must be available at the
work site.

Lightning

Lightning represents a hazard of electrical shock that is increased when working in flat open spaces,
elevated work places, or near tall structures or equipment such as stacks, radio towers, and drill rigs.
Lightning has caused chemical storage tank fires and grass or forest fires. Static charges associated with
nearby electrical storms can increase risk of fire or explosion when working around flammable materials,
and can adversely affect monitoring instruments.




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Recognition and Risk Assessment

Few Occupational Safety and Health Administration (OSHA) regulations apply to the conditions covered
in this procedure; however, under specific standards (e.g., Construction Industry, Subpart P, Excavations)
and the OSHA General Duty Clause, inclement weather hazards must be addressed in safety programs.

Heat, rain, cold, snow, ice, and lightning are natural phenomena that complicate work activities, and
add or increase risk. The potential for physical hazards must be considered for tasks that expose
personnel to inclement weather. Risk assessment can be accomplished during the planning stages of a
project by developing a task risk analysis for the most likely inclement weather conditions that may be
encountered, i.e., rain and lightning in late spring, summer, and early fall, or lightning prone areas;
cold, snow, and ice in winter. The SHSC must make decisions on the proper safety procedure and
recommend them to the site manager. Each worker must evaluate the risk associated with his or her
work and be actively alert to these hazards. Any site worker may stop work if safety procedures are
not followed or the risk is too great.

A pre-site activity risk assessment must be completed when inclement weather occurs. Weather conditions
that affect instruments and PPE function must be conveyed to site workers. All personnel should monitor
function and integrity of PPE and be alert to changing weather conditions. A decision must be made on
the proper safety procedures to use if work must continue, or to stop work if the risk is too great. The
Appropriate Safety Professional must be notified of all instances of the need to stop work for safety
reasons, including inclement weather.

Prevention and Protection Programs

Procedures applicable to inclement weather include the following:

Monitoring equipment and PPE must be maintained in proper working order and used according to
manufacturers’ instructions.

Walkways, stairs, ladders, elevated workplaces, and scaffold platforms must be kept free of mud, ice, and
snow.

Vehicles used in rain or cold weather must have windshield wipers and defrosters, and windows must be
kept clear of obstruction.

Employees must be protected from airborne contaminants using engineering controls such as wetting dry
soil to prevent particle dispersion, and providing local ventilation to reduce volatile air contaminants to
safe levels, or if engineering controls are infeasible, using prescribed personal protective equipment
(PPE).

Required conformance with traffic laws, including maintaining speed within limits safe for weather
conditions, and wearing seat belts at all times.

Using a walking stick or probe to test footing ahead of persons walking where there is standing water,
snow, or ice to protect the walker against stepping into potholes or onto puncture hazards, buried
containers, or other potential structurally unsound surfaces.
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Prior to using vehicles or equipment in off-road work, walking the work area or intended travelway
when puddles or snow may obscure potholes, puncture hazards, or buried containers, or other potential
structurally unsound surfaces.

Arranging to have winches, come-alongs, or other mechanical assistance available when vehicles are used
in areas where there is increased risk of getting stuck. Cable or rope and mechanical equipment used for
pulling stuck vehicles must be designed for the purpose, of sufficient capacity for the load, and be
inspected regularly and before use to ensure safety. Manually pushing stuck vehicles is to be avoided.

Monitoring wind shifts and velocity where change may result in dispersion of airborne contaminants into
work area.

Prior to working in areas or beginning projects during times when there is an increased likelihood of
lightning or the potential for lightning striking personnel, steps must be taken to predict the occurrence of
lightning strikes, including:

      a) Checking with client management to determine if there is any pattern or noted conditions that
         predict lightning or if there are structures that are prone to lightning strikes. Arrange for client
         notification when there is increased potential for lightning activities. Ensure that clients include
         WESTON workers in lightning contingency plans.

      b) Monitoring weather reports.


      c) Noting weather changes and conditions that produce lightning.


      d) Stopping work in open areas, around drill rigs or other structures that may attract lightning, on or
         in water and in elevated work places when lightning strikes are sighted or thunder is heard near a
         work site.


      e) Ensuring all personnel are provided with safe areas of refuge. Keep personnel from standing in
         open areas, under lone trees, or under drill rigs.




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Heat stress may occur at any time work is performed at elevated temperatures. Wearing chemical
protective clothing often decreases natural body heat loss and increases the risk of heat stress.

If the body’s physiological processes fail to maintain a normal body temperature because of excessive
heat, a number of physical reactions can occur, with symptoms ranging from mild (such as fatigue,
irritability, anxiety, and decreased concentration or dexterity) to fatal. Because heat stress is one of the
most common and potentially serious illnesses at hazardous waste sites, regular monitoring and other
preventive measures are vital to ensure worker safety.

Employees who are taking prescription or over-the-counter medications should consult with their
personal physician prior to working in high-temperature environments.

REFERENCES

OSHA 29 CFR 1910 and 1926

Related FLD OPS:

FLD02 – Inclement Weather
FLD03 – Hot Processes – Steam
FLD08 – Confined Space Entry
FLD36 – Welding, Cutting and Burning
FLD37 – Pressure Washing

APPENDICES

A Common Heat Stress Disorders and Their Prevention and Treatment

PROCEDURE

Recognition and Risk Assessment

In the planning stages of a project, the potential for heat stress disorders must be considered as a physical
hazard in the site-specific Health and Safety Plan (HASP). Risk assessment can be accomplished in the
development stages of a project by listing in the HASP the most likely heat stress disorders that may
occur.




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The SHSC must make decisions on the proper safety procedures and recommend them to the site
manager. Each worker must evaluate the risk associated with his or her work and be actively alert to these
hazards. Any site worker may stop work if safety procedures are not followed or the risk is too great. In
addition, all site personnel must be aware of these symptoms in both themselves and their co-workers.

Four common heat stress disorders and their associated prevention and treatment methods are provided in
Appendix A.

Prevention and Protection Programs

Heat stress is affected by several interacting factors including, but not limited to, age, obesity, physical
condition, substance abuse, level of personal protective equipment worn, and environmental conditions
(temperature, shade, and humidity). Site workers must learn to recognize and treat the various forms of
heat stress. The best approach is preventive heat stress management such as the examples given below.

Have workers drink 16 ounces of water before beginning work, at established breaks, and in the morning
or after lunch. The body’s normal thirst mechanism is not sensitive enough to ensure body fluid
replacement, therefore, pre- and post-work fluid intake is necessary. Under heavy work and heat
conditions, the body may lose up to 2 gallons of fluids per day. In order to prevent heat stress symptoms,
the individual must ensure replacement of this moisture.

Provide disposable cups that hold about 4 ounces, and water that is maintained at 50 to 60°F. Have
workers drink 16 ounces of water before beginning work, and a cup or two at each break period. Provide
a shaded area for rest breaks. Discourage the intake of caffeinated drinks during working hours. Monitor
for signs of heat stress.

Encourage workers to maintain a good diet during these periods. In most cases, a balanced diet and
lightly salted foods should help maintain the body’s electrolyte balance. Bananas are especially good for
maintaining the body’s potassium level. The most important measure to prevent heat-related illness is
adequate fluid intake. Workers should drink 1/2 to 1 quarts of liquids per hour in high heat conditions.
Most of this liquid should be water.

If utilizing commercial electrolyte mixes, double the amount of water called for in the package directions.
Indications are that “full-strength” preparations taken under high heat stress conditions may actually
decrease the body’s electrolytes.

Acclimate workers to site work conditions by slowly increasing workloads, i.e., do not begin work
activities with extremely demanding tasks. Rotate shifts of workers who are required to wear impervious
clothing in hot weather. In extremely hot weather, conduct field activities in the early morning and
evening.




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Provide cooling devices to aid natural body heat regulation. These devices, however, add weight and their
use should be balanced against worker efficiency. An example of a cooling aid is long cotton underwear,
which acts as a wick to absorb moisture and protect the skin from direct contact with heat-absorbing
protective clothing.

Ensure that adequate shelter is available to protect personnel against heat and direct sunlight, which can
decrease physical efficiency and increase the probability of heat stress. If possible, set up the command
post in the shade.

Good hygienic standards must be maintained by frequent showering and changes of clothing. Clothing
should be permitted to dry during rest periods. Persons who notice skin problems should immediately
consult medical personnel.

Heat Stress Monitoring and Work Cycle Management

When strenuous field activities are part of on-going site work conducted in hot weather, the following
guidelines should be used to monitor the body’s physiological response to heat, and to manage the work
cycle, even if workers are not wearing impervious clothing. These procedures should be instituted when
the temperature exceeds 70°F and the tasks/risk analysis indicates an increased risk of heat stress
problems. Consult the HASP and a safety professional (e.g., Division safety manager, safety officer) if
questions arise as to the need for specific heat stress monitoring. In all cases, the site personnel must be
aware of the signs and symptoms of heat stress and provide adequate rest breaks and proper aid as
necessary.

Measure Heart Rate – Heart rate should be measured by the radial pulse for 30 seconds as early as
possible in the rest period. The heart rate at the beginning of the rest period should not exceed 110 beats
per minute. If the heart rate is higher, the next work period should be shortened by 33%, while the length
of the rest period stays the same. If the pulse rate still exceeds 110 beats per minute at the beginning of
the next rest period, the following work cycle should be further shortened by 33%. The procedure is
continued until the rate is maintained below 110 beats per minute.

Measure Body Temperature – When ambient temperatures are over 90°F, body temperatures should be
measured with a clinical thermometer as early as possible in the rest period. If the oral temperature
exceeds 99.6°F (or 1 degree change from baseline) at the beginning of the rest period, the following work
cycle should be shortened by 33%. The procedure is continued until the body temperature is maintained
below 99.6°F (or 1 degree change from baseline). Under no circumstances should a worker be allowed to
work if their oral temperature exceeds 100.6°F.

Measure Body Water Loss – Body water loss greater than 1.5% of total body weight is indicative of a heat
stress condition. Body weight is measured before personal protective equipment (PPE) is donned and
after the PPE is removed following a work cycle. Body water loss can be measured with an ordinary
bathroom scale, however, the scale must be sensitive to one-half pounds increments. A worker is required
to drink additional fluids and rest if their body water loss is greater than 1.5%.




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Note: For purposes of this operating practice, a break is defined as a 15-minute period and/or until an
individual’s vital signs are within prescribed guidelines.

A physiological monitoring schedule is determined by following the steps below:

            Measure the air temperature with a standard thermometer.

            Estimate the fraction of sunshine by judging what percent the sun is out (refer to Table 1).

            Calculate the adjusted temperature based on the following formula:

            Adjusted Temperature = Actual Temperature + 13 X
            (fraction of the percent sunshine factor)

            Using Table 2, determine the physiological monitoring schedule for fit and acclimated workers.

The length of work period is governed by frequency of physiological monitoring (Table 2). The length of
the rest period is governed by physiological parameters (heart rate and oral temperature). For example,
site personnel anticipate wearing level C (impermeable clothing) during site activities.

The air temperature is 80°F and there are no clouds in the sky (100% sunshine). The adjusted temperature
is calculated in the following manner:

      Adjusted Temperature (Adj T °F) = Actual Temperature (Amb T °F) + (13 x fraction of the percent
      sunshine factor).
      Adj T °F = 80°F + (13 x 1.0)
      Adj T °F = 93°F

Using Table 2, the pulse rate, oral temperature and body water loss monitoring would be conducted after
each 60 minutes of work. The adjusted temperature may need to be redetermined if the percent sunshine
and ambient temperature changes drastically during site work.

If an individual’s heart rate exceeds 110 beats per minute at the beginning of the rest period, that
individual will continue to rest until his or her heart rate drops to baseline; the next work period is then
decreased by 33%.




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                                                   TABLE 1
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                                                 PERCENT SUNSHINE FACTORS
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            Percent Sunshine (%)                          Cloud Cover                       Sunshine fraction

                       100                               No cloud cover                            1.0

                        50                               50% cloud cover                           0.5

                         0                               Full cloud cover                          0.0



                                                            TABLE 2

                                           PHYSIOLOGICAL MONITORING SCHEDULE
                                          HEAT STRESS PREVENTION AND MONITORING

                                                            Level D                         Level C, B, or A
           Adjusted Temperature
                                                       (Permeable clothing)              (Nonpermeable clothing)
            o       o                             After each 45 minutes of work       After each 15 minutes of work
          90 F (32.2 C) or above

               o       o     o                    After each 60 minutes of work       After each 30 minutes of work
           87.5 F (30.8 -32.2 C)

          o     o       o     o                   After each 90 minutes of work       After each 60 minutes of work
      82.5 -87.5 F (28.1 -32.2 C)

          o     o       o     o                   After each 120 minutes of work      After each 90 minutes of work
      77.5 -82.5 F (25.3 -28.1 C)

          o     o       o     o                   After each 150 minutes of work      After each 120 minutes of work
      72.5 -77.5 F (22.5 -25.3 C)




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                                              APPENDIX A

    COMMON HEAT STRESS DISORDERS AND THEIR PREVENTION AND TREATMENT

Heat Rash

Heat rash is caused by continuous exposure to heat and humidity, and is aggravated by chafing clothes.
The condition decreases an individual’s ability to tolerate heat and can be extremely uncomfortable.

Symptoms – Mild red rash, especially in areas of the body that come into contact with protective gear.

Treatment – Decrease amount of time spent working in protective gear and provide body powder to help
absorb moisture and decrease chafing.

Heat Cramps

Heat cramps are caused by inadequate electrolyte intake. The individual may be receiving adequate
water, however, if not combined with an adequate supply of electrolytes, the blood can thin to the point
where it seeps into the active muscle tissue, causing cramping.

Symptoms – Acute painful spasms of voluntary muscles, most notably the abdomen and extremities.

Treatment – Move the victim to a cool area and loosen clothing. Have the victim drink 1 to 2 cups of
lightly salted water or diluted commercial electrolyte solution immediately, and then every 20 minutes
thereafter until symptoms subside. Electrolyte supplements can enhance recovery (e.g., Gatorade,
Quench) however, it is best to double the amount of water required by the dry mix package directions or
add water to the liquid form.

Heat Exhaustion

Heat exhaustion is a state of very definite weakness or exhaustion caused by the loss of fluids from the
body. The condition is much less dangerous than heat stroke, but it nonetheless must be treated.
Symptoms – Pale, clammy, and moist skin, profuse perspiration, and extreme weakness. Body
temperature is normal, pulse is weak and rapid, and breathing is shallow. The person may have a
headache, may vomit, and may feel dizzy.

Treatment – Move the victim to a cool, air-conditioned or temperature-controlled area, loosen clothing,
place in a position with the head lower than the feet (shock prevention), and allow the victim to rest.
Consult a physician, especially in severe cases. Have the victim drink 1 to 2 cups of water immediately,
and every 20 minutes thereafter until symptoms subside.




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Heat Stroke

Heat stroke is an acute and dangerous reaction to heat stress caused by a failure of the body’s heat
regulating mechanisms, i.e., the individual’s temperature control system (sweating) stops working
correctly. Body temperature rises so high that brain damage and death may result if the person is not
cooled quickly.

Symptoms – Red, hot, dry skin (although the person may have been sweating earlier); nausea, dizziness,
confusion, extremely high body temperature, rapid respiratory and pulse rate, unconsciousness or coma.

Treatment – Remove the victim from the source of heat and cool the victim quickly. If the body
temperature is not brought down quickly, permanent brain damage or death may result. Soak the victim in
cool (not cold) water, sponge the body with cool water, or pour water on the body to reduce the
temperature to a safe level (less than 102°F). Monitor the victim’s vital signs and obtain immediate
medical help. Do not give the victim coffee, tea, or alcoholic beverages.




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REFERENCES

Related FLD OPS:

FLD02 – Inclement Weather
FLD07 – Wet Feet
FLD15 – Remote Areas
FLD17 – Diving
FLD18 – Using Boats
FLD19 – Working Over Water
FLD25 – Working at Elevations

PROCEDURE

Persons working outdoors in low temperatures (below 40°F), and especially at or below freezing, are
subject to cold stress. Exposure to extreme cold for a short time can cause severe injury to the surface of
the body, or result in profound generalized cooling which, unchecked, could ultimately cause death. Areas
of the body that have high surface-area-to-volume ratios, such as fingers, toes, and ears, are the most
susceptible.

Chemical protective clothing generally does not afford protection against cold stress. In many instances, it
increases susceptibility. Chemical hazard site workers must learn to dress carefully to provide both
chemical protection and thermal insulation while not dressing so warmly that exercise or strenuous
activity will result in cold stress.

Body heat is conserved through the constriction of surface blood vessels. This constriction reduces
circulation at the skin layers and keeps blood nearer the body core.

Loss of body heat can occur through:

      1. Respiration – In extreme cold, cover the mouth and nose with wool or fur to “pre-warm” the air
         you breath.

      2. Evaporation – Wear layered clothing, and remove outer layers prior to overheating to avoid
         soaking clothing with perspiration. Replace layers prior to becoming chilled. Wear clothing that
         will “breath” or allow water vapor to escape to reduce the cooling effect of evaporation.

      3.    Conduction – Sitting on snow, touching cold equipment, and working in the rain are examples
            of how heat can be lost by conduction. A great deal of body heat is lost rapidly when a person
            becomes wet. Hypothermia from immersion in water has resulted in death at temperatures of
            40°F or lower. Perspiration or rain should never be allowed to saturate clothing; such soaking
            will seriously reduce the insulative properties of the clothing, in
            addition to increasing heat loss. Most clothing loses approximately 90 percent of its insulating
            properties when wet.
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      4. Radiation – The greatest amount of body heat is lost from uncovered surfaces of the body,
         especially the head, neck, and hands. Covering these areas is, therefore, extremely important.

      5. Convection – The body continually heats a thin layer of air next to the skin. As long as this warm
         air is retained next to the body, it will remain warm. If this warm air is removed by air currents
         (wind), the body will be cooled attempting to rewarm the surface air. The primary function of
         clothing is to retain this warm surface layer of air while allowing water vapor to pass through.
         Ensure that clothing remains secure around the body, especially at the neck and waist. Wind chill
         or equivalent chill temperature indices describe the chilling effect of moving air in combination
         with low temperature.

Two major factors that influence the potential of cold injury are ambient temperature and wind velocity.
The term wind chill is used to describe the chilling effect of moving air in combination with low
temperature. Additionally, water conducts heat 240 times faster than air; thus, the body cools suddenly
when protective equipment is removed if the clothing underneath is perspiration-soaked.

Tables 1 and 2 should be consulted to adjust working schedules for wind chill conditions. These tables
are meant as guides only; ambient temperatures and wind conditions should be monitored frequently and
work schedules adjusted as required. Workers’ physical symptoms or condition will also be an indicator
of the need to modify work schedule.

Recognition and Risk Assessment

In the planning stages of a project and safety plan, the potential for cold stress disorders must be
considered as physical hazards in the site-specific Health and Safety Plan (HASP). Risk assessment can
be accomplished in the development stages of a project by listing in the HASP the most likely cold stress
disorders which may occur. The SHSC must make decisions on the proper safety procedures and
recommend them to the site manager. Each worker must evaluate the risk associated with his or her work
and be actively alert to these hazards. Any site worker may stop work if safety procedures are not
followed or the risk is too great. Two common cold stress disorders and treatment methods are identified
below.

Frostbite

Local injury resulting from cold is included in the generic term frostbite. By definition, frostbite is the
freezing of tissue, however, several stages are recognized, based on the degree of injury.

Frostbite most commonly affects the toes, fingers, and face, and occurs when an extremity loses heat
faster than it can be replaced by the circulating blood. Frostbite may also result from direct exposure to
extreme cold or high wind, as happens with the nose, ears, and hands. Feet may freeze because of the
conduction of heat away from the skin’s surface caused by damp socks and shoes.




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Frostbite of the extremities can occur in three forms:

      •     Frost nip or incipient frostbite is characterized by sudden blanching or whitening of skin.

      •     Superficial frostbite is characterized by skin with a waxy or white appearance that is firm to the
            touch, but the tissue beneath is resilient.

      •     Deep frostbite is characterized by tissues that are cold, pale or darkened, and solid.

Treatment for frostbite:

      •     Move the victim indoors and/or away from additional exposure to cold, wet, and wind.

      •     Superficially frostbitten areas are best warmed by placing them next to warm skin. The basic
            tenant to rewarming frostbitten areas is to not raise the temperature much above that of the body.
            The abdomen and the armpit are body areas that can be used to rewarm frostbitten areas. Water at
            99° to 104°F can be used. Avoid the use of fires, hot water, or external heaters to warm frostbitten
            areas.

      •     Give a warm drink (water or juices, not coffee, tea or alcohol). Do not allow the victim to smoke.

      •     If using water to rewarm the affected areas, keep the frozen parts in warm water until all paleness
            has turned to pink or burgundy red, but no longer. Remember, the tissue will be very painful as it
            thaws.

      •     After rewarming, elevate the area and protect it from further injury.

      •     Do not break blisters.

      •     Use sterile, soft, dry material to cover the injured areas.

      •     Keep victim warm and obtain medical care as necessary.

      •     Do not rub the frostbitten part (this may cause gangrene).

      •     Do not use ice, snow, gasoline or anything cold on the frostbitten area.

      •     Do not use heat lamps or hot water bottles to rewarm the frostbitten area.

      •     Do not place the frostbitten area near a hot stove.
Hypothermia

Systemic hypothermia occurs when body heat loss exceeds body heat gain and the body core temperature
falls below the normal 99°F. While many hypothermia cases are caused by extremely cold temperatures,
most cases develop in air temperatures between 30° and 50°F, especially when compounded with water
immersion or soaking, and windy conditions.


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Remember that the victim of hypothermia may not know, or refuse to admit, that he or she is experiencing
hypothermia. All personnel must be observant for these signs for themselves and for other team members.
Hypothermia can include one or more of the following symptoms.

      •     Uncontrollable shivering.
      •     Vague, slow, slurred speech.
      •     Irrational actions.
      •     Memory lapses.
      •     Incoherence.
      •     Fumbling hands, frequent stumbling, lurching gait.
      •     Apathy, listlessness, and sleepiness’ inability to get up after resting.
      •     Unconsciousness, glassy stare, slow pulse and slow respiration.
      •     Death.

Below the critical body core temperature of 95°F, the body cannot produce enough heat by itself to
recover. At this point, emergency measures must be taken to reverse the drop in core temperature. The
victim may slip into hypothermia in a matter of minutes and can die in less than 2 hours after the first
signs of hypothermia are detected. Treatment and medical assistance are critical.

Treatment for hypothermia:

      •     Prevent further heat loss by moving the person to a warmer location out of the wind, wet, and cold.

      •     Remove cold, wet clothing. If necessary, based upon the victim’s condition, external sources of
            heat (e.g., warm blankets, warm water baths, or body contact) may be necessary to rewarm the
            victim.

      •     If the victim is conscious, provide warm liquids, candy, or sweetened foods. Carbohydrates are
            the food most quickly transformed into heat and energy. Do not give alcohol or caffeine.

      •     Keep the victim awake, monitor ABCs, perform first aid as appropriate, and obtain medical
            assistance soon as possible.

Prevention and Protection Programs

Site workers must learn to recognize and treat the various forms of cold stress. The best approach is
preventive cold stress management, such as the following:

      •     Wear loose, layered clothing, masks, woolen scarves, and hats in extreme cold weather.

      •     Keep clothes dry by wearing water and wind resistant clothing and footwear.

      •     Eat well-balanced meals, ensure adequate intake of liquids and avoid alcoholic beverages.
            Dehydration increases risk of cold stress.

      •     Have warm shelter available and implement work-rest schedules.

      •     Monitor yourself and others for changes in physical and mental condition.

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      •     If wearing a face protector, remove it periodically to check for frostbite.

      •     Never touch cold metal with bare hands.

The following guidelines should be used when working in air temperatures below 40°F.

      •     When cold surfaces below –7°C (19.4°F) are within reach, a warning should be given to each
            worker by the SHSC to prevent inadvertent contact by bare skin.

      •     If the air temperature is –17.5°C (0°F) or less, the hands should be protected by mittens. Machine
            controls and tools for use in cold conditions should be designed so that they can be handled
            without removing the mittens.

Provisions for additional total body protection are required if work is performed in an environment at or
below 4°C (39.2°F). Workers should wear cold-protective clothing appropriate for the level of cold and
physical activity:

      •     If the air velocity at the job site is increased by wind, draft, or artificial ventilation, the cooling
            effect of the wind should be reduced by shielding the work area or by wearing an easily removable
            windbreak garment.

      •     If only light work is involved and if the worker’s clothing may become wet on the job site, the
            outer layer of the clothing in use may be of a type impermeable to water. With more severe work
            under such conditions, the outer layer should be water repellent, and the outerwear should be
            changed as it becomes wetted. The outer garments should include provisions for easy ventilation
            to prevent wetting of inner layers by sweat. If work is done at normal temperatures or in a hot
            environment before entering the cold area, the employee should make sure that clothing is not wet
            as a consequence of sweating. If clothing is wet, the employee should change into dry clothes
            before entering the cold. Workers should change socks and any removable felt insoles at regular
            daily intervals, or use vapor barrier boots. The optimal frequency of change should be determined
            empirically and will vary individually and according to the type of shoe worn and how much the
            individual’s feet sweat.

      •     If the available clothing does not give adequate protection to prevent hypothermia or frostbite,
            work should be modified or suspended until adequate clothing is made available or until weather
            conditions improve.

      •     Workers handling evaporative liquid (gasoline, alcohol, or cleaning fluids) at air temperatures
            below 4°C (39.2°F) should take special precautions to avoid soaking clothing or gloves with the
            liquid because of the added danger of cold injury due to evaporative cooling.

Work/Warming Regimen

If work is performed continuously in the cold at an equivalent chill temperature (ECT) or below –7°C
(19.4°F), heated warming shelters, tents, cabins, and break rooms should be made available nearby.
Workers should be encouraged to use these shelters at regular intervals, frequency depending on the
severity of the environmental exposure. The onset of heavy shivering, frostnip, the feeling of excessive
fatigue, drowsiness, irritability, or euphoria are indications for immediate return to the shelter. When

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entering the heated shelter, the outer layer of clothing should be removed and the remainder of the
clothing loosened to permit sweat evaporation, or the worker should change into dry clothing to avoid
returning to work in wet clothing. Dehydration, or the loss of body fluids, occurs insidiously in a cold
environment and may increase the susceptibility of workers to cold injury due to a significant change in
blood flow to the extremities. Warm sweet drinks and soups should be provided at the work site to
provide caloric intake and fluid replacement. The intake of caffeinated drinks should be limited because
of the diuretic and circulatory effects.

For work practices at or below –12°C (10.4°F) ECT, the following should apply:

      •     The worker should be under constant protective observation (buddy system or supervision).

      •     The work rate should not be so high as to cause heavy sweating that will result in wet clothing. If
            heavy work must be done, rest periods must be taken in heated shelters and opportunities to
            change into dry clothing should be provided.

      •     New employees should not be required to work full-time in the cold during the first days of
            employment until they become accustomed to the working conditions and the use of required
            protective clothing.

      •     The weight and bulkiness of clothing should be included in estimating the required work
            performance and weights to be lifted by the worker.

      •     The work should be arranged in such a way that sitting or standing still for long periods is
            minimized. The worker should be protected from drafts to the greatest extent possible.

      •     The workers should be instructed in safety and health procedures. The training program should
            include, as a minimum, instruction in:

            − Proper rewarming procedures and appropriate first aid treatment.

            − Proper use of clothing.

            − Proper eating and drinking habits.

            − Recognition of signs and symptoms of impending hypothermia or excessive cooling of the
              body, even when shivering does not occur.

            − Safe work practices.




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                                                                                        Table 1

                                             Cooling Power of Wind on Exposed Flesh Expressed as Equivalent Temperature*

                                                                          Actual Temperature Reading (°F)
  Estimated   Wind                             50          40      30          20      10         0         -10      -20     -30      -40    -50      -60
  Speed (mph)
                                                                                    Equivalent Chill Temperature (°F)
   Calm                                        50          40      30          20       10         0        -10      -20      -30     -40    -50      -60
     5                                         48          37      27          16       6         -5        -15      -26      -36     -47    -57      -68
    10                                         40          28      16           4       -9        -24       -33      -46      -58     -70    -83      -95
    15                                         36          22         9        -5      -18        -32       -45      -58      -72     -85    -99     -112
    20                                         32          18         4       -10      -25        -39       -53      -67      -82     -96    -110    -121
    25                                         30          16         0       -15      -29        -44       -59      -74      -88    -104    -118    -133
    30                                         28          13      -2         -18      -33        -48       -63      -79      -94    -109    -125    -140
    35                                         27          11      -4         -20      -35        -51       -67      -82      -98    -113    -129    -145
    40                                         26          10      -6         -21      -37        -53       -69      -85     -100    -116    -132    -148
  (Wind speeds                            LITTLE DANGER                              INCREASING DANGER              GREAT DANGER
  greater than 40 mph                     In <1 hour with dry skin.                  Danger from freezing of        Flesh may freeze within 30 seconds.
  have little additional
                                          Maximum danger of false                    exposed flesh within 1
  effect.)
                                           sense of security.                        minute.
                                                                Trenchfoot and immersion foot may occur at any point on this chart.
  * Developed by U.S. Army Research Institute of Environmental Medicine, Natick, MA.



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                                                                           Table 2

                                                         Cold Work/Warmup Schedule for 4-Hour Shifts,

                EQUIVALENT CHILL                                     MAXIMUM                                     NO. OF
                  TEMPERATURE                                       WORK PERIOD                                 BREAKS
                              ≥-24°F                                     Normal                                     1

                         -25° to –30°F                                 75 minutes                                   2

                         -31° to –35°F                                 55 minutes                                   3

                         -36° to –40°F                                 40 minutes                                   4

                         -41° to –45°F                                 30 minutes                                   5

                              ≤-46°F                                    Stop work                               Stop work




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GENERAL

REFERENCES

Related FLD OPS:

FLD05 – Heat Stress Prevention and Monitoring
FLD06 – Cold Stress

PROCEDURE

Under both hot and cold stress conditions, feet that become wet and are allowed to remain wet can lead to
serious problems. Trench foot, paddy foot, and immersion foot are terms associated with foot ailments
resulting from feet being wet for long periods of time. All have similar symptoms and effects. Initial
symptoms include edema (swelling), tingling, itching, and severe pain. These may be followed by more
severe symptoms including blistering, death of skin tissue, and ulceration.

Recognition and Risk Assessment

In the planning stages of a project and safety plan, the potential for wet feet must be considered as a
physical hazard. Risk assessment can be accomplished in part in the development stages of a project by
listing in the Health and Safety Plan (HASP), the most likely task where wet feet may occur. These tasks
could include extended work in chemical protective clothing and wading during biological assessments.
The SHSC must make decisions on the proper safety procedures and recommend them to the site
manager. Each worker must evaluate the risk associated with his or her work and be actively alert to these
hazards. Any site worker may stop work if safety procedures are not followed or the risk is too great.

Prevention and Protection Program

Prevention methods are required when work is performed in wet conditions or when conditions result in
sweating, causing the feet to become and remain wet. Proper hygiene is critical. Workers must dry their
feet and change socks regularly to avoid conditions associated with wet feet. Use of foot talc or powder
can additionally assist in prevention of this type of condition.




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GENERAL

REFERENCES

Related FLD OPS:

FLD05 – Heat Stress Prevention and Monitoring
FLD06 – Cold Stress

PROCEDURE

Under both hot and cold stress conditions, feet that become wet and are allowed to remain wet can lead to
serious problems. Trench foot, paddy foot, and immersion foot are terms associated with foot ailments
resulting from feet being wet for long periods of time. All have similar symptoms and effects. Initial
symptoms include edema (swelling), tingling, itching, and severe pain. These may be followed by more
severe symptoms including blistering, death of skin tissue, and ulceration.

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could include extended work in chemical protective clothing and wading during biological assessments.
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FLD 09                  HOT WORK

GENERAL

Tasks that produce heat, sparks, or energy sufficient to serve as an ignition source (i.e., hot work) may
not begin in any work location that could potentially have ignitable atmospheres until a Hot Work
Protection Procedure has been instituted and a Hot Work Permit has been issued. Examples of hot
work include welding, cutting, burning, soldering, grinding, use of power tools, and use of internal
combustion engines.

PROCEDURE

Many operating facilities or clients will have their own internal hot work permitting practices.
WESTON will use whichever is more conservative. The Site Manager and the Site Health and Safety
Coordinator (SHSC) must approve the use of a client’s hot work permitting procedures.

The Site Health and Safety Coordinator is responsible for issuing hot work permits. Permits must be
reissued at the beginning of each day, or each work shift. Expired hot work permits must be submitted
to the Site Manager for his review prior to being retained as part of the site or project file. The Site
Manager will note any incidents or near-incidents involving hot work during his review of the expired
permits, and contact the corporate Health and Safety Director with recommendations for modifications
of this procedure, if necessary.

The Site Manager is responsible for inspecting the site, determining the need for a Hot Work Permit
Procedure, and ensuring that workers at the site are notified and instructed of the requirement for, need
for, and procedures for obtaining hot work permits.

A fire-watch is required for every activity where hot work could result in other than a minor fire due to
ignition of combustibles. Fire extinguishing equipment commensurate with the ignitable material and
training level of the fire-watch must be immediately available at the hot work location.

A combustible gas meter must be used to survey the hot work location and then must be left to
constantly monitor the air between the flammable material and the immediate vicinity of the hot work.
A survey of the area to identify any atmospheric conditions that may be toxic or that could be
decomposed by the hot work.

Welding or cutting on closed systems such as tanks and pipelines must be specifically approved by the
appropriate safety professional.




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                                                   HOT WORK PERMIT
  The Site Manager and the Site Health and Safety Coordinator have surveyed the site and found the
  following Hot Work conditions exist and will require permitting at ___________________

                   CONDITION                  YES    NO             CONDITION                        YES    NO
           Welding                                         Electrical equipment, fixed
           Cutting                                         Electrical equipment, portable
           Use of power tools                              Electrical equipment, hand-held
           Space heaters                                   Others



                                      PRE-WORK CHECKLIST
                                                                                               YES         NO     N/A
                   All items must be completed for Permit to be valid
Work area inspected by SSO prior to hot work beginning?
Fire-watch established? Name: __________________________________
Fire extinguisher appropriate for media/readily accessible?
Work area clear of all trash and combustible debris/equipment properly
grounded?
Area in which hot work is to be performed has been monitored for combustible
atmosphere?
Will combustible gas indicator(s) be used constantly during hot work?
If no, why?:
List additional personal protective equipment worn:
Welding or cutting on closed systems prohibited?
Closed system cutting procedures?


  Date             /        /               Time      :                Permit Expiration Time          :

  Certification of SHSC that hot work may commence                            Yes        No     N/A

  Signature:                                _______________________________________




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                                             HOT WORK TEAM SIGN-OFF

  I/we have read and understand the terms of the above Hot Work Permit.

         NAME (PLEASE PRINT                                  SIGNATURE                  DATE/TIME (24 HR.)
             CLEARLY)




CERTIFICATION OF SHSC THAT THE HOT WORK AREA HAS BEEN SHUT DOWN AND
THAT NO IGNITION POTENTIAL EXISTS:  _____________________________


Time:                               . Must be reinspected and signed no earlier than 30 minutes after all hot work
has been completed.




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FLD 10                  MANUAL LIFTING AND HANDLING OF HEAVY OBJECTS

GENERAL

PROCEDURE

Improper lifting can result in cuts, pinches, crushing, and serious injury to back, abdomen, arm and leg
muscles, and joints. Even relatively light objects, lifted improperly, can contribute to injury.

Cuts, Pinching, and Crushing

Splinters, slivers, and sharp edges on objects to be lifted can result in cuts. Heavy objects can pinch or
crush fingers, toes, arms, and legs between the object and nearby objects (e.g., walls, tables, counters, or
railings).

Muscle and Joint Injuries

Muscle and joint injuries occur when objects to be lifted are too heavy or awkward, are lifted improperly,
or in areas where access is restricted.

Lifting tasks which are awkward and repetitive, even if involving only light objects, can lead to nerve and
joint damage.

Recognition and Hazard Assessment

The need for manual lifting must be identified as a physical hazard when project tasks specifically require
manual handling or use of heavy equipment, and the following safe lifting techniques must be instituted:

      •     Plan any lifting task, noting:

            − Contact hazards. Check each object before lifting for presence of splinters, slivers, sharp
              edges or parts, cracks and loose joints, signs of biological hazards, and chemical or radioactive
              material contamination.

            − Weight of object. Unless involved in weight training, recommended safe lifting weights for
              an average man or woman are 50 and 35 pounds, respectively.

            − Size and shape of object. Large and oddly shaped objects are more difficult to lift, even
              within safe weight limits, due to imbalanced center of gravity.

            − Area in which lifting is to be done. Check for pinch points such as other objects close by and
              ensure there is room for safe lifting.

            −     Conditions under which lifting is to be accomplished. Check for wet or slippery surfaces.
                  Also consider level of protection to be used. Level B or A protection may add up to 40 lbs. To
                  be lifted, as well as restricting range of motion and adding to area restriction by increasing
                  bulk.
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            − Route to be traveled, if lifting includes carrying. Check walking and working surfaces for
              slip and trip hazards, note ramps, changes in level of elevation, and ladders or stairways that
              need to be negotiated.

Prevention and Protection Programs

      •     Before lifting, identify the potential for contact hazards on objects to be lifted. Check each object
            before lifting, remove any noted hazards as feasible, and wear gloves (cotton, at a minimum, or
            leather, kevlar, or chemical resistant material, depending on the nature of the hazard).

      •     Avoid contact with, or cover cracks or loose joints to reduce hazards of pinching.

      •     Workers must know their lifting limitations, plan before lifting, keep themselves in good physical
            condition, and get help if uncertain that they can lift safely. Managers must plan and allow for
            safe lifting.

      •     When lifting an object from the floor:

            − Determine that the object is within the safe weight limit.

            − Check for contact hazards.

            − Walk the intended route of travel to identify and remove slip and fall hazards.

            − Identify changes in elevation, steps, ramps, stairs and ladders that must be negotiated.

      •     To lift square or rectangular objects:

            − Avoid reaching as you lift.

            − Set feet firmly, placing one foot alongside the load and the other slightly behind the load.

            − Keep objects close to the body.

            − Squat in front of the load.

            − Grasp one of the top corners away from the body and the opposite bottom corner closest to the
              body.

            –     Tilt the object slightly away from the body, tilt forward at the hips, keep the back straight and
                  tuck in the chin.

            − Straighten the legs, keeping the spine straight, pull the object into the body and stand up
              slowly and evenly without jerking or twisting.

            − If turning or change of direction is required, turn with feet without twisting the torso and step
              in the direction of travel
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      •     To set an object down, reverse the sequence, being sure not to trap the bottom hand between the
            object and the surface on which the object is set.

Workers must be trained and have the opportunity to use the above steps with lighter objects before
performing heavy lifting. For odd-shaped objects, the only modification needed should be hand-hold
position. When two or more persons are lifting, have a plan and a set of signals so lifting occurs
simultaneously.

Do not carry objects in a manner which obstructs vision in the line of travel.
Carry objects so one hand is free to hold the handrail on stairs and that there is an unobstructed view of
footing. Carry objects in a manner to permit use of both hands while climbing a ladder.

Manual Handling of Heavy Objects

Hazard

Manual maneuvering or handling of heavy objects without actually lifting is often required for hazardous
materials and on Resource Conservation and Recovery Act (RCRA) facilities and construction sites.
Manual handling of heavy objects, even when not actually lifting, can pose the same hazards as lifting
including cuts, pinches, bruises, crushing, muscle and joint strain, and contact with hazardous materials
and biological hazards.

Recognition and Risk Assessment

The need for manual handling of heavy objects must be addressed in the planning stages of a project
Health and Safety Plan (HASP). Drums and other containers which must be maneuvered for access to
information or sampling locations, that are inaccessible to mechanical handling equipment, require manual
handling and special precautions. When handling of heavy objects does not actually involve lifting,
workers can handle heavier objects, even those weighing several hundred pounds, safely if proper
techniques are used. In many instances, the procedures involve balancing and taking advantage of the
shape of the object.

Prevention and Protection Programs

Prior to performing manual handling, it must be determined that it can be done safely and that mechanical
assistance is infeasible.

Mechanical equipment or assistance such as dollies, carts, come-alongs or rollers are to be used whenever
possible. Mechanical assistance must be of proper size, have wheels sized for the terrain, and be designed
to prevent pinching or undue stress on wrists. Objects to be moved must be secured to prevent falling and
properly balanced to prevent tipping.

The minimum protection for manual handling is heavy cotton or leather gloves, safety boots, and
coveralls. Metatarsal guards, chemical protective clothing, and metal mesh or kevlar gloves must be used
as risk increases of heavy items falling, hazardous materials contact and sharp edges, splinters or slivers.

Workers must be aware of and work within their weight-handling capabilities.
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Objects to be manually handled must be checked for contact hazards prior to beginning movement, and to
ensure handling will not trap hands, arms, legs, or feet between the object and other objects, walls, or
railings.

Properly trained personnel may roll heavy objects with a round base such as 55 gallon drums or
compressed gas cylinders, if rolling will not damage the structural integrity. Rolling must be controlled
by chutes, tag-lines, or other means of limiting acceleration. Use of the legs for pushing and tag-line
control of rolled objects must be stressed.

Only properly trained personnel may move cylindrical objects which must remain upright by hand.
Cylindrical objects, such as drums that must remain upright, are handled manually by slightly tilting the
object, using the legs for control, and balancing the object on the bottom edge. The handler then walks
beside the object, with the object tilted toward the body, positioning the hands on the top edge away from
the body and moving so they do not cross, thus maintaining balance and a steady controlled forward
motion.

Prior to moving cylindrical objects in this way, the route of travel must be walked to identify any changes
of elevation, pot holes, or other obstructions that could cause the object to snag, tip, or get out of control.

Flat, square, or rectangular objects are most easily handled using make-shift rollers or skids to break the
friction with the resting surface and pushing, using the legs.




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FLD 11            ROUGH TERRAIN

GENERAL

REFERENCES

Related FLD OPS:

FLD02 – Inclement Weather
FLD05-Heat Stress
FLD06-Cold Stress
FLD15 – Remote Areas
FLD22-Heavy Equipment Operation
FLD47-Clearing and Grubbing


Hazard

Physical hazards associated with rough terrain include vehicle accidents, heavy equipment incidents,
falling, slipping, and tripping. Driving vehicles on uneven surfaces creates a possibility of the vehicle
rolling, getting stuck in mud or ditches, or of an accident due to flat tires or striking obstacles and other
vehicles. Heavy or downed vegetation can hide holes or breaks in the terrain, which increase risk of slips,
trips, and falls or vehicle accidents.

Recognition and Risk Assessment

Rough terrain complicates work activities and adds or increases risk. In the planning stages of a project,
rough terrain must be considered as a physical hazard. Risk assessment is usually accomplished from site
history information (i.e., site topography) and onsite by the Site Health and Safety Coordinator (SHSC).

Hazard Prevention and Protection Programs

Hazard prevention can be achieved by ensuring regular maintenance is performed on vehicles. In order to
minimize accidents, site surveillance on foot may be required to ensure clear driving paths. The site crew
should be alert and observe terrain while walking to minimize slips, trips, and falls. Boots that are ankle
high or higher should be worn to provide additional support and stability. Vehicle drivers and passengers
should wear seatbelts at all times. 4 wheel drive vehicles should be used if terrain conditions are wet,
frozen, broken, or otherwise deemed unsafe for 2 wheel drive vehicles by the SHSC.

When clearing and grubbing activities are being conducted, the equipment operator is to protected by a
fully enclosed cab. Chainsaw operators are to wear chaps, hardhat, face/ear and eye protection. Ground
personnel should always be alert for snakes and wild animals.

Personnel should maintain a high level of physical conditioning due to increased body stress and exertion.
Emergency communications such as a cell phone or two-way radio should be carried at all times.
Personnel should be aware of potential hazards and ensure the availability of first aid supplies and
knowledge of the location of the nearest medical assistance.

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FLD 12                  HOUSEKEEPING

GENERAL

Hazards associated with poor housekeeping include slips, trips, falls, punctures, cuts, and fires.

REFERENCES

Related FLD OPS:

FLD29 – Material Handling
FLD33 – Demolition
FLD39 – Illumination

PROCEDURE

Recognition and Risk Assessment

Good housekeeping is an important element of accident prevention. Good housekeeping should be
planned at the beginning of the job and carefully supervised and monitored through to the final clean-up.

Housekeeping requirements must be addressed in the planning stages of a project and safety plan. Risk
assessment can be accomplished in the development stages of a project by listing in the site-specific
Health and Safety Plan (HASP), good housekeeping requirements and the hazards associated with poor
housekeeping (e.g., slips, trips and falls).      The SHSC must make decisions on the proper safety
procedures and recommend them to the site manager. Each worker must evaluate the risk associated with
his or her work and be actively alert to these hazards. Any site worker may stop work if safety procedures
are not followed or the risk is too great.

Prevention and Protection Programs

Poor housekeeping can be prevented by following the three steps described below:

      1. Plan ahead. A materials storage area which has been planned is more orderly than one which has
         developed haphazardly.

      2. Assign responsibilities. If the size of the job and work force merit, a person should be assigned
         specific responsibility for clean up. Ideally, each individual should pick up his or her work area
         and help keep the site neat.

      3. Implement the program. Housekeeping must be part of the daily routine, with clean-up being a
         continuous procedure.

Accidents caused by poor housekeeping can be prevented by adherence to the following rules.

Lunch areas should be kept clear of empty bottles, containers, and papers. Trash disposal cans should be
provided. An effective means of preventing litter is the provision of suitable receptacles for hazardous
waste, as well as nonhazardous waste.
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Accumulation of flammable and combustible liquids on floors, walls, and other areas, is prohibited. All
spills of flammable and combustible liquids must be cleaned up immediately. Combustible waste such as
soiled rags and paper is to be stored in a safe place (such as a covered metal container) and disposed of
regularly.

WESTON project managers and WESTON subcontractors should provide sufficient personnel and
equipment to ensure compliance with all housekeeping requirements.

Work will not be allowed in areas that do not comply with the requirements of this section.

The SHSC and WESTON subcontractors will inspect the work area daily for adequate housekeeping and
record unsatisfactory findings on the daily inspection report.

If applicable, the decontamination line must be keep neat and free of debris.

Adequate lighting should be provided in or around all work areas, passageways, stairs, ladders, and other
areas used by personnel.

All stairways, passageways, gangways, and accessways shall be kept free of materials, supplies, and
obstructions at all times.

Loose or light material should not be stored or left on roofs or floors that are not enclosed, unless it is
safely secured.

Tools, materials, extension cords, hoses, or debris are to be used, disposed of, and stored so as not to cause
a tripping or other hazard.

Tools, materials, and equipment subject to displacement or falling should be adequately secured.

Empty bags that contained lime, cement, and other dust-producing materials should be removed
periodically, as specified by the designated authority.

Protruding nails in scrap boards, planks, and timbers should be removed, hammered in, or bent over flush
with the wood, unless placed in containers or trucks for removal.

Walkways, runways, and sidewalks should be kept clear of excavated material or other obstructions and
no sidewalls should be undermined unless shored to carry a minimum live load of 125 pounds per square
foot.

Containers should be provided for storing or carrying rivets, bolts, and drift pins, and secured against
accidental displacement when aloft.
When rivet heads are knocked off or backed out, they should be prevented from falling.

Form and scrap lumber and debris should be cleared from work areas, passageways, and stairs in and
around building storage yards and other structures.

All storage and construction sites should be kept free of the accumulation of combustible materials.

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All materials should be maintained in neat stockpiles for ease of access. Aisles and walkways should be
kept clear of loose materials and tools.

Areas prone to weeds and grass should be kept mowed. A standard procedure should be established for
cleanup of such areas, as specified by the SHSC.

Rubbish, brush, long grass, or other combustible material must be kept from areas where flammable and
combustible liquids are stored, handled, or processed.




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FLD 13                  STRUCTURAL INTEGRITY

GENERAL

REFERENCES

Related FLD OPS:

FLD02 – Inclement Weather
FLD23 – Cranes/Lifting Equipment
FLD24 – Aerial Lifts/Manlifts
FLD26 – Ladders
FLD27 – Scaffolding
FLD28 – Excavating/Trenching

Related Programs:

PPE Program (See Section 1 – General Requirements):

Section 1.4, page 23 – Eye and Face Protection
Section 1.4, page 24 – Head Protection
Section 1.4, page 24 – Foot Protection

PROCEDURE

Structural integrity hazards include those hazards associated with deteriorated conditions of containers
(such as drums or tanks) and buildings (including appliances such as both fixed and portable ladders),
scaffolding, and excavations or trenches. The failure of structures can cause significant injury or death to
personnel.

Recognition and Risk Assessment

In the planning stages of a project and safety plan, the potential for injury due to structural integrity must
be considered as a physical hazard in the site-specific Health and Safety Plan (HASP). Risk assessment
can be accomplished in the development stages of a project by listing in the HASP the most likely hazards
which may occur associated with structural integrity. The SHSC must make decisions on the proper
safety procedures and recommend them to the site manager. Each worker must evaluate the risk
associated with his or her work and be actively alert to these hazards. Any site worker may stop work if
safety procedures are not followed or the risk is too great.

Prior to entering any building, an assessment of structural integrity must be made. Buildings on inactive
sites or facilities, unused buildings, and buildings which are to be demolished require special attention.
This assessment must ensure, through observation and experience, that entering and/or task activities will
not expose personnel to unusual risk of falling debris, loose materials that could be dislodged by touching
or walking nearby, or walking on surfaces that cannot bear the weight of personnel.



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Prior to demolition operations, Occupational Safety and Health Administration (OSHA) 29 CFR 1926
Subpart T requires that an engineering survey be made by a competent person. The engineering survey
must be in writing.

The structure must be assessed to determine the condition of the framing, floors, and walls, and the
possibility of any unplanned collapse of any portion of the structure. Any adjacent structures where
employees may be exposed must also be inspected.

In buildings with several levels, floors, stairs, and fixed ladders must be similarly assessed.

Signs indicating the lack of structural integrity include loose, hanging, or sagging materials, water stains
on floors where there is uncertainty as to the underlying support, loose handrails, protruding nails and
fasteners, cracked concrete, masonry, or plaster, and evidence of structural failure, such as debris.

Prevention and Protection Programs

Personnel should wear appropriate personal protective equipment (PPE) such as hard hats, safety shoes,
safety glasses, and gloves in all structures to minimize hazards. If there is doubt of the structural integrity
of buildings, entry should be delayed until a competent person can make assessment.




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FLD 14           SITE SECURITY

GENERAL

REFERENCES

Related FLD OPS:

FLD15 – Remote Areas
FLD39 – Illumination

PROCEDURE

When WESTON’s responsibilities include site control or security as in WESTON Office locations, one
aspect of the Site Health and Safety Plans and Business Continuity Plan Emergency Action Plans to be
addressed is security, or maintaining control of access to the site. Contingency plans are required to deal
with unauthorized entry. Inquisitive and/or hostile persons may interfere with the site activities or work
effort, jeopardizing their safety, as well as the safety of the field team.

Recognition and Risk Assessment

In the planning stages of a project and safety plan, the potential for security problems must be considered
as physical hazards in the site-specific Health and Safety Plan (HASP). Risk assessment can be
accomplished in the development stages of a project by listing in the HASP the most likely security
problems that may be encountered. The Site Health and Safety Coordinator (SHSC) must make decisions
on the proper safety procedures and recommend them to the site manager. Each worker must evaluate the
risk associated with his or her work and be actively alert to these hazards. Any site worker may stop work
if safety procedures are not followed or the risk is too great.

Entry to a site by unauthorized persons presents risks to the persons entering and to WESTON personnel
who may have to interact with such individuals. In many cases, the unauthorized entry is accidental or
unintentional; however, contingency plans must also include procedures for instances when unauthorized
entry is deliberate or for purposes which could pose a threat to site personnel.

During the assessment of risk for each site, security problems must be identified. The contingency plan
should identify ways to prevent and respond to security problems.

Security problems may arise from the site neighborhood due to:

    •   Socio-economic factors
    •   Client/neighbor relations
    •   Client/labor relations
    •   Poor lighting
    •   Remoteness and size of site
    •   Value of equipment and materials
    •   Sampling equipment tampering



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Prevention and Protection Program

Prevention programs are an integral portion of a Security Plan for Business Continuity and Emergency
Action Plans or Contingency Plans for Site Health and Safety Plans. An effective preventative measure is
to inform all interested parties of the site activities. An attempt should be made to notify state and local
police, the fire department, and any local/state government officials of the project’s purpose and scope.
This will allow those authorities to answer questions posed to them by local residents and the media by
preparing statements on the project’s purpose or by informing the public where to call for further
information. This will alleviate the problem of work stoppage due to field personnel answering questions.

One must ensure that the client understands and approves of any information released. In most cases, the
liaison should be between the client and the public.

The Security Contingency Plan must:

    •   Identify the person responsible for implementing the Contingency Plan

    •   State as the first priority the safety of WESTON personnel

    •   Be designed to minimize the potential for confrontation and to obtain security assistance as
        quickly as possible

    •   Assign the enforcement of security functions to properly trained and authorized or bonded
        agencies

    •   Establish a communication procedure for obtaining assistance

    •   Be communicated to site personnel

Security Problem Prevention measures include:

    •   Community relations programs
    •   Visible security precautions (e.g., fences, “keep out” signs)
    •   Locking doors that are unattended during working hours and all doors during non-working hours
    •   Carefully defined rules/requirements for authorizing site access
    •   Clearly delineated access points and barriers around work area
    •   Vigilance by all site personnel
    •   Adequate lighting
    •   Working in pairs or teams in sensitive areas
    •   Locking and storing equipment securely
    •   Using discretion in discussions and conversations when off-site
    •   Working to avoid confrontation

In short, security prevention includes not advertising activities or inviting intrusion. Telephone numbers
and instructions for obtaining security assistance must be clearly posted onsite.




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Personnel onsite must always have access to communications. These communications may be to
additional onsite personnel or, in certain situations, communications by team members to outside response
agencies may be necessary.

Workplace Violence

Workplace violence has become an unfortunate concern for any employer and employee. Workplace
violence has proven to have little regard for location or status of the workplace. The information provided
in Appendix A is considered guidance for developing awareness and violence prevention programs. The
key to preventing workplace violence is to develop an objective awareness of all aspects of our work
environment including the people within it.

Terrorism

Terrorist events in recent years have added the need to ensure Emergency Action Plans.address Bomb
threats and precautions to reduce the potential for terrorist activities.

Bomb Threats

WESTON’s association with environmental issues have led to past experiences where local elements have
identified WESTON with regulators and have threatened violence against WESTON personnel or
property.

Precautions to be taken include those listed above under general site security and the following:

    •   Ensure that site and office personnel are made aware when WESTON activities increase the
        potential for work place violence,

    •   Use care in discussing involvement in Department of Defense, Department of Energy or other
        politically or socially sensitive issues out side of work,

    •   Train persons receiving and handling mail and deliveries in what to look for as potential for
        inflicting violence on a WESTON person or workplace. Examples include:

        •    Misspelled words
        •    Hand written addresses
        •    Mail from foreign countries
        •    Excessive tape or postage
        •    Restrictive markings (e.g., Confidential)
        •    No return address

Emergency Action Plans must identify procedures to be taken if suspicious packages are received.




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